Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1982-4 Filed:
                                          to 07/24/19
                                              Further1 Confidentiality
                                                       of 99. PageID #: 240293
                                                                            Review

     1               IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
     2                         EASTERN DIVISION
     3
              IN RE NATIONAL PRESCRIPTION              Hon. Dan A. Polster
     4        OPIATE LITIGATION
                                                       MDL No. 2804
     5        THIS DOCUMENT APPLIES TO ALL             No. 17-MD-2804
              CASES
     6        ____________________________/
     7
     8                     HIGHLY CONFIDENTIAL -
                 SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
     9
                                      --   -- --
   10
                            THURSDAY, JANUARY 17, 2019
   11
                                      --   --   --
   12
                    Videotaped Deposition of ARTHUR F. MORELLI,
   13     held at the Law Offices of ROBBINS GELLER RUDMAN &
          DOWD LLP, 655 West Broadway Street, Suite 1900,
   14     San Diego, California, beginning at 9:10 a.m., before
          Sandra Bunch VanderPol, FAPR, RMR, CRR, CALIFORNIA
   15     CSR #3032
   16                            -- -- --
   17
   18
   19
   20
   21
   22     _____________________________________________________
   23                   GOLKOW LITIGATION SERVICES
                    877.370.3377 ph | 917.591.5672 fax
   24                        Deps@golkow.com
   25

  Golkow Litigation Services                                          Page 1 (1)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1982-4 Filed:
                                          to 07/24/19
                                              Further2 Confidentiality
                                                       of 99. PageID #: 240294
                                                                            Review
                                                   Page 2                                                    Page 4
    1 APPEARANCES:                                           1             APPEARANCES (Continued)
    2                                                        2
           MARK SAMSON, Esq.
    3      KELLER ROHRBACK, LLP                              3
           3101 North Central Avenue, Suite 1400
    4      Phoenix, Arizona 85012-2643                           Also Present:
           (602) 248-0088                                    4
    5      msamson@kellerrohrback.com
              -and-                                                   RYAN WONG, Videographer
    6      ALISON S. GAFFNEY, Esq.                           5
           KELLER ROHRBACK, LLP                              6
    7      1201 Third Avenue, Suite 3200
           Seattle, Washington 98101-3052                    7
    8      (206) 623-1900
           agaffney@kellerrohrback.com                                           --o0o--
    9      Counsel for the MDL Plaintiffs             8
   10                                                 9
            TRICIA HERZFELD, Esq.
   11       BRANSTETTER, STRANCH & JENNINGS, PLLC    10
            The Freedom Center                       11
   12       223 Rosa L. Parks Avenue, Suite 200
            Nashville, Tennessee 37203               12
   13       (615) 254-8801                           13
            Triciah@bsjfirm.com
   14       Counsel for the Tennessee Plaintiffs     14
   15                                                15
           WILLIAM DAVISON, Esq.
   16      MAX R. MAEROWITZ, Esq.                    16
           JUSTIN MANN, Esq. (Video/Realtime Stream) 17
   17      ROPES & GRAY, LLP
           Prudential Tower                          18
   18      800 Boylston Street                       19
           Boston, Massachusetts 02199-36
   19      (617) 951-7330                            20
           william.davison@ropesgray.com             21
   20      max maerowitz@ropesgray.com
           Justin mann@ropesgray.com                 22
   21      Counsel for Defendant Mallinckrodt        23
   22
   23   (Appearances continued on next page)         24
   24                                                25
   25

                                                   Page 3                                                    Page 5
    1 APPEARANCES:                                           1             INDEX
    2                                                        2 Examination by:                   Page
          DEVON MOBLEY-RITTER, Esq.                          3   MR. SAMSON                          11
    3     (Telephone/Video/Realtime Stream)                        MS. HERZFELD                       315
          COVINGTON & BURLING LLP                            4     MR. DAVISON                       384
    4     3000 El Camino Real                                      MR. SAMSON                        386
          5 Palo Alto Square                                 5
    5     Palo Alto, California 94306-2112                                     --o0o--
          (650) 632-4715                                     6
    6     dmobleyritter@cov.com                                             EXHIBITS
          Counsel for Defendant McKesson and the             7
    7     Witness
    8                                                            Mallinckrodt-Morelli Exhibits        Page
          RANDY S. GROSSMAN, Esq.                            8
    9     JONES DAY                                            Exhibit 1 Plaintiffs' Notice of Oral      11
          4655 Executive Drive, Suite 1500                   9        Videotaped Deposition of Art Morelli
   10     San Diego, California 92121-3134                            and Requests for Production of
          (858) 314-1200                                    10        Documents
   11     rsgrossman@jonesday.com                           11 Exhibit 2 LinkedIn Profile of Art Morelli    28
          Counsel for Defendant Walmart                     12 Exhibit 2A Curriculum Vitae of Arthur F.      32
   12                                                                 Morelli
   13     GRETCHEN CALLAS, Esq.                             13
          JACKSON KELLY PLLC (Telphone/Video/Realtime            Exhibit 3 Services Agreement dated 5/1/09      63
   14     Stream)                                           14          between Covidien LTD and Arthur F.
          500 Lee Street East, Suite 1600                               Morelli, Bates MNK-T1_0007918465 -
   15     Charleston, West Virginia 25301-3202              15          471
          (304) 340-1169                                    16   Exhibit 4 Email chain dated 9/30/09 re "Art's 68
   16     gcallas@jacksonkelly.com                                      Offer," Bates MNK-T1_0007918472 -
          Counsel for Defendant AmerisourceBergen           17          473
   17
   18     ERIC SHAPLAND, Esq. (Telephone/Video/Realtime
                                                            18   Exhibit 5 PowerPoint Slides, "The Role of     72
          Stream)                                                       Medical Affairs," Bates
   19     ARNOLD & PORTER KAYE SCHOLER, LLP
                                                            19          MNK-T1_0000951589 (Native Format)
          44th Floor, 777 South Figueroa Street             20   Exhibit 6 PowerPoint Slides, "Sales Force    134
   20     Los Angeles, California 90017-5844                            Training REMS and Safe Use," Bates
          (213) 243-4120                                    21          MNK-T1_0000254831 - 859
   21     eric.Shapland@arnoldporter.com                    22   Exhibit 7 Email dated 11/15/11 re "**URGENT -- 168
          Counsel for Defendants Endo Pharmaceuticals,                  ACTION REQUIRED **," Bates
   22     Inc. and Endo Health Solutions, Inc.              23          MNK-T1_0001475149 - 155
   23                                                       24   Exhibit 8 Email dated 5/17/11 to Morelli from 177
   24 (Appearances continued on next page)                              Huels re "Promo Speaker's budget,"
   25                                                       25          Bates MNK-T1_0003083466 - 470

  Golkow Litigation Services                                                                 Page 2 (2 - 5)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1982-4 Filed:
                                          to 07/24/19
                                              Further3 Confidentiality
                                                       of 99. PageID #: 240295
                                                                            Review
                                                         Page 6                                                       Page 8
    1            EXHIBITS                                          1              EXHIBITS
    2 Mallinckrodt-Morelli Exhibits           Page
    3 Exhibit 9 Email chain dated 10/21/11 re     173              2   Mallinckrodt-Morelli Exhibits          Page
               "EEIFs," Bates MNK-T1_0001050849                    3   Exhibit 27 Email chain dated 6/8/11 re    380
    4
      Exhibit 10 Email chain dated 4/5/11 re "Please 191                      "Materials for AATOD?" Bates
    5        Review: JAMA Opioid Article - Media                   4          MNK-T1_0007094004 - 4006
             Holding Statement," Bates
    6        MNK-T1_0001466751 - 753                               5
    7                                                              6
        Exhibit 11 Email chain dated 4/26/11 re "REMOXY 201
    8          Meets Primary Endpoints in Abuse                    7
               Liability Study," Bates
    9          MNK-T1_0000941559 - 563                             8                   --o0o--
   10   Exhibit 12 Email chain dated 9/9/11 re "Gosy 212           9
               Dinner," Bates MNK-T1_0000958342 -
   11          348                                                10
   12   Exhibit 13 Email chain dated 6/20/11 re "Expert 222       11
               on the Call," Bates
   13          MNK-T1_0000958361 - 362                            12
   14   Exhibit 14 Email chain dated 8/26/11 re "EOC 228          13
               Update," Bates MNK-T1_0001174025 -
   15          027                                                14
   16   Exhibit 15 Email chain dated 12/1/11 re     234           15
               "Journal Article on Characteristics
   17          of HM Use," Bates MNK-T1_0005193922                16
               - 923
   18                                                             17
      Exhibit 16 Email chain dated 2/1/14 re "REMS 252            18
   19        KAB Survey," Bates MNK-T1_0004604257
             - 259                                                19
   20
                                                                  20
        Exhibit 17 Email chain dated 10/27/09 re "FDA 263
   21          REMS comments," Bates                              21
               MNK-T1_0007324393 - 401                            22
   22
      Exhibit 18 Document titled, "Suspicious Order 276           23
   23        Monitoring Team Charter," updated
             04/07/11, Bates MNK-T1_0000496062,                   24
   24        901 - 911                                            25
   25 ///

                                                         Page 7                                                       Page 9
    1            EXHIBITS                                          1         BE IT REMEMBERED that on Thursday, the 17th
    2 Mallinckrodt-Morelli Exhibits        Page
    3 Exhibit 19 PowerPoint Slides - "EXALGO Risk        277       2   day of January, 2019, commencing at the hour of
               Evaluation and Mitigation Strategy                  3   9:10 a m. in the law offices of Robbins Geller
    4          Presentation," Bates
               MNK-T1_0002953165 (Native Format)                   4   Rudman & Dowd LLP, 655 West Broadway Street,
    5
        Exhibit 20 PowerPoint Slides, "Medical Affairs, 302        5   Suite 1900, San Diego, California, before me,
    6          Leading the Science of Safety, REMS
               Strategy, Development & Oversight                   6   Sandra Bunch VanderPol, a Certified Shorthand
    7          Team," no Bates                                     7   Reporter in and for the State of California,
    8   Exhibit 21 Email chain dated 4/28/11 re     304
               "Prescription Painkillers:                          8   personally appeared.
    9          Companies Attempt Abuse-Proof
               Opioids - ABC News," Bates                          9               ARTHUR F. MORELLI,
   10          MNK-T1_0006315956
   11   Exhibit 22 Email dated 3/29/10 to Hasse from 320          10   called as a witness (Mallinckrodt), who, having been
               DeFusco re "News Expose OxyContin
   12          Florida and Tennessee," Bates                      11   duly sworn, was thereupon examined and interrogated as
               MNK-T1_0006317909                                  12   hereinafter set forth.
   13
      Exhibit 23 Email chain dated 2/19/11 re "WSJ - 324          13                   --o0o--
   14        Fight Over a Fix for Florida Pill
             Mills," Bates MNK-T1_0007200216 -                    14         THE VIDEOGRAPHER: We are now on the record.
   15        218
   16 Exhibit 24 Document titled, "EXALGO REMS Safety 334         15         My name is Ryan Wong. I'm a videographer
             Advisory Board, December 8 - 9, 2011                 16   for Golkow Litigation Services. Today's date is
   17        Loews Hotel, Nashville, TN," Bates
             MNK-T1_0004298470 - 471                              17   January 17th, 2019, and the time is 9:10 a m.
   18
      Exhibit 25 Email exchange dated 10/8/09 re  341             18         This video deposition is being held in
   19        "EXALGO REMS Implementation Core
             Team Meeting: 10.8.09 - Enrollment                   19   San Diego, California, in the matter of National
   20        Target Analytics Presentation," with                 20   Prescription Opiate Litigation, for the United States
             PowerPoint slide attachment, Bates
   21        MNK-T1_0007901956 - 957 (Native                      21   District Court, Northern District of Ohio.
             Format)
   22                                                             22         The deponent is Art Morelli.
      Exhibit 26 Email dated 2/14/11 re "Abuse and 373
   23        CARES Training Module," with                         23         Will counsel please identify themselves for
             PowerPoint attachment (Native                        24   the record.
   24        Format), Bates MNK-T1_0006314936 -
             937                                                  25         MR. SAMSON: Mark Samson, of Keller
   25

  Golkow Litigation Services                                                                       Page 3 (6 - 9)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1982-4 Filed:
                                          to 07/24/19
                                              Further4 Confidentiality
                                                       of 99. PageID #: 240296
                                                                            Review
                                                   Page 10                                                         Page 12
    1 Rohrback, for the MDL plaintiffs.                        1           Q. Okay. We will talk about that a
    2         MS. GAFFNEY: Alison Gaffney, of Keller           2   little later.
    3   Rohrback, also for the MDL plaintiffs.                 3           Let's go over a couple of ground rules for
    4         MS. HERZFELD: Tricia Herzfeld, of                4   depositions so that you and I can be sure we're on
    5   Branstetter, Stranch & Jennings, for the Tennessee     5   the same page; okay?
    6   plaintiffs.                                            6           A. Okay.
    7         MR. GROSSMAN: Randy Grossman, Jones Day, on      7           Q. First of all, even though this is an
    8   behalf of Walmart.                                     8   informal setting, you're under the same oath, have
    9         MR. DAVISON: William Davison, of Ropes &         9   the same obligation to testify fully and accurately
   10   Gray, on behalf of Mallinckrodt LLC, Spec GX, LLC,    10   and truthfully as if we were in front of a court; do
   11   and the witness.                                      11   you understand that?
   12         MR. MAEROWITZ: Max Maerowitz, on behalf of      12           A. I totally understand.
   13   the same defendants, of Ropes & Gray.                 13           Q. Okay. You understand that what you
   14         THE VIDEOGRAPHER: On the phone?                 14   say today can be -- will be taken down and put into a
   15         MR. SHAPLAND: Eric Shapland, on behalf of       15   transcript form of your testimony, and that can be
   16   the Endo and Par entities.                            16   used in various ways throughout the lawsuit?
   17         MS. CALLAS: Gretchen Callas, with Jackson       17           A. I understand, yes.
   18   Kelly, on behalf of AmerisourceBergen.                18           Q. Now, because of that, it's important
   19         MS. MOBLEY-RITTER: Devon Mobley-Ritter of       19   that today isn't a bad day because of medication,
   20   Covington & Burling, on behalf of McKesson.           20   personal stress, any other reason for you to pull up
   21         THE VIDEOGRAPHER: The court reporter is         21   events from the past and tell us about them. Is
   22   Sandy VanderPol, and she will now swear in the        22   today as good a day as any for that?
   23   witness.                                              23           MR. DAVISON: Objection to form.
   24         THE REPORTER: Raise your right hand,            24           THE WITNESS: Today is a great day.
   25   please.                                               25           MR. SAMSON: I think I have seen on some of

                                                   Page 11                                                          Page 13
    1         Do you solemnly swear or affirm that the         1   your emails.
    2   testimony you are about to give in this proceeding     2          Q. So one very important fact is when
    3   will be the truth, the whole truth, and nothing but    3   lawyers ask witnesses in different pursuits, like
    4   the truth, so help you God?                            4   your own, questions, it may not come across to you as
    5         THE WITNESS: I do.                               5   understandable. Do you understand you're not under
    6                  EXAMINATION                             6   any obligation to try and guess what I'm asking you,
    7   BY MR. SAMSON:                                         7   but only what you understand?
    8         Q. Good morning, Mr. Morelli. Will you           8          A. I understand that, yeah.
    9   state your full name for the record, please.           9          Q. Therefore, if you don't understand
   10         A. Sure. Arthur, A-r-t-h-u-r, F.                10   the question, I will ask you to ask me to rephrase
   11   Morelli, M-o-r-e-l-l-i.                               11   it, ask me a question, "Do you mean X or Y?" And I
   12         Q. I've seen 3rd next to it sometimes.          12   will be happy to do that. Will you take that
   13   Are you a 3rd?                                        13   opportunity?
   14         A. I'm not a 3rd, no.                           14          A. I will do that.
   15         MR. SAMSON: Okay. I will ask you about          15          Q. Okay. And as a corollary, if you
   16   that.                                                 16   answer a question without being confused and bringing
   17                 (Exhibit No. 1 was marked.)             17   it up to me, is it fair to assume that you understood
   18   BY MR. SAMSON:                                        18   the question?
   19         Q. Let me show you what's been marked as        19          A. That's fair.
   20   Exhibit 1 to your deposition. Have you seen this      20          Q. And one thing we haven't gotten into,
   21   before? It's the notice of deposition.                21   but you're doing pretty well, you haven't done the
   22         A. I have not, no.                              22   "uh-huh" and "uh-uh" yet for "yes" and "no." But
   23         Q. Okay. How many times have you been           23   just so the record is clear, unlike ordinary
   24   deposed before?                                       24   conversation, when it's an affirmative or a positive,
   25         A. Once.                                        25   no head shrugs or shoulder shrugs. Answer audibly;

  Golkow Litigation Services                                                                Page 4 (10 - 13)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1982-4 Filed:
                                          to 07/24/19
                                              Further5 Confidentiality
                                                       of 99. PageID #: 240297
                                                                            Review
                                                       Page 14                                                           Page 16
    1   okay?                                                     1         (Off the record.)
    2         A. I will.                                          2         THE VIDEOGRAPHER: We are back on the
    3         Q. If I correct you, I am not                       3   record. The time is 9:23 a m.
    4   persecuting you. It's only to remind you to get back      4   BY MR. SAMSON:
    5   into this mode of communication instead of what we        5         Q. Since you hadn't seen Request No. 2,
    6   all do every day.                                         6   I take it you have not made a search for any
    7         A. I understand.                                    7   documents that might be responsive?
    8         Q. You can take a rest. It's not an                 8         A. I have not.
    9   endurance contest. Please just ask me, and we will        9         Q. Let me ask you to go ahead and look
   10   take a break. The only corollary to that is if a         10   through whatever memorabilia you have, and this would
   11   question is pending, please answer that question and     11   include emails on other servers that you've had with
   12   then say, "I'd like to take a break." Okay?              12   anyone at Mallinckrodt or any of the other
   13         A. Okay.                                           13   manufacturers of opioids, reminisces you may have
   14         Q. Throw-away question. Have you ever              14   written to sort of catalog your time in that area, or
   15   been arrested or convicted of a felony?                  15   anything else, and present them to William, your
   16         A. I have not.                                     16   counsel.
   17         Q. Turn to page 4 of Exhibit 1.                    17         A. Okay.
   18         A. Okay.                                           18         Q. And then he will see about getting
   19         Q. And even though you didn't see this,            19   them on to us; okay?
   20   you see that there were -- there's a section about       20         A. Okay.
   21   requests for documents to be produced?                   21         Q. Look at No. 3:
   22         A. Yes.                                            22            (Reading) All documents you have
   23         Q. Okay. And the first one is a copy of            23            consulted or reviewed or plan to
   24   your current résumé or curriculum vitae.                 24            consult in preparation for your
   25         A. Yes.                                            25            deposition and on which you will rely

                                                      Page 15                                                       Page 17
    1         Q. I received that this morning. So I               1            in any way during your deposition (end
    2   take it --                                                2            of reading).
    3         A. Oh.                                              3          Are there any such documents responsive to
    4         Q. -- you did produce that to counsel?              4   that request?
    5         A. I sent it to counsel.                            5          A. I don't understand this. Is this a
    6         Q. And then if you turn to the next                 6   question? I don't think it's grammatically correct.
    7   page, request for production No. 2 are:                   7   I don't understand what you're asking me.
    8            (Reading) All documents, including               8          Have I looked at documents? Has counsel
    9            electronic data and email, in your               9   given me documents to look at?
   10            possession related in any way to any            10          Q. That's one way.
   11            defendants, manufacturer, marketing,            11          A. Oh, yeah.
   12            sale, distribution, suspicious order            12          Q. But since this is your personal
   13            monitoring and lobbying efforts, in             13   documents --
   14            connection with its opioid business             14          A. Oh.
   15            (end of reading).                               15          Q. -- did you look through any box of
   16         Did you look through your personal documents       16   old things at home and found documents and looked
   17   to make sure you didn't have any responsive documents    17   them over to prepare for your deposition?
   18   to that request?                                         18          A. I looked at --
   19         A. I didn't, no.                                   19          MR. DAVISON: Objection.
   20         THE VIDEOGRAPHER: Sorry, Counsel. I think          20          THE WITNESS: I looked at a few that I had
   21   my Elmo is not working right now. Do you mind if we      21   just to refresh my memory, because I haven't been in
   22   go off the record to fix it real quick?                  22   this opioid space now for a couple of years.
   23         MR. SAMSON: No.                                    23   BY MR. SAMSON:
   24         THE VIDEOGRAPHER: We are going off the             24          Q. Okay. And it looks to me, from the
   25   record. The time is 9:17 a.m.                            25   records we received, that you left at the end of

  Golkow Litigation Services                                                                    Page 5 (14 - 17)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1982-4 Filed:
                                          to 07/24/19
                                              Further6 Confidentiality
                                                       of 99. PageID #: 240298
                                                                            Review
                                                        Page 18                                                      Page 20
    1   2011, Mallinckrodt at least?                                1           A.   No. A branded product.
    2         A. Correct.                                           2           Q.   What was the brand name?
    3         Q. And have you been in the opioid space              3           A.   Zohydro.
    4   in any professional endeavor since then?                    4           Q.   And who else?
    5         A. I have.                                            5           A.   Xcellerex.
    6         Q. Okay. We will talk about that later.               6           Q.   And is that a stand-alone company
    7         A. Okay.                                              7   or --
    8         Q. Again, if there's anything that you                8         A. That's a stand-alone company.
    9   have privately, that you looked into to prepare for         9         Q. And what was their product in the
   10   your deposition today, please go ahead and give it to      10   opioid space?
   11   William. Make a copy of it --                              11         A. Yeah. Their product was a combined
   12         A. Okay.                                             12   device, drug, sufentanil, a sublingual tablet being
   13         Q. -- and give it to him.                            13   developed for pain associated with medical
   14         You started to say that there might have             14   procedures, but only used in a structured setting
   15   been something?                                            15   like a hospital or a clinic, medically supervised
   16         A. Just -- just to refresh my -- my                  16   setting, not -- not a prescription drug given to
   17   memory and my -- kind of refresh what I had done in        17   patients to take home.
   18   terms of names, dates, places, projects, just kind of      18         Q. And, in your opinion, based on your
   19   very high level to reorient myself back into what          19   experience in the industry, that setting, in a
   20   you're interested in finding out.                          20   hospital I'm assuming it is --
   21         Q. Okay. And what documents did you                  21         A. Hospital or clinic.
   22   have at home that helped that process?                     22         Q. -- hospital or clinic with direct
   23         A. Slide -- slide decks, compendia                   23   observation of dose taking, is that less of a risk
   24   reports that I receive from RADARS and other               24   for abuse, diversion, and some of the other problems
   25   organizations that track, you know, opioid use.            25   with the opiates --
                                                         Page 19                                                    Page 21
    1   Materials that I created for other clients that are         1         MR. DAVISON: Objection to form.
    2   in the opioid space, just to kind of reorient myself        2   BY MR. SAMSON:
    3   and -- because I'm not working in the opioid space,         3         Q. -- than --
    4   and I haven't for a couple of years now. Yeah.              4         MR. DAVISON: Sorry.
    5         Q. When was the last time you worked in               5   BY MR. SAMSON:
    6   the opioid space?                                           6         Q. -- drugs given out to patients who
    7         A. Let's see. I would say approximately               7   then take them on their own away from a clinic or
    8   2013, '14 range.                                            8   hospital setting?
    9         Q. And what were you doing in the 2013,               9         MR. DAVISON: Objection to form.
   10   '14 range that was in the opioid space?                    10         THE WITNESS: I would say the risks are
   11         A. I was consulting with companies who               11   different. And the operationalization of the product
   12   were bringing out opioid products to market and were       12   is very different. The distribution is less broad.
   13   interested in programs that would support the safe         13   There's other -- there's many differences.
   14   and effective use of those products or -- and/or           14         One of the key ones is the distribution and
   15   helping them create a REMS that they think may have        15   availability is less broad. So in that sense, it
   16   been required, the FDA would require for those             16   helps mitigate risk. But there are other risks still
   17   products.                                                  17   associated. It's a very, very potent opioid,
   18         Q. And which were those companies?                   18   sufentanil. It's like ten to a hundred times more
   19         A. Zogenics was one.                                 19   potent than fentanyl. It is very potent.
   20         Q. And what was Zogenics producing in                20   BY MR. SAMSON:
   21   the opioid space?                                          21         Q. And then any other companies?
   22         A. They had immediate-release                        22         A. Yes. Sentynl Pharmaceuticals.
   23   hydrocodone, analgesic single entity for chronic           23         Q. Like the person on watch?
   24   pain.                                                      24         A. Y-L, Y-L at the end, yeah.
   25         Q. A generic?                                        25         Q. Okay. And what was their product?

  Golkow Litigation Services                                                                     Page 6 (18 - 21)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1982-4 Filed:
                                          to 07/24/19
                                              Further7 Confidentiality
                                                       of 99. PageID #: 240299
                                                                            Review
                                                      Page 22                                                      Page 24
    1          A. They had two opioid products. One a             1 it's documents that were provided by us to you, I'm
    2   drug -- a fentanyl-based agent for breakthrough pain,     2 going to instruct you not to answer.
    3   which I was not involved with. And another oral           3          MR. SAMSON: That's -- that's good.
    4   agent for severe -- moderately severe to severe pain      4          Q. You -- don't tell me the source. But
    5   that I was involved with. But my involvement with         5   if you recall an email of "X" date, you can tell me
    6   Sentynl was very, very brief, and I resigned that         6   that's something that you looked at to refresh your
    7   account.                                                  7   recollection.
    8          Q. Okay. Did you have a difference of              8          MR. DAVISON: And I'm going to instruct you
    9   opinion about how to approach the opioid space from       9   not to answer if it's a document that I provided to
   10   Sentynl's managing team?                                 10   you. That's the work -- protected by the work
   11          A. Yes, I did.                                    11   product document.
   12          Q. Okay. And what was that difference             12          If you recall specific documents that you
   13   of opinion?                                              13   looked at on your own or your own documents, you can
   14          A. That difference of opinion was, in my          14   share those documents with him.
   15   perspective was, they were not serious about             15   BY MR. SAMSON:
   16   implementing the safe use kinds of measures that I       16          Q. Are you going to follow the
   17   was recommending. And I have no tolerance for just       17   instruction not to answer that part of it? I need to
   18   makeshift or make it look good but there's nothing       18   ask you that for the record.
   19   underneath it kind of approach.                          19          And then tell me about the ones that did not
   20          Q. Was it your suspicion in dealing with          20   come from counsel that you recall looking at.
   21   Sentynl that they were more interested in selling the    21          A. So a general description of a box and
   22   product than assuring the safety of the product?         22   stick map that I created to basically help people
   23          A. Yes.                                           23   understand where -- how it works in a patient
   24          MR. DAVISON: Objection to form.                   24   management setting with a physician dealing with --
   25   ///                                                      25   potentially with patients and nonpatients, in terms

                                                       Page 23                                                      Page 25
    1   BY MR. SAMSON:                                            1   of mitigating things like diversion, abuse, misuse,
    2         Q. And that is unacceptable to you in               2   overdose, and addiction.
    3   any manufacturer, distributor, or seller in the           3          Q. Is -- is the map literally a map? A
    4   opioid space?                                             4   one page from a slide show? Or is it a presentation
    5         A. Yes.                                             5   that shows how that system works?
    6         MR. DAVISON: Objection to form.                     6          A. It's a one-page descriptive box and
    7   BY MR. SAMSON:                                            7   stick map from -- from a slide deck that, you know,
    8         Q. What year was Zogenics, if you                   8   I -- I spoke to them, you know, for 30, 40 minutes on
    9   recall?                                                   9   just that one slide to make sure they understood.
   10         A. So kind of the sequence here. It was            10          Q. And was that for Zogenics or
   11   Xcellerex, Sentynl, and then Zogenics.                   11   Xcellerex or Sentynl or all three?
   12         Q. Okay. In --                                     12          A. It was for Zogenics.
   13         A. More or less in the '12, '13, '14               13          Q. Okay. I take it that that slide show
   14   kind of range.                                           14   still exists in your possession?
   15         Q. I don't want to put words in your               15          A. Not sure. Not sure.
   16   mouth. A year with each --                               16          Q. Well, the --
   17         A. No.                                             17          A. But that slide exists, I know that.
   18         Q. -- or shorter period with each?                 18          Q. Okay. Well, find whatever slides
   19         A. Quite long with Zogenics, medium with           19   exist and provide them to William; okay?
   20   Xcellerex, very short with Sentynl.                      20          A. Okay.
   21         Q. Okay. Any -- any of the documents               21          Q. Any other specific documents not
   22   that you refreshed your recollection with, do you        22   given to you by counsel that you recall reviewing to
   23   recall them specifically enough to describe them to      23   get back into the opioid space for your deposition
   24   me?                                                      24   today?
   25         MR. DAVISON: Objection. And to the extent          25          A. I would say that would be the

  Golkow Litigation Services                                                                  Page 7 (22 - 25)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1982-4 Filed:
                                          to 07/24/19
                                              Further8 Confidentiality
                                                       of 99. PageID #: 240300
                                                                            Review
                                                         Page 26                                                          Page 28
    1   stand-out one that I -- that I recall that I went           1                (Exhibit No. 2 was marked.)
    2   through.                                                    2   BY MR. SAMSON:
    3         Q. Was that box and stick of map                      3         Q. This is Exhibit 2 to your deposition.
    4   mitigation ever used at Mallinckrodt when you were          4   And that's just me Googling you.
    5   there?                                                      5         A. Oh, yeah. Okay.
    6         A. Not that I recall.                                 6         Q. From LinkedIn. And then another hit
    7         Q. Okay. Let me get back to, you told                 7   was with some outfit called Provident Partners.
    8   me you had been deposed one other time.                     8         A. Yes.
    9         A. Uh-huh.                                            9         Q. What is Provident Partners?
   10         Q. When was that?                                    10         A. Provident Partners is a
   11         A. It was approximately the year 2000,               11   Connecticut-based investment -- a company that looks
   12   2001.                                                      12   for investments in the -- in the energy, gas, water
   13         Q. And what did that -- why did you come             13   area. And I'm an investor in Provident Partners, a
   14   to be deposed?                                             14   small investor.
   15         A. Say that --                                       15         Q. And this had you on its page -- and
   16         Q. Why did you come to be in a                       16   I'm sorry I didn't copy it -- but as, "Art Morelli,
   17   deposition.                                                17   expert in pharmaceutical finance."
   18         A. Oh. It was concerning a lawsuit                   18         Does Provident Partners do anything with any
   19   about a company that I co-founded in the area of           19   kind of pharmaceuticals?
   20   bochalinum toxins, and it was about patent rights.         20         A. Not today. But when I originally
   21         Q. And that would have been Solstice?                21   invested, they were interested in a pharmaceutical
   22         A. Solstice. Related to Solstice's                   22   opportunity that helped patients comply and adhere to
   23   product, yes.                                              23   their medication schedules. But that didn't
   24         Q. And Solstice was, as you said,                    24   matriculate. So it's not existing anymore.
   25   bochalinum toxin?                                          25         Q. Was that the light or the beeper on

                                                       Page 27                                                        Page 29
    1         A. Type B.                                            1   top of the bottles?
    2         Q. So did opiates come up in that                     2         A. It was much more sophisticated than
    3   deposition?                                                 3   that, but it's the same concept, yeah.
    4         A. No.                                                4         Q. And are you still involved with
    5         Q. What's your current work address?                  5   Provident Partners?
    6         A. 5324 Ruette De Mer, San Diego,                     6         A. Only as an investor.
    7   California, 92130.                                          7         Q. Okay. What was your last date at
    8         Q. And who is your employer?                          8   Mallinckrodt or Covidien? I will use Mallinckrodt,
    9         A. Enlyton, E-n-l-y-t-o-n, Limited is                 9   but I mean, in your instance, based on where you were
   10   one employer. Another one is the Ohio State                10   working, Covidien?
   11   University Cancer Center, specifically the Drug            11         A. I think in 2011. Somewhere in the
   12   Development Institute, the DDI, in Columbus, Ohio.         12   year of 2011.
   13         Q. And I take it from your earlier                   13         Q. I will go over some documents later.
   14   answers about opioid -- or opiate -- yeah, opioid          14   But if you will trust my memory.
   15   involvement, the OSU Cancer Center is not for              15         A. Okay.
   16   analgesia for cancer, but rather for actual treatment      16         Q. There's a document in mid November
   17   for the underlying condition?                              17   where you are telling your team, here's what we need
   18         A. Correct.                                          18   to do from -- for the rest of the year --
   19         Q. And what about Enlyton, same thing?               19         A. Okay.
   20   No -- no opioid or analgesic effect, but simply            20         Q. -- and now here's what we are going
   21   projects that come up for whatever the medicines           21   to do. And it was Exalgo-based in the next, you
   22   involved are?                                              22   know, January through March.
   23         A. Correct.                                          23         And then I saw an email saying, not
   24         Q. I saw -- let me show you, so you see              24   good-bye, Art, but we loved seeing you, being with
   25   the same thing I see.                                      25   you, like in late December. Does that give you any

  Golkow Litigation Services                                                                      Page 8 (26 - 29)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1982-4 Filed:
                                          to 07/24/19
                                              Further9 Confidentiality
                                                       of 99. PageID #: 240301
                                                                            Review
                                                      Page 30                                                         Page 32
    1   guidance?                                                   1   BY MR. SAMSON:
    2          MR. DAVISON: Objection to form.                      2         Q. But are you going to follow that
    3          THE WITNESS: I -- it doesn't really, no.             3   instruction of your counsel?
    4          MR. SAMSON: Okay.                                    4         A. Absolutely. So the high level is, I
    5          THE WITNESS: But I'm sure if you say it              5   was shown a series of emails, some of which, you
    6   happened, it happened. But I don't recall that.             6   know -- a series of email strings, some of which I
    7   BY MR. SAMSON:                                              7   had an email within the string, some of which I
    8          Q. But would the end of 2011, early 2012             8   didn't. Some documents that we created as part of
    9   be -- fit your memory of when you last worked there?        9   the C.A.R.E.S. Alliance. And that's -- that's
   10          A. It sounds about right. Yeah.                     10   basically it.
   11          Q. Okay. Did you meet with counsel for              11         Q. Other than counsel, in the time since
   12   Mallinckrodt to prepare for your deposition today?         12   you left Mallinckrodt, have you met or spoken with
   13          A. I did.                                           13   anyone about your time at Mallinckrodt?
   14          Q. Okay. How many times?                            14         A. No.
   15          A. Twice.                                           15         MR. SAMSON: Okay. Now, you've got 2 in
   16          Q. And were those phone or in person?               16   front of you. Let me give you 2-A.
   17          A. In person.                                       17                 (Exhibit No. 2-A was marked.)
   18          Q. Here in San Diego?                               18   BY MR. SAMSON:
   19          A. Yes.                                             19         Q. And this is a résumé that we received
   20          Q. And how long was the first meeting?              20   today.
   21          A. About a day.                                     21         A. Okay.
   22          Q. And I trust you were shown documents             22         Q. And is this something you did
   23   at it?                                                     23   yourself, I take it?
   24          A. I was.                                           24         A. I think someone did it for me,
   25          Q. And then when was the second meeting?            25   actually.
                                                         Page 31                                                        Page 33
    1         A. Yesterday.                                         1         Q. But it's current to the present?
    2         Q. And in terms of timing, how long ago               2         A. It's current, yes.
    3   was the first meeting?                                      3         Q. Okay. And both of these, 2 and 2-A,
    4         A. Mid December.                                      4   show that your degree was a B.A. in biology from
    5         Q. And when you say "a day," an                       5   Wabash College?
    6   eight-hour session with counsel?                            6         A. Correct.
    7         A. Approximately, yes.                                7         Q. What year?
    8         Q. And then yesterday, how long did you               8         A. 1969.
    9   meet?                                                       9         Q. And since a B.S. in biology usually
   10         A. About a day.                                      10   doesn't involve opioids, am I safe in saying that
   11         Q. Another eight hours?                              11   that wasn't a focus of your education at Wabash?
   12         A. Another eight hours, yes.                         12         A. It was just a biology major and
   13         Q. Were there any documents that you                 13   chemistry minor. So it was heavy in science.
   14   were shown in that, that refreshed your independent        14         Q. Okay. And then on 2-A, your résumé,
   15   recollection of events back in the time frame?             15   you say you did a business seminar for pharmaceutical
   16         A. Yes.                                              16   executives at UCLA Business School, Los Angeles,
   17         Q. Which ones?                                       17   California.
   18         MR. DAVISON: Objection. The documents that           18         When was that?
   19   we showed to Art are protected by the work product.        19         A. That would have been in the early
   20         I'm not going to -- I'm going to instruct            20   '90s.
   21   you not to answer as to specific documents. If you         21         Q. Okay. And a seminar can extend from
   22   want to give him high-level categories, I will allow       22   a one-hour/one-day event to some sort of a
   23   that.                                                      23   longer-lasting program. Which was this?
   24         MR. SAMSON: We will have that battle later.          24         A. They -- they were different. The
   25         THE WITNESS: Okay.                                   25   UCLA program was a two-day program.

  Golkow Litigation Services                                                                     Page 9 (30 - 33)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further10Confidentiality
                                                       of 99. PageID #: 240302
                                                                           Review
                                                       Page 34                                                      Page 36
    1          Q. Okay. And taught at UCLA?                       1 opioid focus?
    2          A. Yes. Yes.                                       2          A. No.
    3          Q. And in the early '90s, did it have              3          Q. And then I have seen your
    4   any focus on opioids?                                     4   "Science-Based Approach to Risk Management" poster at
    5          A. It did not.                                     5   Pain Week Meeting in 2010. And that would have been
    6          Q. And was it -- since it was for                  6   the founding event of C.A.R.E.S.? Did that come out
    7   pharmaceutical executives and also has business in        7   in conjunction with it?
    8   the title, was it more on the business end of             8          A. It was --
    9   pharmaceutical industry?                                  9          MR. DAVISON: Objection to form.
   10          A. It was more on the analytical, on the          10          THE WITNESS: It was part of the prework,
   11   analytical aspects of pharmaceutical company             11   predevelopment work for which tools would be
   12   operations.                                              12   appropriate for inclusion into the C.A.R.E.S.
   13          Q. How one finds out if you're spending           13   Alliance.
   14   more to produce the product that you're selling --       14          MR. SAMSON: And, Ms. Court reporter,
   15          A. No.                                            15   C.A.R.E.S. is C, period, A, period, R, period, caps,
   16          Q. -- and that sort of thing?                     16   E, period, and then a small "S"?
   17          A. No. It wasn't so much economics                17          THE WITNESS: Big "S."
   18   based. It was analytics related to product               18          MR. SAMSON: Big "S," period, and then
   19   development, product uptake, assessment of product       19   Alliance.
   20   success, those kinds of things.                          20          Q. When I used that term, since you
   21          Q. And then there's another, "Managing            21   picked it up that time without much trouble, I take
   22   Global Opportunities, U.S. and China," at the Harvard    22   it that will be -- if I say C.A.R.E.S., you will know
   23   Business School, a resident executive program. When      23   I'm talking about the C.A.R.E.S. Alliance?
   24   did you take that?                                       24          A. I will.
   25          A. That was in the mid '90s.                      25          Q. All right. Now, let's go to your

                                                       Page 35                                                       Page 37
    1         Q. And, again, any focus or even mention            1   work background, which I think tracks pretty well
    2   of opioids in that program?                               2   between Exhibit 2, the LinkedIn, and 2-A, the résumé.
    3         A. No.                                              3   And both start with DuPont Pharmaceuticals in
    4         Q. And, again, length of time? Is that              4   Wilmington, Delaware.
    5   a whole semester or a day, two days?                      5         A. Right.
    6         A. This was about a three-to-four-week              6         Q. What were the drugs, the
    7   course that was taught at the Harvard -- in the           7   pharmaceuticals that DuPont was selling in those
    8   Harvard Business School and also in China.                8   days?
    9         Q. And was the focus on                             9         A. DuPont had a -- quite a broad range
   10   pharmaceutical -- when you hear China, you always        10   of different products, from Coumadin, which you may
   11   think of American companies thinking of opening          11   have heard of, which is for blood clots; Symmetrel
   12   markets to the Chinese.                                  12   you may not have heard of, for influenza A and
   13         A. Uh-huh.                                         13   Parkin- -- Parkinsonian-like syndromes that people
   14         Q. Was that a focus of the program?                14   can sometimes get; Percocet, which you've probably
   15         A. It was --                                       15   heard of, which is an opioid, acetaminophen analgesic
   16         MR. DAVISON: Objection to form.                    16   compound; Percodan, you may not have heard of that,
   17         THE WITNESS: It was part of the focus. It          17   but that's an oxycodone/aspirin combination.
   18   was how to -- how to operate, you know, either as a      18         And there were a few others, cough/cold type
   19   company, a pharma company in China or in an export       19   products, but those were the main products that I
   20   relationship with a local partner in China.              20   started with and cut my teeth on as an entry level
   21   BY MR. SAMSON:                                           21   position into the pharmaceutical industry.
   22         Q. And it was pharmaceutical based,                22         Q. Okay. And were you ever a detailer?
   23   though?                                                  23         A. I was.
   24         A. It was pharmaceutical based.                    24         Q. Going out to physician offices?
   25         Q. And I may have asked you this. No               25         A. I did. That's how I started.

   Golkow Litigation Services                                                               Page 10 (34 - 37)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further11Confidentiality
                                                       of 99. PageID #: 240303
                                                                           Review
                                                      Page 38                                                              Page 40
    1         Q. And in that detailing work, did you                 1   direct detailing end of things or still within pretty
    2   handle Percocet and Percodan?                                2   much ordinary marketing of existing product?
    3         A. I did.                                              3         MR. DAVISON: Objection to form.
    4         Q. And the detailing side of marketing                 4         THE WITNESS: So I was in that direct
    5   and/or sales, however the company divides it, is             5   detailing, that you described, for one to two years.
    6   talking to the doctors and encouraging them to write         6   Then I was promoted to being a Hospital
    7   prescriptions for your company's products?                   7   Representative, also in Chicago. And I was a
    8         MR. DAVISON: Objection to form.                        8   Hospital Representative for three-ish -- three-ish
    9   BY MR. SAMSON:                                               9   kind of years.
   10         Q. True?                                              10         And then I became a District Manager in --
   11         A. It is. It's carrying a bag of                      11   in Houston, Texas for a few years. Then I became a
   12   samples on the south side of Chicago. That's how I          12   District Manager of Hospital Representatives in South
   13   started. Okay. And talking to doctors. If you want          13   Florida for one year. And then that picks up with
   14   a picture in your mind.                                     14   Director, Emerging Markets there in 1990. I was then
   15         Q. Got it. But --                                     15   promoted into the home office for an international
   16         A. But no samples of Percocet.                        16   sales and marketing position.
   17         Q. You don't strike me as an imprudent                17   BY MR. SAMSON:
   18   gentleman.                                                  18         Q. And in the hospital district manager
   19         A. Thank you.                                         19   position in Florida, that would have been '89,
   20         Q. So that does not surprise me.                      20   roughly?
   21         But, basically, if you were -- were you not           21         A. Roughly, yeah.
   22   selling Percodan and Percocet at the start on the           22         Q. And what does a hospital-based
   23   south side?                                                 23   program rather than detailing at individual
   24         A. I was. I was. I was talking to                     24   physicians' offices or clinics, what's the difference
   25   doctors about those products, among other products.         25   between those two?

                                                          Page 39                                                          Page 41
    1         Q. And explaining to them, here are the                1         A. So my team of sales representatives
    2   uses of them, here is why they are better than               2   visited institutions rather than doctors in their
    3   competitive product?                                         3   offices and had -- did presentations and had
    4         MR. DAVISON: Objection to form.                        4   discussions with physicians who had a hospital-based
    5         THE WITNESS: Not so much why they are                  5   practice or were, you know, anesthesiologists who
    6   better from competitive products, but what the               6   operate -- you know, were in the operating room or
    7   indication was, what the dose is, what the data              7   surgeons who were based in the operating room, rather
    8   supporting those products are. Because there were no         8   than family practice or general practice physicians
    9   direct comparisons that we had, so we had to work            9   who were mainly office space.
   10   with what was the FDA-approved package insert.              10         Q. And in 1989 in Florida, when you were
   11   BY MR. SAMSON:                                              11   a DM of the hospital services, did you cover all of
   12         Q. Okay. And that stayed true the whole               12   Florida?
   13   time you were in the opioid space, was the package          13         A. Oh, I covered more than Florida.
   14   insert for indications is a line you can't cross in         14   Florida, parts of Georgia, parts of South Carolina.
   15   the detailing and marketing world?                          15   Yeah.
   16         A. It is.                                             16         Q. In your time there, was there a
   17         Q. And then so, I take it, did you start              17   perception of an opioid epidemic in Florida and the
   18   sometime earlier than 1990, then?                           18   surrounding states?
   19         A. I did. I started -- I started in                   19         A. There was not.
   20   1990, actually -- I'm sorry. I started in 1980.             20         MR. DAVISON: Objection to form.
   21   Yeah.                                                       21         THE WITNESS: There was not.
   22         Q. Okay.                                              22   BY MR. SAMSON:
   23         A. I didn't put it all on here because                23         Q. And at that time, since you would
   24   it was too many pages. Yeah.                                24   have been familiar from your detailing work, was the
   25         Q. And how long were you in either that               25   general rule of prescription of opioids per need?

   Golkow Litigation Services                                                                    Page 11 (38 - 41)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further12Confidentiality
                                                       of 99. PageID #: 240304
                                                                           Review
                                                        Page 42                                                        Page 44
    1          MR. DAVISON: Objection to form.                     1   didn't do anything with them?
    2          THE WITNESS: Are you talking about dosing,          2         A. It was a senior -- a Senior Director
    3   p.r.n. dosing --                                           3   of Marketing for the launch of a new product that I
    4          MR. SAMSON: Yes.                                    4   was focused on. Percodan and Percocet were still
    5          THE WITNESS: -- is that what you're asking          5   there, still products of the company, but I wasn't
    6   me?                                                        6   involved with them.
    7          MR. SAMSON: Uh-huh.                                 7         Q. And what was the new product?
    8          THE WITNESS: By some physicians, yes. Not           8         A. The new product was a drug for HIV,
    9   all.                                                       9   Sustiva. First. And then it was a low molecular
   10   BY MR. SAMSON:                                            10   weight heparin product for management of thrombosis.
   11          Q. Okay. And in the per-need era, there            11         Q. Anticoagulation?
   12   was amongst physicians a fairly -- strike that.           12         A. Correct.
   13          Amongst physicians in that per-need period,        13         Q. Okay. And then you went to Cardinal
   14   wasn't it true that physicians were reluctant to          14   Health here in San Diego?
   15   prescribe opiates?                                        15         A. That's right.
   16          MR. DAVISON: Objection to form.                    16         Q. In 2000?
   17          THE WITNESS: I can't comment on what all           17         A. Right.
   18   physicians may have been thinking. But what I can         18         Q. And what did you do after Cardinal
   19   say is that p.r.n. dosing was often practiced by the      19   Health?
   20   physicians that I spoke with, but not universally         20         A. So I was recruited to -- to join
   21   practiced, as opposed to time-contingent dosing.          21   Cardinal Health after 20 years at DuPont. And
   22   BY MR. SAMSON:                                            22   Cardinal was developing a new business model to
   23          Q. And one of the effects of per-need              23   partner up with Nascent, an emerging pharma and
   24   dosing in general versus time contingent, is that in      24   biotech company, especially on the West Coast, in my
   25   the per-need model, there will generally be less          25   case. And Cardinal wanted to become more than just a

                                                       Page 43                                                       Page 45
    1   milligrams of active molecule going to a patient in a      1   drug distributor at that time. They wanted to become
    2   given period than when they are on it regular dose;        2   a more integrated partner to provide other services
    3   true?                                                      3   to the pharma industry, which would include, as it
    4         MR. DAVISON: Objection to form.                      4   says there, manufacturing unique dosage forms, sales
    5         THE WITNESS: Not necessarily true. Not               5   initiatives, marketing programs, et cetera. So that
    6   necessarily true. In an individual case, it could be       6   was my job, to establish relationship with these
    7   true or not true.                                          7   various companies.
    8   BY MR. SAMSON:                                             8          Q. Okay. And would that lead -- was the
    9         Q. Okay. And why did you leave --                    9   hope that Cardinal, through a relationship, would
   10   were -- when you were in emerging markets --              10   have a direct relationship with new drug company
   11         A. Yes.                                             11   that -- or new technology that came out and have a
   12         Q. -- was that Percodan and Percocet --             12   favored position?
   13         A. No.                                              13          MR. DAVISON: Objection to form.
   14         Q. -- or something else?                            14          THE WITNESS: I'm not sure about a favored
   15         A. Nonopioid products. All of our                   15   position. I would say it's a more -- more broad and
   16   nonopioid products.                                       16   in-depth relationship. You might say it is cross
   17         Q. Okay. And how about when you were                17   selling. Yeah.
   18   Director of New Product Planning, was that opioid         18   BY MR. SAMSON:
   19   related or nonopioid?                                     19          Q. Okay. Was Cardinal distributing
   20         A. Nonopioid.                                       20   opioids when you were there from 2000 to 2002?
   21         Q. And then when you were Senior                    21          A. I assume, yes. But I wasn't involved
   22   Director of Marketing, was that opioid or nonopioid?      22   in the drug distribution part of Cardinal.
   23         A. Nonopioid.                                       23          Q. And so from your -- from what you
   24         Q. Okay. Had Percocet and Percodan gone             24   learned about opioids and how they were being used,
   25   elsewhere by then, or director of marketing just          25   et cetera, did you gain any knowledge from -- at

   Golkow Litigation Services                                                                 Page 12 (42 - 45)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further13Confidentiality
                                                       of 99. PageID #: 240305
                                                                           Review
                                                        Page 46                                                       Page 48
    1   Cardinal from 2000 to 2002?                                1         A. Prialt was -- you're stumping me now.
    2         MR. DAVISON: Objection to form.                      2   I don't remember. But it was a small peptide
    3         THE WITNESS: I gained knowledge, yeah.               3   injected through an implantable pump into chronic
    4   BY MR. SAMSON:                                             4   pain patients. It was a nonopioid adjunctive agent
    5         Q. And what was the knowledge you gained             5   to their pain management.
    6   during that time frame?                                    6         Q. Do you recall, what was the risk
    7         A. Knowledge about all Cardinal's lines              7   profile of Prialt?
    8   of business. But the one -- Cardinal's biggest line        8         MR. DAVISON: Objection to form.
    9   of business, the one I was least involved with, is         9         THE WITNESS: Again, it's nonopioid. So it
   10   the distribution business, a big distribution             10   didn't have the opioid profile. But it had certain
   11   business. There's one other subcategory of                11   CNS side effects that frequently cropped up but were
   12   distribution that I was involved with, and that's         12   manageable by better dosing, low dosing. It was a
   13   called third-party logistics. That's a subset of          13   very, very low-dose drug. It has to be accurately
   14   generalized drug distribution.                            14   dosed. That's why that implantable intravenous pump
   15         Q. And what does that subset deal with?             15   is the approach that -- that's used.
   16         A. It deals with companies that are                 16   BY MR. SAMSON:
   17   small, emerging, that really aren't in a position to      17         Q. When -- I think when you were in
   18   establish a warehouse and distribution mechanism of       18   Mallinckrodt, but perhaps I'm wrong, they had an
   19   their own, so they -- they ask Cardinal to do it on       19   intrathecal pump system; true?
   20   their behalf. So Cardinal has a large warehouse           20         MR. DAVISON: Objection.
   21   where they act as the company's warehouse and             21         THE WITNESS: Mallinckrodt. I believe they
   22   distribution point.                                       22   did, actually.
   23         Q. Okay.                                            23   BY MR. SAMSON:
   24         A. Yeah.                                            24         Q. And was that opioid --
   25         Q. And when you say "small companies,"              25         A. It was nonopioid.

                                                      Page 47                                                         Page 49
    1   small company's distributors or small company's            1          Q. -- in that instance?
    2   manufacturers, producers?                                  2          That was a nonopioid?
    3         A. Manufacturers, yeah.                              3          A. I believe it was nonopioid, yeah.
    4         Q. And did you, in your time at DuPont               4          Q. And in terms of the planning on the
    5   Pharmaceuticals, have anything to do with suspicious       5   campaign for -- had Prialt been launched before you
    6   order monitoring or order tracking, antidiversion?         6   got there, or were you involved in the launch? Since
    7         A. No.                                               7   it says "planning," it confuses me.
    8         Q. Then you went to Elan                             8          A. I'm pretty sure I was involved in the
    9   Biopharmaceuticals? And where was that?                    9   launch, yeah. I definitely was involved in the
   10         A. Here in San Diego.                               10   launch of Tysabri.
   11         Q. And was that a startup?                          11          Q. Okay. And Tysabri, whatever great
   12         A. No.                                              12   effects it has on slowing the progression of multiple
   13         Q. Okay. It was established?                        13   sclerosis, it doesn't have anything to do with pain,
   14         A. Established.                                     14   isn't used for pain?
   15         Q. Okay. And you oversaw worldwide                  15          A. It's not indicated for pain. Only
   16   operations, planning, for two lead pipeline products;     16   indirectly, if it would relieve symptoms. But, no,
   17   correct?                                                  17   it's not -- it's not an indicated analgesic.
   18         A. Correct.                                         18          Q. And in terms of launching Prialt, was
   19         Q. And one was Tysabri. And is that                 19   one of the features that you and Elan
   20   multiple sclerosis?                                       20   Biopharmaceuticals presented to the target audience,
   21         A. That is multiple sclerosis.                      21   was that it was a nonopioid, so it didn't have the
   22         Q. And also a drug called Prialt in                 22   opioid risks?
   23   pain?                                                     23          A. Absolutely. And it was opioid
   24         A. Right.                                           24   sparing. This is when -- the very beginning of the
   25         Q. What was Prialt's active molecule?               25   opioid-sparing concept.

   Golkow Litigation Services                                                                Page 13 (46 - 49)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further14Confidentiality
                                                       of 99. PageID #: 240306
                                                                           Review
                                                       Page 50                                                        Page 52
    1         Q. And describe opioid sparing for me in             1          THE WITNESS: I would say that physicians
    2   your terms?                                                2   are clearly concerned about the safety of their
    3         A. So to achieve -- achieve the goal of              3   patients, number one. The FDA mandate is safety,
    4   therapy, which is analgesia, simplistically, you           4   number one.
    5   could have two approaches. One, dose opioids till          5          So all the responsible people, all the
    6   you reached analgesia; or, two, dose opioids plus an       6   adults in the room, put patient safety first. And if
    7   adjunctive agent to reach analgesia with a lower           7   it's good enough for the FDA, it's good enough for
    8   total dose of the opioid, which is always a goal of        8   me.
    9   therapy with opioids, is to achieve the goal of            9   BY MR. SAMSON:
   10   therapy at the lowest possible dose.                      10          Q. Okay. And you didn't notice from the
   11         Q. And the thinking was at Elan, that               11   '90s through when you left Mallinckrodt, that, in
   12   Prialt might be a stand-alone treatment, but              12   general, a lot more opioids were being used in the
   13   certainly if used with opioids, it would cause the        13   pain space?
   14   patient to need less opioids?                             14          MR. DAVISON: Objection to form.
   15         A. Yes.                                             15          THE WITNESS: I don't have the data. But
   16         MR. DAVISON: Objection.                             16   my -- my -- my belief is, yes.
   17   BY MR. SAMSON:                                            17   BY MR. SAMSON:
   18         Q. And have you ever, in any of your                18          Q. So something was moving the medical
   19   contacts with the opioid and pain space, found a          19   market, physicians, prescribers, because nobody can
   20   scientifically-supported idea that you believe in         20   get an opioid without a prescriber writing a script
   21   that promotes the fact that somehow more opioids are      21   for it; true?
   22   better --                                                 22          MR. DAVISON: Objection to form.
   23         MR. DAVISON: Objection to form.                     23   BY MR. SAMSON:
   24   BY MR. SAMSON:                                            24          Q. Before and after --
   25         Q. -- for a patient?                                25          A. Legally, yes.
                                                        Page 51                                                         Page 53
    1         MR. DAVISON: Sorry.                                  1         Q. So that's not -- well taken.
    2         THE WITNESS: So unbridled, unbridled,                2         A. Yeah, the -- what was -- I will wait
    3   unlimited, more opioids are always better, is not          3   for you to ask the next question.
    4   anything that anybody believes in today or really          4         Q. Sure. But at some point the
    5   practices today, as far as I know.                         5   reluctance to prescribe opiates decreased; true?
    6   BY MR. SAMSON:                                             6         MR. DAVISON: Objection to form.
    7         Q. At some point was there such a                    7         THE WITNESS: I'm not sure. Perhaps. But I
    8   belief?                                                    8   wouldn't characterize it that way.
    9         MR. DAVISON: Objection to form.                      9   BY MR. SAMSON:
   10         THE WITNESS: I don't really know what all           10         Q. How would you characterize it?
   11   physicians did. But it was more -- you might say it       11         A. I would characterize it as the --
   12   was more common, based on the state of knowledge at       12   there was more of a recognition of patient pain,
   13   one point.                                                13   chronic pain. Patient chronic pain was becoming more
   14   BY MR. SAMSON:                                            14   the incidence, and prevalence of chronic pain was
   15         Q. And when was that point?                         15   increasing.
   16         A. I can't recall exact. But there's                16         You have got to remember, we're talking
   17   been a shift in the thinking over -- over decades,        17   about a fairly long period of time. So you have an
   18   quite frankly. A couple decades, yeah.                    18   aging population. You have people with greater
   19         Q. Well, when you were in the 1990s, we             19   incidence and a better understanding of the diagnosis
   20   were talking about per-need dosing --                     20   of chronic pain, and patients presenting to
   21         A. Right.                                           21   physicians with the diagnosis of chronic pain. That
   22         Q. -- which -- and you said you couldn't            22   pain is debilitating. That pain is crushing to those
   23   answer for all physicians, but physicians were a bit      23   patients. And physicians are going to meet the needs
   24   leery of opioid usage for pain; true?                     24   of their patients, but in the context of safe
   25         MR. DAVISON: Objection to form.                     25   provision of therapy.

   Golkow Litigation Services                                                                 Page 14 (50 - 53)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further15Confidentiality
                                                       of 99. PageID #: 240307
                                                                           Review
                                                            Page 54                                                        Page 56
    1          Q. And do you believe that in, say, 2006                1   Toxin in play here being used for plastic surgery
    2   till you left in 2000- -- left Mallinckrodt in the             2   effects or some deeper medical problems, or both?
    3   end of 2011, the balance had swung to where too many           3          A. Deeper medical problems, not -- not
    4   opioids were being used, regardless of the underlying          4   facial cosmetics.
    5   pain?                                                          5          Q. Okay. And what was the -- what was
    6          MR. DAVISON: Objection to form.                         6   Myobloc being developed for or imported to treat?
    7          THE WITNESS: Maybe in some cases. I don't               7          A. A condition called cervical dystonia,
    8   really know. But I can tell you this. That during              8   which is a contraction of muscles on one side of the
    9   the period that you -- the time period that you                9   neck that causes patients to have their head in a
   10   identified, I, quite frankly, didn't follow what the          10   tilted position, and is very, very painful.
   11   sales were, nor did I care.                                   11          Q. And since Botulinum is a -- actually
   12          What I cared about is whatever                         12   a muscle effective drug, putting it in would break
   13   prescriptions, opioid prescriptions that physicians           13   the cycle?
   14   were going to write, that they were done in the               14          A. That's the -- that's the intent, yes.
   15   safest, most conservative possible way, and that              15          Q. Okay.
   16   patients were treated -- their pain was treated               16          A. It's a paralytic agent, actually.
   17   holistically, not papering over their problems with           17          Q. And so I'm confused. Was it -- was a
   18   more and more opioids.                                        18   cervical dystonia patient having constant contraction
   19          Because, remember, pain is not a disease.              19   of one side or the other of their cervical
   20   It's a symptom. And it's a very potent symptom for a          20   musculature?
   21   patient to have to deal with, when you consider               21          A. Yes. They would have an asymmetric
   22   disability, activities of daily living, their ability         22   contraction of neck muscles on one side. They would
   23   to work, go to school, et cetera, et cetera. So to            23   walk around like this, in excruciating pain. So you
   24   be able to put these patients in a -- in a better             24   would -- the physician would inject those muscles
   25   situation where they can function in life without             25   with -- with bochalinum toxin, the muscles would

                                                         Page 55                                                            Page 57
    1   being debilitated by their pain or debilitated by              1   gradually relax, and the patient's head would come
    2   their opioid. So it takes a very holistic,                     2   back to a more neutral position, close to if not
    3   systematic approach for physicians to be able to               3   completely neutral. And then the toxin wears off in
    4   provide that type of therapy. It goes beyond just              4   about 12 weeks, so the patient's condition would
    5   writing more prescriptions.                                    5   return. They would have to go back in for another
    6   BY MR. SAMSON:                                                 6   injection. And they get cycled like that.
    7         Q. Say I agree with you in terms of that                 7         Q. And is the pain simply from the
    8   perfect system that you described. For some reason             8   release -- or the pain relief simply from the release
    9   there were more and more opioid prescriptions being            9   of the contract -- constantly contracted muscles?
   10   written in that 200- -- 2000, early 2000s to the time         10         A. I believe so.
   11   you left Mallinckrodt; true?                                  11         Q. As you guys understood it?
   12         MR. DAVISON: Objection to form.                         12         A. As we understood it, yes.
   13         THE WITNESS: I don't doubt it. But I don't              13         Q. Okay. And then that lasted till
   14   have the data. I don't doubt it.                              14   2009. What ended the Solstice Neurosciences chapter
   15   BY MR. SAMSON:                                                15   of Art Morelli's life?
   16         Q. Okay. Now let's move us to Solstice                  16         A. I founded the company. I got the
   17   Neuroscience in San Francisco. This is the Botulinum          17   commercial operations of the company going. I raised
   18   Type B?                                                       18   the money to -- I raised over $40 million of venture
   19         A. It is.                                               19   capital money to get the company started. That
   20         Q. And you were a co-founder?                           20   product was a spin-out of Elan.
   21         A. I was.                                               21         So I figured I had done my work. I had no
   22         Q. And from 2004 to 2009, I'm assuming                  22   further interest in working with the venture
   23   you were not in the pain space?                               23   capitalists that funded our company. And so I left
   24         A. I was not.                                           24   the company, and then I joined -- I joined
   25         Q. And was the Botulinum -- Botulinum                   25   Mallinckrodt --

   Golkow Litigation Services                                                                     Page 15 (54 - 57)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further16Confidentiality
                                                       of 99. PageID #: 240308
                                                                           Review
                                                        Page 58                                                        Page 60
    1          Q. Did that --                                      1         A. DuPont and Cardinal Health.
    2          A. Cov- --                                          2         Q. And did you approach Mr. Wright since
    3          Q. I'm sorry. Go ahead.                             3   you were getting out of Solstice, or did Mr. Wright
    4          A. Covidien.                                        4   approach you?
    5          Q. The fact that your other deposition              5         A. I approached him.
    6   in life was about, I'm assuming, something to do with      6         Q. And did you come to him with a --
    7   the stock, the trademarks, whatever it is, of              7   some Covidien-specific vision or simply, I'm no
    8   Solstice, tells me something didn't go all that            8   longer working here; do you have a spot for me?
    9   happily as -- after you left or at the time you were       9         A. I would say it's somewhere in
   10   leaving?                                                  10   between. I came to him with a -- you know, proposed
   11          A. My --                                           11   that added to the senior management team, I would add
   12          MR. DAVISON: Objection to form.                    12   value to the company in a potential variety of ways.
   13          THE WITNESS: -- resignation had nothing to         13         Q. Okay.
   14   do with the deposition.                                   14         A. Yeah.
   15   BY MR. SAMSON:                                            15         Q. Give me the variety of ways that you
   16          Q. Okay. And then you were simply a                16   would have told Mr. Wright you saw as potential
   17   fact witness to -- why were you at the deposition?        17   advantages to Covidien taking you on.
   18          A. I don't really know. But I -- it was            18         A. Marketing. Operations. Improvement
   19   about the intellectual property rights. That's what       19   in efficiencies. That type of thing.
   20   I remember.                                               20         Q. Okay. And for a non-businessman like
   21          Q. Did you have an interest in the                 21   me, marketing is devising strategies and tools to
   22   intellectual property rights either asserted or           22   increase a company's sales; is that true? Or how
   23   actual?                                                   23   would you define it?
   24          A. Yes. Because I was a stockholder in             24         MR. DAVISON: Objection to form.
   25   the company.                                              25         THE WITNESS: So marketing is a -- is a

                                                      Page 59                                                           Page 61
    1         Q. Okay. And were you a plaintiff in                 1   discipline where you -- it's definitely strategic,
    2   that suit that you got deposed in?                         2   where sales is tactical.
    3         A. A defendant.                                      3          Marketing creates programs and projects,
    4         Q. A defendant?                                      4   initiatives that position products, educate
    5         A. Yeah.                                             5   health-care providers on products, and, you know,
    6         Q. And what was the end result?                      6   create -- create an environment where health-care
    7         A. It didn't resolve while I was there.              7   professionals, you know, desire to learn more about a
    8   But subsequently I believe it resolved amicably in         8   product and pique their interest on a product.
    9   some way. But I don't know the details.                    9   BY MR. SAMSON:
   10         Q. Okay. All right. So how did you                  10          Q. Okay. And then what does sales do?
   11   come to be hired by Covidien, slash, Mallinckrodt?        11          A. Sales sells. So sales drives
   12         A. I was recruited by the CEO at the                12   prescriptions.
   13   time.                                                     13          Q. Okay.
   14         Q. Who was the CEO?                                 14          A. New prescriptions, more
   15         A. Tim Wright.                                      15   prescriptions, et cetera.
   16         Q. How does he spell his name?                      16          Q. And the two, marketing and sales,
   17         A. W-r-i-g-h-t.                                     17   work together to hopefully increase the sales of a
   18         Q. And did you and Mr. Wright have past             18   company's whole line or specific products within the
   19   dealings?                                                 19   company's line?
   20         A. We did. We worked at a couple                    20          A. Hopefully they work together.
   21   companies together.                                       21          Q. Okay. Operations. What was
   22         Q. A couple of the ones we've gone                  22   operations, when you said that was something you
   23   through?                                                  23   thought you might bring to the Mallinckrodt table?
   24         A. Yes.                                             24          A. It's kind of a catchall term. It
   25         Q. Which ones?                                      25   could be a variety of things in various departments.

   Golkow Litigation Services                                                                 Page 16 (58 - 61)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further17Confidentiality
                                                       of 99. PageID #: 240309
                                                                           Review
                                                          Page 62                                                       Page 64
    1   I mean, I -- I've always been kind of a problem              1   is Exhibit 3. And this is a consultancy agreement.
    2   solver. I'm a person that can analyze a situation            2         So you were hired as a consultant?
    3   and create a plan for improvement if there are               3         A. I was initially, yes.
    4   problems, or just improvement if there aren't                4         Q. And it says, if you turn to the very
    5   problems.                                                    5   last page, Exhibit 8, "Scope of Work." You will
    6          And when I started there, I started in the            6   perform leadership abilities, and in the area of
    7   imaging agents' business, which was, you know,               7   North American sales and marketing for the imaging
    8   faltering significantly. And I helped them for               8   solutions business, and also provide expertise and
    9   awhile before getting into the Medical Affairs.              9   guidance to the imaging logistics function as
   10          Q. So is operations divorced from                    10   required.
   11   marketing and sales and, say, product development on        11         A. Correct.
   12   the other side of things, or not?                           12         Q. And the imaging side -- was the
   13          A. It could involve all those things or              13   imaging in Covidien, too, or was it not part of
   14   some of those things, yeah.                                 14   Covidien?
   15          Q. Okay. And what about operations in                15         A. It was part of it, yeah.
   16   terms of how do we -- how do we produce "X" million         16         Q. Okay. And this is CT and
   17   generic oxycodone tablets; is that operations or            17   radiographic imaging --
   18   manufacturing?                                              18         A. Contrasting.
   19          A. That would be manufacturing.                      19         Q. Contrasting, dyes?
   20          MR. DAVISON: Objection to form.                      20         A. Dyes, contrast agents, et cetera.
   21          THE WITNESS: Which, you know, I -- I'm not           21         Q. And you said it was -- I forget the
   22   a manufacturing guy. So I would have no idea how to         22   term -- not in healthy shape?
   23   do that better. Yeah.                                       23         A. Not in healthy shape. It was going
   24   BY MR. SAMSON:                                              24   down.
   25          Q. Okay. So -- and then improvements in              25         Q. Why was that?
                                                        Page 63                                                           Page 65
    1   efficiencies, that's a goal that could apply to              1          A. It's a long-term problem that they
    2   either our operations or marketing?                          2   had, where they did not really invest enough in the
    3          A. It could.                                          3   business over a period of years to enhance their
    4          Q. Okay. Did you have some separate,                  4   product line enough to -- to continue as a growing
    5   from operations or marketing, idea about improvement         5   business. So they were being surpassed by
    6   in efficiencies when you gave that as a third                6   competitors who were investing in their imaging
    7   strength?                                                    7   products.
    8          A. I had absolutely no idea what they                 8          Q. And you took up that work on May 1,
    9   needed in terms of operational efficiencies, but that        9   2009?
   10   would have happened if I would have been engaged in         10          A. Uh-huh.
   11   that particular area, which I wasn't.                       11          Q. Is that a "Yes"?
   12          Q. Okay. And then Exhibit 2 --                       12          A. Yes. That's a yes. I'm sorry.
   13          MS. GAFFNEY: That would be 3.                        13          Q. And did you -- where was imaging
   14          MR. SAMSON: Oh, that's right. That would             14   headquartered? St. Louis?
   15   be 3.                                                       15          A. St. Louis.
   16          THE WITNESS: I've got a 2 here.                      16          Q. Did you move to St. Louis?
   17          MR. SAMSON: You're right. We had a --                17          A. I did. Not right away, but I did.
   18   William screwed up our numbering system.                    18   When I transitioned from a consultant, which was
   19          MR. DAVISON: I'm just trying to make your            19   this, to a full-time employee, I was required to move
   20   life difficult here.                                        20   to St. Louis, which I did.
   21          MR. SAMSON: But the résumé did help.                 21          Q. Okay. And then -- so you worked --
   22          This is 3.                                           22   and I'm going to show you -- I think that was October
   23                  (Exhibit No. 3 was marked.)                  23   26, was your -- of 2009, was your -- somewhere around
   24   BY MR. SAMSON:                                              24   there was your actual hire date --
   25          Q. Okay. This is -- what you have now                25          A. Okay.

   Golkow Litigation Services                                                                   Page 17 (62 - 65)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further18Confidentiality
                                                       of 99. PageID #: 240310
                                                                           Review
                                                       Page 66                                                            Page 68
    1         Q. -- as a nonconsultant.                           1 they were very minor.
    2         So from May 1 through end of October of             2         MR. SAMSON: Okay. And then let's do No. 4,
    3   2009, you worked on the imaging side?                     3 and then I think we will probably be about ready for
    4         A. I did.                                           4 a break.
    5         Q. And did you have any contact with the            5         MR. DAVISON: That would be perfect. I was
    6   pain space at Covidien during that time?                  6 about to suggest that after this exhibit.
    7         MR. DAVISON: Objection.                             7                (Exhibit No. 4 was marked.)
    8         THE WITNESS: I did not.                             8 BY MR. SAMSON:
    9   BY MR. SAMSON:                                            9         Q.    And go ahead and review this,
   10         Q. And how did things go?                          10 Mr. Morelli. I will apologize. I didn't find a
   11         MR. DAVISON: Objection.                            11 traditional actual offer letter or agreement in your
   12   BY MR. SAMSON:                                           12 personnel file. But I did find this letter from --
   13         Q. In terms of --                                  13 or email strand from Lisa Britt and Herb Neuman about
   14         MR. DAVISON: Sorry.                                14 hiring you.
   15   BY MR. SAMSON:                                           15         First of all, let me ask you, in what we've
   16         Q. -- your impact on the imaging                   16 been through today, have I managed to get out any
   17   business?                                                17 meaningful experience you had in the pain space up to
   18         MR. DAVISON: Objection to form.                    18 being hired at Covidien as an employee?
   19         THE WITNESS: I think it was -- I would             19         MR. DAVISON: Objection to form.
   20   characterize it as a bit shocking to them, what I        20 BY MR. SAMSON:
   21   laid out and proposed. And it wasn't a quick fix         21         Q.    Did I miss anything?
   22   type of approach, which is what they wanted. But the     22         A.    I will say you hit the high spots,
   23   patient was too far gone at that point. And what I       23 yeah.
   24   recommended, they were not willing to do. And they       24         Q.    Okay.
   25   eventually divested the business.                        25         A.    Yeah.

                                                       Page 67                                                          Page 69
    1   BY MR. SAMSON:                                            1          Q. And that was pretty much Percodan and
    2          Q. What were your recommendations in               2   Percocet at DuPont, and a nonopioid intrathecal at --
    3   global, you know, 30,000-foot?                            3   I forget which one of the companies.
    4          A. There were some -- I characterize it            4          A. Elan.
    5   as bottom-up types of recommendations to kind of          5          Q. Elan.
    6   improve the day-to-day, and some top-down                 6          A. No, there was one other one. Because
    7   recommendations to kind of improve it as a strategic      7   it's not a controlled substance, it probably didn't
    8   level.                                                    8   catch your eye. But it's a product named Nubain
    9          They were very interested in the bottom up,        9   nalbuphine hydrochloride. That was a Dupont product.
   10   but they were not interested in the top down. And        10          THE REPORTER: What was the name again?
   11   they didn't really -- they weren't comfortable making    11          A. Nubain, N-u-b-a-i-n, nalbuphine
   12   investments in that business at that time. And they      12   hydrochloride. That was an injectable analgesic, for
   13   eventually divested the business.                        13   moderately severe to severe pain, used mainly in the
   14          Q. And was imaging a place in which               14   hospital, postoperative or intraoperative use. But
   15   there was competition to come up with new products,      15   it was a noncontrolled substance, but it was quite
   16   or was it more, how do we keep our product with its      16   potent.
   17   current market share and hopefully grow it?              17          And I was involved with sales and marketing
   18          A. It was both.                                   18   of that, basically, around the world.
   19          Q. Okay. And were there any new                   19          Q. And what --
   20   products in the pipeline in imaging, when you            20          A. And that was dealing with
   21   started?                                                 21   anesthesiologists and surgeons.
   22          A. Not that I recall. If there were,              22          Q. What class of drugs does Nubain fit
   23   they were minor.                                         23   into it? It's not an opioid; true?
   24          Q. And none when you left?                        24          A. It would compare to -- compete with
   25          A. Not that I recall. If there were,              25   and compare to morphine, a controlled substance, but

   Golkow Litigation Services                                                                  Page 18 (66 - 69)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further19Confidentiality
                                                       of 99. PageID #: 240311
                                                                           Review
                                                          Page 70                                                       Page 72
    1   Nubain was a noncontrolled substance.                        1          A. Correct.
    2          Q. And why was it noncontrolled if it --              2          Q. Had you ever served in a Medical
    3   are you saying its effects compared to morphine?             3   Affairs Division, or whatever the correct subunit is,
    4          A. Its efficacy. Its pain-relieving                   4   of any other pain space company?
    5   ability compared to morphine, but it didn't produce          5          A. No.
    6   the euphoria.                                                6          Q. And from some documents we will look
    7          Q. Okay. Which reduced its risk, even                 7   at later -- or, here, let me give it to you right
    8   if it wasn't only used in hospital, of diversion and         8   now. Can I have 5 -- what will now be 5, Allison.
    9   abuse?                                                       9                  (Exhibit No. 5 was marked.)
   10          MR. DAVISON: Objection.                              10          (Witness reviewing document.)
   11          THE WITNESS: Absolutely.                             11   BY MR. SAMSON:
   12   BY MR. SAMSON:                                              12          Q. Had a chance to get through it? As I
   13          Q. And -- but I mean, do -- the opioids              13   understand it, this was actually from a presentation
   14   all work with certain receptors?                            14   in 2011. But I want you to turn to the second inside
   15          A. They do.                                          15   page there. Oops. Too far.
   16          Q. Ibuprofen and the rest of the NSAIDS              16          A. This one?
   17   work with different receptors or the same receptors?        17          Q. No, the one that --
   18          A. Uh-huh.                                           18          A. This one.
   19          Q. What was nalbuphine doing in the body             19          Q. -- has the slide on, "Role on Medical
   20   to provide pain relief?                                     20   Affairs."
   21          MR. DAVISON: Objection to form.                      21          A. Oh, I got it. Okay.
   22          THE WITNESS: It was generally believed to            22          Q. When you joined Covidien's Medical
   23   be a kappa agonist as opposed to a mu agonist, which        23   Affairs Department, was it your understanding that
   24   the -- you know Class 2 and 3 and morphine, and those       24   Medical Affairs was responsible for providing
   25   drugs, tend to be agonists at mu receptor.                  25   accurate medical and scientific information about
                                                      Page 71                                                             Page 73
    1        Morphine -- I mean nalbuphine was actually              1   Mallinckrodt products to the marketing and sales
    2   an antagonist at the mu receptor, an agonist at the          2   staff based on, quote, evidence-based best practices
    3   kappa receptor. That was the belief at that time.            3   in health care, end quote?
    4   BY MR. SAMSON:                                               4          A. Yes.
    5        Q. Was nalbuphine ever a drug in which                  5          Q. So that was there before you, as
    6   abuse was a worry?                                           6   the --
    7        MR. DAVISON: Objection to form.                         7          A. I'm not sure of the timing of all of
    8   BY MR. SAMSON:                                               8   this. But, yes, I believe that was the belief.
    9        Q. Abuse by the patient?                                9   Knowing Herb Neuman like I do, I believe that's what
   10        MR. DAVISON: Same objection.                           10   he believes.
   11        THE WITNESS: Quite the opposite. If a                  11          Q. And Mr. Neuman was the head of
   12   person who is tolerant or addicted on a morphine-like       12   Medical Affairs the entire time you were there?
   13   drug would receive nalbuphine, it would precipitate         13          A. Chief Medical Officer, yes.
   14   withdrawal because of the antagonistic effect at the        14          Q. And is he an MDL or a Pharm.D, or
   15   mu receptor.                                                15   what's his medical qualification?
   16   BY MR. SAMSON:                                              16          A. MD, MBA.
   17        Q. Okay. And, basically, pain relief,                  17          Q. And that, I take it from earlier
   18   no high?                                                    18   answers, suited Art Morelli, that we were going to
   19        MR. DAVISON: Objection to form.                        19   only act on evidence-based best practices in health
   20        THE WITNESS: Basically.                                20   care to a tee?
   21   BY MR. SAMSON:                                              21          A. Yes.
   22        Q. Okay. Back to your letter.                          22          Q. Because, as you talked about both the
   23        A. Right.                                              23   effects of pain and the potential poor effects of
   24        Q. No. 4. It appears you're being hired                24   opioids, you want to know what the drug is going to
   25   into Medical Affairs at Mallinckrodt?                       25   do based on evidence, not guesswork, and you want to

   Golkow Litigation Services                                                                   Page 19 (70 - 73)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further20Confidentiality
                                                       of 99. PageID #: 240312
                                                                           Review
                                                      Page 74                                                       Page 76
    1 know what the risks are based on evidence and               1         A. Oh, wait a second.
    2 guesswork, and you want to know how effective it is         2         Q. -- with the following non-negotiable
    3 based on evidence, not guesswork?                           3   offer criteria.
    4         MR. DAVISON: Objection to form.                     4         A. Yes.
    5         THE WITNESS: So, yes, but that's                    5         Q. Okay. Your base pay as
    6   incomplete. It's available evidence. It's good            6   Vice President of Medical Affairs was going to be
    7   evidence. It's reliable evidence. It's validated          7            ?
    8   evidence as opposed to anecdotal evidence, belief, or     8         A. Correct.
    9   practice.                                                 9         Q. And is that what it became even
   10         And the bottom line on what is considered or       10   though --
   11   what is considered usable evidence by a                  11         A. That's what I started with, yes.
   12   pharmaceutical company is what the FDA approves. If      12         Q. Okay. And did it go up from there
   13   the FDA doesn't adjudicate it, you really can't --       13   during your time at Covidien?
   14   the marketing and sales organizations really can't       14         A. It did.
   15   use evidence that hasn't been adjudicated by the         15         Q. Okay. When?
   16   agency.                                                  16         A. Each year.
   17         THE VIDEOGRAPHER: Sorry, Counsel. I just           17         Q. And by how much?
   18   got an email saying that people on the phone can't --    18         A. In the three, four percent range, in
   19   are disconnected or can't hear.                          19   terms of base pay increases each year.
   20         MR. SAMSON: Shall we take a break?                 20         Q. Okay. And then what does the
   21         MR. DAVISON: Yes, let's take a break.              21   25 percent max at 15 no guarantee bonus opportunity
   22         MR. SAMSON: We are getting close.                  22   line refer to?
   23         THE VIDEOGRAPHER: Off the record. The time         23         MR. DAVISON: Objection to form.
   24   is 10:40 a.m.                                            24         THE WITNESS: That's considered variable --
   25         (Recess taken.)                                    25   variable compensation, compensation that you are not

                                                       Page 75                                                     Page 77
    1         THE VIDEOGRAPHER: We are back on the                1   guaranteed, but you may be able to achieve based on
    2   record. The time is eleven o'clock a.m.                   2   performance or ability to achieve the objectives that
    3   BY MR. SAMSON:                                            3   you were given in the context of the company's, you
    4         Q. Mr. Morelli, let me ask you a couple             4   know, financial health.
    5   catch-up questions. First of all, you were talking        5   BY MR. SAMSON:
    6   about DuPont having Percocet and Percodan?                6         Q. Okay. And does 25 percent bonus
    7         A. Yes.                                             7   opportunity, what -- what's max at 50? 50,000 or --
    8         Q. Branded drugs?                                   8         A. Fifty percent.
    9         A. Yes.                                             9         Q. Okay. So it could go --
   10         Q. At some point were they -- those                10         A. Of your base.
   11   brands sold to Endo, or was Endo a division or some      11         Q. So it go from 25 to 50 percent?
   12   other relative of DuPont?                                12         A. Right.
   13         MR. DAVISON: Objection to form.                    13         Q. And no part of that scale was
   14         Object to form.                                    14   guaranteed?
   15         THE WITNESS: I believe at one point DuPont         15         A. Correct.
   16   did divest some products to Endo in the very early       16         Q. Okay. And did you get a bonus in
   17   stages of Endo, yes. But I was not involved with         17   2009?
   18   that at all.                                             18         A. I got -- I believe I got a bonus
   19   BY MR. SAMSON:                                           19   every year I was on salary. You know, not as a
   20         Q. Okay. And then let me ask you to                20   consultant, obviously. But yes.
   21   return to Exhibit 4 for just a second. And the           21         Q. And what was -- is there a fiscal
   22   second page.                                             22   year for Covidien?
   23         A. Okay.                                           23         A. It was a fiscal year.
   24         Q. And you see here that Ms. Britt lists           24         Q. And what was the start and end date?
   25   the -- that wants to start you as early as Monday --     25         A. The start was -- April 1st was the

   Golkow Litigation Services                                                               Page 20 (74 - 77)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further21Confidentiality
                                                       of 99. PageID #: 240313
                                                                           Review
                                                       Page 78                                                         Page 80
    1   start, and March 31st was the end.                          1         Q. -- this would be the sector of field
    2          Q. So you would have been in the program             2   sales force clinical instruction that each person or
    3   roughly half a year --                                      3   each group here was responsible for?
    4          A. Yeah. I think it was time adjusted.               4         A. Right. Yes.
    5          Q. -- in 2009?                                       5         Q. And you are there. And then
    6          MR. DAVISON: Let him finish his question.            6   underneath you are the PPS Team, which I found
    7          THE WITNESS: Oh, I'm sorry.                          7   elsewhere as being pharmacovigilance and patient
    8   BY MR. SAMSON:                                              8   safety team?
    9          Q. In 2010 did you get a bonus?                      9         A. Not pharmacovigilance.
   10          A. I did.                                           10   Pharmacovigilance was Eddie Darton.
   11          Q. And was it 25 percent or more?                   11         Q. Okay.
   12          A. My recollection is I maxed out on it             12         A. This was the Patient and Product
   13   every year I was there.                                    13   Safety Team, PPS.
   14          Q. Okay.                                            14         Q. Okay. And in terms of both
   15          A. Yeah.                                            15   teaching -- and would these be educating the sales
   16          Q. So same answer for 2011?                         16   force, this presentation?
   17          A. Yeah.                                            17         A. It would be primarily new sales
   18          Q. And were you told every year why you             18   representatives.
   19   got it?                                                    19         Q. Does the evidence-based goal apply to
   20          A. I was.                                           20   that function as well?
   21          Q. Okay. And part of it, you said, was              21         A. Yes.
   22   overall company performance?                               22         Q. Okay. And evidence base we
   23          A. So overall company performance would             23   discussed, is scientifically and medically supported
   24   create a pool of money. And then the allocation of         24   by the evidence, real evidence, whether or not that
   25   those funds to individuals as part of their incentive      25   evidence reaches the conclusion that Covidien or Art
                                                         Page 79                                                     Page 81
    1   comp would be based on their individual performance.        1 Morelli may want to have it reach?
    2         Q. And I take it Mr. Neuman would have                2         A. Right.
    3   judged your performance and then given you what, if         3         MR. DAVISON: Objection to form.
    4   anything, he thought was yours from the bonus pool?         4   BY MR. SAMSON:
    5         A. Correct.                                           5         Q. And basically do you believe that
    6         Q. Was the pool set by a given                        6   statements made by Mallinckrodt about its products
    7   percentage, like profit, "X" percent of?                    7   should be judged by that standard?
    8         A. I don't know.                                      8         MR. DAVISON: Objection to form.
    9         MR. DAVISON: Objection to form.                       9         THE WITNESS: Generally, yes.
   10   BY MR. SAMSON:                                             10   BY MR. SAMSON:
   11         Q. Okay. Now, let's go back to                       11         Q. Are there exceptions, where you would
   12   Exhibit 5. And I've got it as page 3. So it will           12   abandon scientific/medical evidence or consensus and
   13   probably be on the front of -- it's a slide, "Medical      13   just go by what would be a good thing to say about
   14   Affairs: Key Players in Clinical Content."                 14   the drug?
   15         A. Yes.                                              15         MR. DAVISON: Objection to form.
   16         Q. And clinical content, what did that               16         THE WITNESS: I can't think of any right
   17   mean on this slide?                                        17   now.
   18         MR. DAVISON: Objection to form.                      18   BY MR. SAMSON:
   19         THE WITNESS: It means the content that               19         Q. So what did the Patient and Product
   20   was -- the content areas that various people were in       20   Safety Team entail in this side of clinical content?
   21   charge of.                                                 21         A. So we were -- my team, that was about
   22   BY MR. SAMSON:                                             22   six, seven, or so people in that PPS Team, had the
   23         Q. And since this presentation is                    23   responsibility of conceptualizing, creating,
   24   called, "Field Sales Force Clinical Education" --          24   submitting, and implementing the Exalgo REMS. That
   25         A. Right.                                            25   was job number one.

   Golkow Litigation Services                                                                 Page 21 (78 - 81)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further22Confidentiality
                                                       of 99. PageID #: 240314
                                                                           Review
                                                        Page 82                                                         Page 84
    1         Number two, that same function for the                 1   to fund and which ones we weren't, because we
    2   C.A.R.E.S. Alliance.                                         2   received far more than we were able to fund. And the
    3         Number three was the publications --                   3   ones that we funded, we provided financial support to
    4   publications team.                                           4   the investigator to conduct those studies.
    5         Number four was the investigator-sponsored             5         Q. And in the time period where you were
    6   research team.                                               6   on the Medical Affairs team, what percentage of those
    7         And the fifth one was the -- a program that            7   submissions for possible funding were related to the
    8   I created and initiated, was the Medical Affairs             8   opioid pain space?
    9   Internal Lecture Series. So our team did all of              9         A. There were -- there were some. There
   10   those things.                                               10   were some, definitely. Yeah, I can't remember the
   11         Q. When did you start the Medical                     11   number.
   12   Affairs internal lecture -- lecture series?                 12         Q. Some 80 percent or some --
   13         A. Sometime early in my career in                     13         A. Oh, no. I would say --
   14   Medical Affairs there, yeah.                                14         Q. -- 20 percent?
   15         Q. Okay. So maybe in the last three                   15         A. I would say about -- about
   16   months of 2009, maybe in early 2010?                        16   50 percent, I would say.
   17         A. Maybe, yeah.                                       17         Q. And of the however -- what would
   18         Q. Okay. Is -- at Mallinckrodt would                  18   50 percent, during your time there, of the opioid
   19   there be a list of what the Medical Affairs lecture         19   pain space submissions be in a number, just a --
   20   series consisted of?                                        20         A. Like number of studies?
   21         A. Yes.                                               21         MR. DAVISON: Objection.
   22         MR. DAVISON: Objection to form.                       22   BY MR. SAMSON:
   23   BY MR. SAMSON:                                              23         Q. Yes. Proposed studies.
   24         Q. How often were the lectures                        24         A. Yeah. How many would we receive?
   25   presented?                                                  25         Q. Yes.

                                                          Page 83                                                    Page 85
    1         A. Quarterly.                                          1         A. We might receive 20 or 30 proposed.
    2         Q. And what were the topics, as you                    2   And we would fund maybe three to five, that kind of
    3   remember them now?                                           3   number. That kind of range.
    4         A. They were a range of topics. Drug                   4         Q. And although I'm not going to run you
    5   addiction was a topic. I'm just -- the ones that I           5   through it today, I assume that somewhere at
    6   remember, musculoskeletal pain was a topic. And              6   Covidien/Mallinckrodt, there will be a budget for --
    7   there were others. I can't think right now.                  7         A. There was a budget.
    8         But these lectures were conducted on-site at           8         Q. -- that line item?
    9   the corporate headquarters. They were videoed. And           9         MR. DAVISON: You've got to let him finish
   10   those videos were made available to people who              10   the questions.
   11   couldn't attend.                                            11         THE WITNESS: Okay. I'm sorry.
   12         Q. And who were the invitees?                         12   BY MR. SAMSON:
   13         A. The company at large. Anybody.                     13         Q. So we can see which ones were funded
   14         Q. Okay. So it wasn't -- it was Medical               14   and to what degree?
   15   Affairs giving the lectures, but not giving them --         15         MR. DAVISON: Objection to form.
   16         A. Or sponsoring them. Sponsoring them.               16         THE WITNESS: I don't know. Probably.
   17   We didn't give them, no. Outside experts,                   17   BY MR. SAMSON:
   18   physicians, scientists gave the lecture. We did not.        18         Q. Okay. Carolinas we will talk about
   19         Q. Okay. And then the sponsored                       19   and Exalgo REM we'll talk about.
   20   research component?                                         20         A. Okay.
   21         A. What is that?                                      21         Q. Are those the major four functions
   22         Q. Yes.                                               22   that Art Morelli and his PPS Team were involved in
   23         A. So various physicians, scientists,                 23   during the entire time you were at Covidien as an
   24   would submit proposals of studies that they wanted us       24   employee?
   25   to fund. We would evaluate which ones we were going         25         A. I think it was five. But those were

   Golkow Litigation Services                                                                  Page 22 (82 - 85)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further23Confidentiality
                                                       of 99. PageID #: 240315
                                                                           Review
                                                       Page 86                                                       Page 88
    1   the ones, yeah.                                             1         Q. Was a pain management doctor named
    2         Q. I got medical --                                   2   Webster, out of Utah, on the panel of experts?
    3         A. Exalgo REMs.                                       3         A. He was.
    4         Q. Oh, okay, you are right. It is five.               4         Q. And he ran Lifeline or Lighthouse?
    5         A. Yeah.                                              5   Lifetree?
    6         Q. We talked about three of them, and                 6         A. Lifetree.
    7   then REMS and the other two. That does add up to            7         Q. And was he on the panel the whole
    8   five.                                                       8   time you were there?
    9         Was there anyone on your PPS Team that had            9         A. Yes.
   10   an MD degree?                                              10         Q. And he was there as a voice of
   11         A. No.                                               11   experience and integrity in the pain treatment
   12         Q. Anyone on your PPS Team that had                  12   community?
   13   hands-on experience in pain --                             13         MR. DAVISON: Objection to form.
   14         MR. DAVISON: Objection to form.                      14         THE WITNESS: Knowledge, experience, and
   15   BY MR. SAMSON:                                             15   integrity, yes.
   16         Q. -- treatment?                                     16   BY MR. SAMSON:
   17         A. No.                                               17         Q. How -- what was the number? You may
   18         Q. Anyone who was a researcher in either             18   have given it to me.
   19   opioids or pain in general?                                19         A. Of people on this panel?
   20         A. No.                                               20         Q. Yeah.
   21         Q. Was there an outside source for your              21         A. I'm saying between five and ten.
   22   team, then, to get that kind of scientific, slash,         22         Q. Okay. Any other pain management
   23   medical input for your functions?                          23   types, like Dr. Webster, whose name you recall --
   24         A. Yes.                                              24   names you recall, multiple?
   25         Q. Who?                                              25         A. They were all involved with pain
                                                         Page 87                                                      Page 89
    1         A. It was a panel of experts that we                  1 management of one aspect or another. Either pain,
    2   worked with, along with one of my direct reports on         2 you know, treatment, pain education, pain -- you
    3   the team who was a Ph.D. He was an epidemiologist.          3 know, pain patient interaction for addiction, things
    4         Q. And who was the Ph.D.?                             4 like that. Yeah.
    5         A. Bobby Clark.                                       5        Q.   Okay. Any other names that you
    6         Q. And what part of the company was he                6 recall?
    7   in?                                                         7         A. There's more names, if you want more.
    8         A. He was in my team.                                 8         Q. Okay. Yeah, please give me --
    9         Q. Oh, he was on yours?                               9         A. So Deborah Gordon, who is a nurse
   10         A. Yes.                                              10   educator, out of Washington, University of
   11         Q. Okay. What was -- his Ph.D. was                   11   Washington. David Brushwood, Pharm.D/lawyer out of
   12   epidemiology?                                              12   Florida at the time. Steve Passik, an addiction
   13         A. Yes.                                              13   specialist, Ph.D.
   14         Q. And who else was on the panel of                  14         Let's see. Maybe more names will come to
   15   experts?                                                   15   me. I can't remember right now.
   16         A. He wasn't one of the panel of                     16         Q. You're doing pretty good.
   17   experts.                                                   17         A. Thank you.
   18         Q. Okay.                                             18         Q. So you talked about the Exalgo REMS,
   19         A. He was an employee.                               19   the C.A.R.E.S Alliance, the -- deciding what
   20         The panel of experts was a group of people           20   submitted proposals would be sponsored research,
   21   that we selected for their -- for their experience,        21   Medical Affairs lecture series, an in-house
   22   their expertise, for their -- you know, a mix of           22   production, and drug addiction for musculoskeletal
   23   different perspectives. Some physicians, some              23   pain. What was that one?
   24   addiction-ology, some pain educators, some                 24         MR. DAVISON: Objection to form.
   25   pharmacists, slash, lawyers, et cetera.                    25   ///

   Golkow Litigation Services                                                                 Page 23 (86 - 89)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further24Confidentiality
                                                       of 99. PageID #: 240316
                                                                           Review
                                                         Page 90                                                      Page 92
    1   BY MR. SAMSON:                                              1   product basis, we had no involvement with generics.
    2         Q. Or did I write that down wrong?                    2         MR. SAMSON: Okay.
    3         A. I don't -- no. It was treatment of                 3         THE WITNESS: However, the C.A.R.E.S.
    4   musculoskeletal, that lecture.                              4   Alliance was about all of chronic pain and all of
    5         Q. Sorry. And was that a single                       5   opioids, regardless of whose products they were, ours
    6   lecture?                                                    6   or somebody else's.
    7         A. Each of these are single lectures,                 7   BY MR. SAMSON:
    8   yeah.                                                       8         Q. Okay. And was there -- what do you
    9         Q. Okay. So of those five areas for                   9   recall being Covidien's provision of information on
   10   your team during your time at Mallinckrodt, how much       10   generics to the C.A.R.E.S. Alliance?
   11   of your team time was spent on the Exalgo REMS?            11         MR. DAVISON: Objection to form.
   12         A. Early on, most of it. As things                   12         THE WITNESS: There was no interaction
   13   progressed forward, less time needed on that, more         13   between the C.A.R.E.S. Alliance effort and our
   14   time needed on the C.A.R.E.S. Alliance.                    14   generic drug production and distribution.
   15         Q. Did those two always take up the                  15   BY MR. SAMSON:
   16   majority of your team's time?                              16         Q. Okay. So C.A.R.E.S. Alliance took
   17         A. They did.                                         17   care of -- of whatever it was going to do with the
   18         Q. So dealing with the proposals for                 18   generics without input from Medical Affairs at
   19   research grants, a five percent or a ten percent           19   Covidien?
   20   or --                                                      20         MR. DAVISON: Objection to form.
   21         A. I would say ten percent.                          21         THE WITNESS: You have to rephrase that
   22         Q. Okay. And then Medical Affairs                    22   question. I don't understand it.
   23   lecture series?                                            23   BY MR. SAMSON:
   24         A. Five percent.                                     24         Q. I'm trying to follow up, because you
   25         Q. And the treating musculoskeletal pain             25   said C.A.R.E.S. Alliance dealt with generics and

                                                      Page 91                                                           Page 93
    1   lecture?                                                    1   branded drugs.
    2         A. No, that was -- those are just                     2         MR. DAVISON: Objection to form.
    3   individual lectures, so that would all come under the       3   BY MR. SAMSON:
    4   lecture series.                                             4         Q. True?
    5         Q. So five percent for the lecture                    5         A. True. So let me -- but not just
    6   series?                                                     6   Covidien's products. Covidien's products were
    7         A. Yes.                                               7   irrelevant to the C.A.R.E.S. Alliance. It was -- we
    8         Q. And any other appreciable repeatable               8   were agnostic as to whose products, the particular
    9   blocks of time spent --                                     9   molecules were from. We were interested in safe and
   10         A. The investment of sponsored research,             10   appropriate use and management of chronic pain no
   11   did you say that?                                          11   matter whose products were being used. It was best
   12         Q. I did. And I thought you had said                 12   practices. It was like a best practices approach.
   13   ten percent?                                               13         Q. Okay. And what I'm trying to figure
   14         A. Okay. Okay. So -- so do we have                   14   out is Covidien, you are aware the whole time you
   15   everything?                                                15   were an employee, sold generic opioids?
   16         And then the rest of it is Exalgo REMS and           16         A. Oh, yeah, I was aware of it.
   17   the C.A.R.E.S. Alliance.                                   17         Q. Okay. And those were, certainly from
   18         Q. So roughly in the 85 percent range                18   2009 to 2011, was not a trough in the nationwide sale
   19   for those two?                                             19   of opioids of all sorts; true?
   20         A. Something like that, yeah.                        20         MR. DAVISON: Objection to form.
   21         Q. So did your PPS Team embrace both                 21         THE WITNESS: I have absolutely no idea what
   22   Covidien-branded pain space drugs as well as               22   the sales of any of these products are or were.
   23   generics?                                                  23   BY MR. SAMSON:
   24         MR. DAVISON: Objection to form.                      24         Q. That wasn't filtered back up to you
   25         THE WITNESS: Specifically on, like, a named          25   guys to give you a focus on what we might need to do

   Golkow Litigation Services                                                                  Page 24 (90 - 93)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further25Confidentiality
                                                       of 99. PageID #: 240317
                                                                           Review
                                                        Page 94                                                      Page 96
    1   in our scientifically-based, medical best evidence         1   think we had a generic sales force. I don't even
    2   role to decrease oversale, if there was such               2   know what they had in generics.
    3   oversale?                                                  3   BY MR. SAMSON:
    4         MR. DAVISON: Objection to form.                      4         Q. So at no point were you aware whether
    5         THE WITNESS: Absolutely not. It would be             5   Mallinckrodt's generic -- sales of generic opioids,
    6   the last people I would ask, people in the industry        6   during the time you worked there, were miniscule
    7   anywhere, of a sales or marketing organization what        7   compared to their branded drugs?
    8   they think we need to do for patient safety. Okay.         8         MR. DAVISON: Objection to form.
    9   BY MR. SAMSON:                                             9         THE WITNESS: I have no idea what their
   10         Q. You speak as a veteran that knows --             10   generic sales were. I don't really know what the
   11   has formed an impression that salesmen will sell --       11   branded sales were. It's not my job to know that. I
   12         MR. DAVISON: Objection.                             12   don't need to know that. I don't want to know that.
   13   BY MR. SAMSON:                                            13   BY MR. SAMSON:
   14         Q. -- and are not interested in                     14         Q. Safe to say, then, that nobody on
   15   hearing -- in hearing downsides of their product?         15   your team doing its job, including C.A.R.E.S.
   16         MR. DAVISON: Objection to form.                     16   Alliance and trying to get the correct use of opioids
   17   BY MR. SAMSON:                                            17   for pain control, ever did anything with
   18         Q. Is that true?                                    18   Mallinckrodt's either branded sales teams or generic
   19         A. So it's maybe true in some cases.                19   sales operatives?
   20   But you're not going to -- they're not a reliable         20         A. Oh, we did --
   21   source of information on the global patient               21         MR. DAVISON: Objection to form.
   22   management of pain. I wouldn't go to a sales rep to       22         THE WITNESS: We did plenty with the brand
   23   ask a sales rep or a marketing director, how do you       23   sales team.
   24   think is best practices in patient diagnosis and          24         MR. SAMSON: Okay.
   25   patient management? I would go to a physician or an       25         THE WITNESS: We did a lot with them.
                                                      Page 95                                                               Page 97
    1   expert in that field.                                      1          MR. SAMSON: Yeah. And I thought --
    2         So what Mallinckrodt was selling up, down,           2          THE WITNESS: Yeah.
    3   or sideways was of really no interest to me                3          MR. SAMSON: -- I saw documents to that
    4   whatsoever.                                                4   effect.
    5   BY MR. SAMSON:                                             5          Q. But nothing in terms of Medical
    6         Q. I'm talking about, though, you're                 6   Affairs, Art Morelli controlling the problem of
    7   developing tools; correct?                                 7   opioids to the generic Mallinckrodt business, that
    8         A. Correct.                                          8   you were aware of?
    9         Q. To avoid oversales of opiates, avoid              9          MR. DAVISON: Objection to form.
   10   diversion and overdose deaths, and those sorts of         10          THE WITNESS: Correct.
   11   things, as best you can by developing tools for the       11   BY MR. SAMSON:
   12   proper prescription of opioids; correct?                  12          Q. Did anyone tell you that generics --
   13         MR. DAVISON: Objection to form.                     13   don't go to the generics, from higher management?
   14         THE WITNESS: Correct. But incomplete. It            14          A. No one had to tell me.
   15   wasn't just about things to avoid. And there are          15          MR. DAVISON: Objection.
   16   plenty of things to avoid. It was also about things       16   BY MR. SAMSON:
   17   they should be done -- that should be done to better      17          Q. Because of why?
   18   manage patients and to reduce harm to patients.           18          A. Because I know it's not appropriate.
   19   BY MR. SAMSON:                                            19   It's not a fit. It doesn't -- they don't -- they are
   20         Q. Okay. My question is, within                     20   not -- they are not structured to do anything with
   21   management, operations, and control, was there any        21   it. And I don't care what -- they may have an
   22   passing of that information from Medical Affairs, as      22   opinion, or whatever. Frankly, I don't care what it
   23   you developed it, to the generic sales force?             23   is. I care what Herb Neuman and the FDA think and my
   24         MR. DAVISON: Objection to form.                     24   expert panel think.
   25         THE WITNESS: Absolutely not. I don't even           25          Q. And that's you and Mallinckrodt

   Golkow Litigation Services                                                                   Page 25 (94 - 97)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further26Confidentiality
                                                       of 99. PageID #: 240318
                                                                           Review
                                                       Page 98                                                       Page 100
    1   gathering what you believe to be a very balanced,         1         A. No. They would receive compensation
    2   correct approach to this class of drugs, opioids, in      2   for serving on the C.A.R.E.S. Alliance panel of
    3   the treatment of pain and balancing all the factors;      3   experts that met quarterly.
    4   true?                                                     4         Q. Okay. But did KOLs receive, to your
    5         MR. DAVISON: Objection.                             5   knowledge, from Mallinckrodt other payment for other
    6         THE WITNESS: Not really true. So let me             6   work that they might do?
    7   kind of clarify for you.                                  7         A. I'm sure they did. I don't know.
    8         MR. SAMSON: Okay.                                   8         Q. But not out of Medical Affairs
    9         THE WITNESS: So in the eyes of the FDA, a           9   budget?
   10   balanced approach generally refers to risks and          10         A. Not out of Medical Affairs, yeah.
   11   benefits of a drug, any drug. That's what the FDA        11         Q. And that was -- is commercial a known
   12   requires, a balanced approach to physicians, benefit     12   subentity? You said it was off of commercials.
   13   and risk.                                                13         A. They have a budget. They have a
   14         The C.A.R.E.S. Alliance and the Exalgo REMS        14   budget line for, for example, speakers bureau. So
   15   was nothing about benefit. It was all about risk         15   they give "X" number of lectures, you know, over the
   16   mitigation and optimizing therapy, of whatever drug      16   course of the year at various places, and they pay
   17   you might be using, by preventing harm to patients.      17   for that. I don't pay for that.
   18   It was not balanced. It was imbalanced in favor of       18         Q. Okay. Did you, or anyone else that
   19   safety.                                                  19   you know of at Medical Affairs, have anything to do
   20   BY MR. SAMSON:                                           20   with picking the speakers?
   21         Q. And that message, as far as you know,           21         MR. DAVISON: Objection to form.
   22   was not in any way provided to the generic side of       22         THE WITNESS: I had nothing to do with it.
   23   Mallinckrodt opioid sales while you were there?          23   I don't know who else had stuff to do with it.
   24         A. Correct.                                        24   BY MR. SAMSON:
   25         MR. DAVISON: Objection.                            25         Q. Okay. In your term of 2009 to 2011,

                                                       Page 99                                                     Page 101
    1   BY MR. SAMSON:                                            1   what was the budget for the grant proposals?
    2         Q. Medical Affairs had a budget; true?              2         A. The grant proposals. I'm sorry. I
    3   I'm assuming.                                             3   don't recall the number.
    4         A. It did.                                          4         Q. But that --
    5         Q. And you told me that one part of that            5         A. But as a percent, you know, compared
    6   budget that was under your team's responsibility were     6   to the whole budget, it was quite small.
    7   the grant proposal decisions?                             7         Q. What -- what were the big chunks of
    8         A. Yes.                                             8   the Medical Affairs budget in your time?
    9         Q. How about key opinion leaders,                   9         MR. DAVISON: Objection to form.
   10   speakers bureaus, or other things like that, were        10         THE WITNESS: Well, people's salaries, and
   11   those under your team or --                              11   so forth. But apart from that --
   12         A. No.                                             12   BY MR. SAMSON:
   13         Q. -- some other part --                           13         Q. Can I call that overhead?
   14         A. Speakers bureaus, I had nothing to do           14         A. Yes, overhead. Apart from that, it
   15   with speakers bureau. That's a commercial function,      15   was -- the C.A.R.E.S. Alliance was a huge part of it.
   16   with their own budget and their own process.             16         Q. And do you recall yearly budget
   17         Q. Okay.                                           17   figures from Medical Affairs budget to C.A.R.E.S.
   18         A. KOLs, only -- only the KOLs that were           18   Alliance, which was launched at Pain Week 2010, as I
   19   on our advisory -- you know, safety advisory board       19   recall?
   20   were the KOLs that I would be dealing with.              20         A. I think so.
   21         Q. And they were -- KOLs, in the general           21         Q. And so it would have had some
   22   sense, were not on Medical Affairs budget?               22   developmental expense --
   23         MR. DAVISON: Objection to form.                    23         A. Right.
   24   BY MR. SAMSON:                                           24         Q. -- prior?
   25         Q. Is that true or not?                            25         What was the annual budget from Mallinckrodt

   Golkow Litigation Services                                                              Page 26 (98 - 101)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further27Confidentiality
                                                       of 99. PageID #: 240319
                                                                           Review
                                                        Page 102                                                       Page 104
    1   to C.A.R.E.S. Alliance?                                     1 of a Medical Affairs portion of the booth where the
    2          A. I can't give you an exact number, but             2 commercial people didn't -- couldn't go, and that was
    3   it was in -- it was multiple millions of dollars a          3 staffed by our physicians, our pharmacists, and so
    4   year. Not 20 -- not 20 million and not 1 million,           4 that they could ask -- the participants at the
    5   you know.                                                   5 meeting who were physicians could ask, you know,
    6          Q. Somewhere between 20 and 2?                       6 questions about the drugs from a peer, a peer kind of
    7          A. Right. Yeah.                                      7 thing.
    8          Q. And was that simply -- Covidien owned             8        But what I added to that, that hadn't
    9   C.A.R.E.S. Alliance; true?                                  9 happened before, it's called a "Meet the Expert." So
   10          A. Correct.                                         10 I would carve out a schedule, hour-by-hour schedule
   11          Q. And Covidien owned the trademarking              11 of various experts from the -- you know, from the
   12   of it; correct?                                            12 pain community to sit there, and a doctor could walk
   13          A. Correct.                                         13 right up and have a one-on-one conversation unimpeded
   14          Q. So was the 2 to 20 million, wherever             14 by -- by anybody else, if they had any questions that
   15   we find a budget document and come up with it, what        15 they wanted to ask, a Lynn Webster or a Steve Passik
   16   did that go to, as you understood it, within               16 or other people too.
   17   C.A.R.E.S. Alliance?                                       17         So those are the kind of -- that's a flavor
   18          A. So it went to the creation and                   18   for the kinds of programs. And I can tell you, they
   19   production of the various tools that we provided to        19   are very expensive. But it's worthwhile.
   20   health-care professionals. And each tool had, you          20         Q. And where did the ordinary speakers
   21   know, a developmental expense, a production expense,       21   budget come out of?
   22   et cetera. Not a distribution expense because that         22         A. Commercial.
   23   was pretty small. But it had a development expense,        23         Q. And non-C.A.R.E.S. Alliance KOLs, or
   24   was the biggest part of it, and production expense.        24   the few KOLs that were under Medical Affairs, the
   25          It went to -- quite a bit went to                   25   rest of those, where did that budget come out of?

                                                      Page 103                                                         Page 105
    1 educational programs, like webinars that we                   1         MR. DAVISON: Objection to form.
    2 conducted, to educate physicians in online webinars           2         THE WITNESS: I don't recall there being a
    3 about safe opioid practices. It went to a whole               3   separate KOL budget, but there were separate
    4 program I developed called "Expert On Call," which            4   non-C.A.R.E.S. Alliance, you know, activities that
    5 created the ability of physicians to call one-on-one          5   some KOLs might participate in that they got
    6 an expert in the field if they thought they needed            6   compensated for. But I wasn't involved with that.
    7 some, you know, additional insight into certain               7   Yeah.
    8 problems they might be having with their patients.            8   BY MR. SAMSON:
    9 And that was something we funded. And it went pretty          9         Q. Okay. About the Rx FMEA analyses?
   10 well.                                                        10         A. Right. So that was quite an -- quite
   11         Of course, that -- those conversations were          11   an expensive endeavor. So the Rx FMEA analysis, that
   12 to be between the physician in their office and the          12   was done during the formation and creation of the
   13 expert, wherever they would be, without any                  13   Exalgo REMS.
   14 participation by the commercial people. So it's a            14         Are you familiar with Rx FMEA? Maybe you're
   15 peer doctor to doctor kind of thing.                         15   familiar with FMEA, Failure Mode and Effects
   16         Another one was "Meet the Expert Series."            16   Analysis. Right.
   17 So at various conventions -- you've probably been to         17         So a Failure Mode and Effects Analysis is a
   18 pharmaceutical exhibits at various medical societies.        18   recognized process used to determine why things go
   19 You've been to that; right? And you go into the              19   wrong in any system. It's often used in the nuclear
   20 exhibit --                                                   20   regulatory space. So it maps out a process. It
   21        Q. Only in the veterinary market.                     21   finds weak points in the process. It maps out the
   22        A. Okay. So you go into the exhibit                   22   severity and frequency of failure modes in the
   23 room, and there's booths all over the place, right,          23   process, and then it maps out specific solutions
   24 with advertising and sales reps running around. What         24   against those failure modes to reduce the probability
   25 I did is I carved out a separate, cordoned-off area          25   of those failure modes taking place.

   Golkow Litigation Services                                                                Page 27 (102 - 105)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further28Confidentiality
                                                       of 99. PageID #: 240320
                                                                           Review
                                                       Page 106                                                        Page 108
    1          So we did that exercise for the Exalgo REMS         1   science-driven FDA organization. But the fact of the
    2   to make sure we had more of a science-based approach       2   matter is, the learnings from the Exalgo FMEA process
    3   rather than a shooting-from-the-hip approach to the        3   created insights and tools that are actually fairly
    4   things we wanted in our REMS.                              4   widely applicable across the opioid space.
    5          Q. Rather than thinking you knew what               5          So, you know, there's -- you could, you know
    6   was going to happen, you went through a very detailed      6   borrowed -- you know, borrowed ideas here are always
    7   process --                                                 7   good.
    8          A. Right.                                           8   BY MR. SAMSON:
    9          Q. -- to identify failure modes and                 9          Q. But we're talking about a single
   10   sub-modes that contributed to them; correct?              10   company --
   11          A. Exactly.                                        11          A. Right.
   12          Q. And then looked at those failures and           12          Q. -- that applies them, because it
   13   said, what can we possibly do to stop the failure         13   believes in them, to Exalgo; correct?
   14   from happening, after you had already ranked from         14          MR. DAVISON: Objection to form.
   15   least to worst the consequences of failure in that        15   BY MR. SAMSON:
   16   particular mode?                                          16          Q. The Rx?
   17          A. Yes.                                            17          A. Uh-huh.
   18          MR. DAVISON: Objection.                            18          Q. FMEA?
   19   BY MR. SAMSON:                                            19          A. Uh-huh.
   20          Q. All right. Were the Rx -- was the Rx            20          Q. At the same time, that same company
   21   FMEA system and analysis ever applied to                  21   is selling generic opiates -- opioids and elects not
   22   Mallinckrodt's generics?                                  22   to apply the analysis to those; true?
   23          A. Not to my knowledge.                            23          MR. DAVISON: Objection to form.
   24          You can't apply it to a product. You have          24          THE WITNESS: What the decision-making
   25   to apply it to a system, a use system or an               25   process was, the fact of the matter is, as far as I

                                                      Page 107                                                    Page 109
    1   operational system.                                        1   know, they didn't. But what their decision-making
    2          Q. Well, and --                                     2   process was, I have no idea. I was not involved with
    3          A. Like management of chronic pain,                 3   it.
    4   would be a system you could apply it to.                   4   BY MR. SAMSON:
    5          Q. Well, you certainly applied it to                5        Q. Okay. Were -- did you have to get
    6   Exalgo within --                                           6   FDA permission to develop and apply the Rx FMEA
    7          A. I did.                                           7   analysis to Exalgo?
    8          Q. -- Medical Affairs; true?                        8        A. No.
    9          A. I did. Well, the use of Exalgo in                9        Q. And do you know of any reason why one
   10   the treatment of chronic pain. Yeah.                      10   would have to get FDA permission to do that for
   11          Q. But the use of generic oxycodone,               11   generics?
   12   generic hydromorphone, any other generics that            12        A. No.
   13   Mallinckrodt was selling from your time, 2009 to          13        MR. DAVISON: Objection to form.
   14   2011, into the opioid pain space, no effort at Rx         14   BY MR. SAMSON:
   15   FMEA analysis was made; true?                             15        Q. Let's go back to 2009, whether in
   16          MR. DAVISON: Objection to form.                    16   imaging -- joining in imaging --
   17          THE WITNESS: Not to my knowledge.                  17        A. Where was I in 2009?
   18   BY MR. SAMSON:                                            18        Q. I know you were going to try and turn
   19          Q. If you were king, would you like to             19   around the imaging department for part of the era.
   20   have seen the same system applied to generics?            20        Were you aware there were a lot more opioids
   21          MR. DAVISON: Objection to form.                    21   being sold in America and people were becoming
   22          THE WITNESS: It potentially could have some        22   concerned about it?
   23   utility. We made the FDA aware of what we were            23        MR. DAVISON: Objection to form.
   24   doing, and they were very supportive of a                 24        THE WITNESS: More than what?
   25   science-based approach because they are a                 25   ///

   Golkow Litigation Services                                                             Page 28 (106 - 109)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further29Confidentiality
                                                       of 99. PageID #: 240321
                                                                           Review
                                                   Page 110                                                      Page 112
    1 BY MR. SAMSON:                                            1         Q. Okay. When you came back into the
    2          Q. More than had been sold before?               2   opioid space at Mallinckrodt, was it a surprise to
    3          MR. DAVISON: Objection to form.                  3   see people taking 30 milligrams of Oxycontin three,
    4          THE WITNESS: Generally speaking, I would         4   four times a day?
    5   say I had that impression. I couldn't document it,      5         MR. DAVISON: Objection to form.
    6   but I know -- what was more important to me was the     6         THE WITNESS: It wasn't a surprise as much
    7   FDA was concerned about the safety. The safety of       7   as it meant to me, why? Why were they on that level
    8   drugs in general. And that's why REMS was a program     8   of dose?
    9   that they adopted. And the first REMS were not          9   BY MR. SAMSON:
   10   opioid REMS. They were nonopioid products that had     10         Q. But it was certainly higher doses
   11   serious risks.                                         11   than you had been used to in your earlier opioid
   12   BY MR. SAMSON:                                         12   experience?
   13          Q. Which ones?                                  13         A. Probably, yeah.
   14          A. I will think of the name of the              14         Q. It seems to me, fair to say, that
   15   product in a second. But it was an acne product that   15   your personal actions, while at Mallinckrodt, were to
   16   had a teratogenic risk. And there are many classes     16   better understand, and then hopefully influence for
   17   of drugs that have risks that are the FDA hot button   17   better patient outcomes, this increased use of
   18   risks, beyond abuse and death and overdose, which is   18   opioids in the chronic and acute pain space?
   19   an FDA hot button risk.                                19         MR. DAVISON: Objection to form.
   20          But teratogenicity is a hot button risk, and    20         THE WITNESS: More the chronic space. But
   21   liver function tests are a hot button. And there's     21   really, the C.A.R.E.S. Alliance was opioids in
   22   many others. But there are about seven or eight that   22   general in chronic pain. And then the Exalgo REMS
   23   are their hot buttons.                                 23   was the safe use of Exalgo, you know, just Exalgo,
   24          Q. In general terms, when you took the          24   which is chronic pain.
   25   job at Mallinckrodt in 2009, had you heard the term    25   ///

                                                    Page 111                                                       Page 113
    1   "opioid epidemic"?                                      1   BY MR. SAMSON:
    2         MR. DAVISON: Objection to form.                   2          Q. Okay. And to make evidence-based
    3         THE WITNESS: I can't remember what I heard.       3   decisions addressing opioids, during the time you
    4   But I would say, yes.                                   4   were at Mallinckrodt, do you agree that one thing
    5   BY MR. SAMSON:                                          5   that's a real important factor is a
    6         Q. And since you had been involved with           6   pain-and-science-based data on a given opioid's
    7   the opioids back in your DuPont days, that was          7   effectiveness at relieving either the chronic pain or
    8   something that was different. Was there an opioid       8   the acute pain?
    9   epidemic back in the days of DuPont's opioid drugs      9          MR. DAVISON: Objection to form.
   10   when you were there?                                   10          THE WITNESS: That's one thing. It's not
   11         MR. DAVISON: Objection to form.                  11   the only thing that's important. But that's one
   12   BY MR. SAMSON:                                         12   thing that's important.
   13         Q. Identified as such in public                  13   BY MR. SAMSON:
   14   documents?                                             14          Q. Because to the extent that the
   15         A. Certainly not at a marquee, you know,         15   medication doesn't really effectively relieve the
   16   media level, no. Not that I can recall.                16   pain that it's being given for, it doesn't have
   17         Q. And Percocet and Percodan were                17   much -- as much benefit as one that does; true?
   18   abusible; correct?                                     18          MR. DAVISON: Objection to form.
   19         A. Very abusible.                                19          THE WITNESS: That's true. But you have to
   20         Q. Okay. And what was the dose of                20   understand that the only organization that's -- whose
   21   Percocet/Percodan?                                     21   opinion and whose belief really matters on that
   22         A. One to two tabs, Q 4-6h.                      22   particular question is the FDA. To a pharmaceutical
   23         Q. And what was the amount of active             23   company, that's the only thing that matters. And
   24   ingredient in those one to two tabs?                   24   we -- we have to go on their judgment, not on our
   25         A. Approximately 5 milligrams.                   25   judgment.

   Golkow Litigation Services                                                          Page 29 (110 - 113)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further30Confidentiality
                                                       of 99. PageID #: 240322
                                                                           Review
                                                        Page 114                                                       Page 116
    1   BY MR. SAMSON:                                              1   all the pain conditions that were in that studied
    2         Q. So, in your view, if the FDA says                  2   population. I believe there were some low back pain
    3   that this is an acceptable drug for medium to severe        3   and osteoarthritis of the knee and other types of
    4   chronic pain, and you become aware of that it doesn't       4   somatic pain, chronic pain. But if you have the
    5   work for headache pain, or some other sort of pain,         5   indication, you promote based on indication.
    6   there's no bucking the FDA in terms of your analysis        6         If there's publications cropping up to
    7   of the risk/benefit of that drug for a pain that may        7   support or deny what you're doing, you can't change
    8   not be affected by it?                                      8   what you're doing based on some random publication
    9         MR. DAVISON: Objection to form.                       9   unless your label changes.
   10         THE WITNESS: So in the case of headache,             10         So you have to remember also that Exalgo was
   11   headache is a separate part of pain. Drugs that are        11   approved as a second-line drug, not a first-line
   12   indicated, generally speaking, for moderate to             12   drug. So it behooved Covidien, Mallinckrodt, to
   13   moderately severe pain, or even severe pain, are not       13   ensure that it was being used appropriately. I just
   14   indicated for the pain of headache. Headache has a         14   want to show you how deep we dove on this thing.
   15   different mechanism. So drugs have to be                   15         So how are you going to know when you see
   16   specifically indicated to treat headache.                  16   your prescription data if it's being used as a second
   17         So I wouldn't be able to tell you -- so if           17   line? How are you going to know that? You don't
   18   you have -- if you have a drug that's indicated for a      18   know that. You don't know that unless you make an
   19   moderately severe pain, you cannot promote it for          19   effort to find out.
   20   headache. You don't have that indication.                  20         So I commissioned a retrospective chart
   21         So if you are receiving reports, which is            21   review of physician charts in a defined geographic
   22   the other part of your question, about people using a      22   area with high Exalgo use, done by a CRO, to see if
   23   drug and getting certain results, that's basically a       23   the message was getting across to physicians, and
   24   side effect that has to be reported to the agency in       24   they were documenting in the chart, that, in fact,
   25   your Periodic Update Report. And the FDA looks at          25   they were using it to patients who were already

                                                        Page 115                                                      Page 117
    1   all of that.                                                1   tolerant -- excuse me, already tolerant to an opioid.
    2   BY MR. SAMSON:                                              2   BY MR. SAMSON:
    3          Q. Okay. What about chronic low back                 3          Q. And how --
    4   pain, was that part of the FDA's indications on the         4          A. And we did that study.
    5   label for Exalgo?                                           5          Q. And "tolerance" simply means they
    6          A. Chronic low back pain would be legal,             6   have been prescribed an opiate -- opioid at some
    7   would be a legal part of the indication, yeah --            7   point prior in their life and didn't have a bad
    8   legitimate, I meant to say. Legitimate part, yeah.          8   reaction to it?
    9          Q. So if Mallinckrodt was reading, as                9          MR. DAVISON: Objection to form.
   10   your department would, scientific publications in the      10          THE WITNESS: I don't know about the bad
   11   pain world and saw that chronic low back pain was not      11   reaction. But they had to have been on an opioid of
   12   showing very healthy evidence of being effective by        12   a certain potency for a certain amount of time.
   13   the opioids, you think that there's no -- nothing          13   Because tolerance to the opioid is tolerance to the
   14   that Mallinckrodt needs to do until the FDA makes it       14   side effects. The FDA is worried with safety here,
   15   change the label to say, except not for low back           15   right.
   16   pain, chronic low back pain?                               16          MR. SAMSON: Right.
   17          MR. DAVISON: Objection to form.                     17          THE WITNESS: So they wanted to make sure
   18          THE WITNESS: So, Mark, anybody can do a             18   that the patients being exposed to this drug had some
   19   study on anything they want and hopefully get it           19   level of tolerance, because it's a potent drug. So
   20   published. We can't be dancing around for every            20   that tolerance is like an insurance policy, that
   21   publication that comes out.                                21   you're not going to get a hyper reaction by the
   22          So we did the studies to approve Exalgo that        22   patient. So we did the data dive. It was very
   23   the FDA required us to do. We met the standard of          23   expensive. We can't do it across the whole country.
   24   performance in terms of statistical significance to        24   BY MR. SAMSON:
   25   get the product approved. And I don't really recall        25          Q. And the --

   Golkow Litigation Services                                                              Page 30 (114 - 117)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further31Confidentiality
                                                       of 99. PageID #: 240323
                                                                           Review
                                                      Page 118                                                        Page 120
    1          A. And it showed that --                           1   BY MR. SAMSON:
    2          Q. I'm sorry.                                      2          Q. No?
    3          A. -- it was moderately -- you know, not           3          A. The second one is not opioid
    4   a hundred percent, obviously, but mostly it was being     4   tolerant. If you're on opioids and then you're off
    5   used in the right way.                                    5   them for a fair amount of time, they wash out of your
    6          Q. Where was that study done?                      6   system, and you lose the tolerance, and then you have
    7          A. I don't recall. I don't recall. But             7   to re-establish tolerance. That would be the proper
    8   it was somewhere in the east part of the                  8   way of looking at it.
    9   United States. That's what I remember.                    9          Q. Okay.
   10          Q. And did that study have a name that            10          A. If you're opioid tolerant last year,
   11   we can search through the multitude of documents?        11   it's not helping you this year.
   12          A. Oh, I don't recall. I don't recall.            12          Q. And did your study ensure that opioid
   13          Q. In terms of the FDA approval test, do          13   tolerance was following that more restrictive
   14   you recall that one of the two studies was               14   definition?
   15   bunionectomy?                                            15          MR. DAVISON: Objection to form.
   16          MR. DAVISON: Objection to form.                   16          THE WITNESS: It was largely reassuring.
   17          THE WITNESS: I don't recall that, no.             17   The results were largely reassuring that the message
   18   BY MR. SAMSON:                                           18   was getting across.
   19          Q. How much do you think bunionectomy             19   BY MR. SAMSON:
   20   predicts about effective pain relief in another          20          Q. So back to, if you get reports from
   21   condition other than bone surgery?                       21   the outside medical literature that opioid A or B or
   22          MR. DAVISON: Objection to form.                   22   C does not appear to be very effective against a
   23          THE WITNESS: I can't comment on that. I'm         23   certain type of pain, is it your testimony that
   24   not a health-care professional. But I can tell you       24   Medical Affairs at Mallinckrodt would not do anything
   25   it's a standard study requested by the FDA in            25   in response to that?

                                                     Page 119                                                         Page 121
    1   multiple drugs over multiple years.                       1         MR. DAVISON: Objection to form.
    2         So bunionectomy is one of their go-to               2         THE WITNESS: So I am not the person in
    3   studies. But I don't know how comparable it is or         3   Medical Affairs at Mallinckrodt who would be making
    4   how incomparable it is. All I know is we got an           4   such a decision. It would be our Pharm.Ds and our
    5   approved indication from the FDA. I'm not going to        5   physicians, like on that chart, Eddie Darton and Herb
    6   go to school on what the FDA is telling me. I'm           6   Neuman. Those would be the people who are doing it.
    7   going to believe them. I have got a lot of work to        7   Not me. And I will just follow what they tell me.
    8   do before I challenge the FDA.                            8   BY MR. SAMSON:
    9   BY MR. SAMSON:                                            9         Q. And do you believe, based on your
   10         Q. And opioid tolerant is the -- is the            10   devotion to ensuring the best possible use of opioids
   11   other side of that opioid naive?                         11   in the pain space, that they would take notice of
   12         A. It is.                                          12   that and deal with it in some way?
   13         Q. And did your deep dive study look at            13         A. I believe they would.
   14   whether or not in the use that was under the study,      14         MR. DAVISON: Objection to form.
   15   the tolerance that you found or the physician wrote,     15         THE WITNESS: I believe they would, based --
   16   was a true second line? Like they have had opioid A      16   BY MR. SAMSON:
   17   for this pain that they are here to see me about         17         Q. Because that --
   18   today, or it isn't -- they had some opioid remotely      18         A. -- on my interaction with them and my
   19   in the past and had no problem with it?                  19   confidence in their high standards of performance and
   20         MR. DAVISON: Objection.                            20   ethical behavior, that they absolutely would.
   21   BY MR. SAMSON:                                           21         Q. And because you personally believe
   22         Q. Either of those would show up as                22   the more question there is about its effectiveness,
   23   opioid tolerant; correct?                                23   the less risk there has to be to make it a reasonable
   24         MR. DAVISON: Objection to form.                    24   decision to give that drug for that specific pain
   25         THE WITNESS: No.                                   25   type; true?

   Golkow Litigation Services                                                            Page 31 (118 - 121)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further32Confidentiality
                                                       of 99. PageID #: 240324
                                                                           Review
                                                        Page 122                                                      Page 124
    1         MR. DAVISON: Objection to form.                       1         Here's how I approach things in my
    2         THE WITNESS: I don't understand the                   2   responsibility when I was at Mallinckrodt. I have
    3   question. Say that again.                                   3   nothing to do with the efficacy of the drug. I can't
    4         MR. SAMSON: Sure.                                     4   change the efficacy. There's no program I can give a
    5         Q. All of pain medication, and                        5   physician, there's no tool I can give a physician to
    6   especially opioid provision, is based on a balancing        6   make X, Y, Z drug more effective.
    7   of the risk -- expected risk and the expected               7         But what I can do, I can give physicians
    8   benefit?                                                    8   tools and programs that can mitigate risk and prevent
    9         A. All drugs, but yes.                                9   harm. That's what my focus was on. I wasn't
   10         Q. Correct. And the opioid effect that               10   involved in any balance. I didn't care about the
   11   you're looking for in prescribing it is that it            11   balance. That's for them to judge. I cared about
   12   reduces the patient's pain; true?                          12   preventing harm.
   13         MR. DAVISON: Objection to form.                      13   BY MR. SAMSON:
   14         THE WITNESS: That's one of the things                14         Q. And to not question, but probably
   15   you're looking for, yeah. That's the primary thing         15   affirm your belief in the way you went about your
   16   you're looking for.                                        16   job, you have to agree with me on a general level,
   17   BY MR. SAMSON:                                             17   even though it wasn't your job, if the opioid is less
   18         Q. What else?                                        18   effective at reducing pain, the risk has got to go
   19         A. You're hoping -- you're hoping that               19   down to make the balance in balance; correct?
   20   the patient, you know, also can return to ambulation,      20         MR. DAVISON: Objection to form.
   21   can return to work, et cetera, et cetera. Yeah.            21   BY MR. SAMSON:
   22         Q. Those are simply secondary effects?               22         Q. In a -- in a sane world of
   23         A. Those are secondary.                              23   prescription?
   24         Q. Of the absence of pain?                           24         MR. DAVISON: Same objection.
   25         A. Correct.                                          25         THE WITNESS: In a theoretical construct
                                                       Page 123                                                     Page 125
    1         Q. Or decrease in pain?                               1   that you've outlined, of course. It would be true
    2         A. Correct.                                           2   for any drug.
    3         Q. So that's the benefit?                             3   BY MR. SAMSON:
    4         A. Right.                                             4          Q. I agree with you. And -- okay.
    5         Q. Of an opioid, a contemplated opioid                5          Back to some generics questions, and you may
    6   prescription; correct?                                      6   not know any answers.
    7         A. Correct. Correct.                                  7          Did you know, when you joined Covidien, that
    8         Q. And the risks -- you know a long line              8   Mallinckrodt sold both active pharmaceutical
    9   of them -- there's internal, you know, bad reactions,       9   agreements, the bulk materials to other
   10   not opioid tolerant, there's potential diversion,          10   manufacturers?
   11   there's overdose, there's depression of respiration,       11          A. I did -- I was aware of that, yeah.
   12   there's a long and healthy list of risks to any            12          Q. Did you ever have any duties in
   13   opioid prescription?                                       13   Medical Affairs about that part of the business?
   14         MR. DAVISON: Objection to form.                      14          A. The API business?
   15         THE WITNESS: Yes.                                    15          Q. Yes.
   16   BY MR. SAMSON:                                             16          A. No, I did not.
   17         Q. So if the effectiveness is criticized             17          Q. And Mallinckrodt also used some of
   18   and may be less, that's going to make it harder to be      18   the API that it made to manufacture generics?
   19   reasonable in prescribing the opioid because the           19          A. Right.
   20   risks aren't going to change? They are what they are       20          Q. And sold those; correct?
   21   for a given patient; true?                                 21          A. I believe so, yes.
   22         MR. DAVISON: Objection to form.                      22          Q. Okay. And do you know whether they
   23         THE WITNESS: So I understand what you're             23   sold them to other manufacturers or simply directly
   24   saying, Mark, but that's not how I approach things.        24   to -- through distributors to users?
   25   Okay.                                                      25          MR. DAVISON: Objection to form.

   Golkow Litigation Services                                                             Page 32 (122 - 125)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further33Confidentiality
                                                       of 99. PageID #: 240325
                                                                           Review
                                                      Page 126                                                      Page 128
    1          THE WITNESS: They sold them to other               1   applied to Florida pill mills and other sources, and
    2   manufacturers.                                            2   being driven up I-75 to the upper Midwest as well as
    3   BY MR. SAMSON:                                            3   to Appalachia?
    4          Q. Do you know whether they sold any               4         MR. DAVISON: Objection.
    5   through distribution centers --                           5         THE WITNESS: I am aware of pill mills, the
    6          MR. DAVISON: Objection to form.                    6   existence of pill mills, but I wasn't aware of the
    7   BY MR. SAMSON:                                            7   term Oxy Express.
    8          Q. -- for patient use?                             8   BY MR. SAMSON:
    9          MR. DAVISON: Sorry. Objection to form.             9         Q. Did anyone at Mallinckrodt, while you
   10          THE WITNESS: So you started talking about         10   were there, discuss especially Florida pill mills or
   11   API, and then you moved over to dosage form. So you      11   pill mills in general with you?
   12   want to know about the API?                              12         A. Absolutely.
   13   BY MR. SAMSON:                                           13         Q. Who?
   14          Q. No. Dosage.                                    14         A. Oh, let me think. Well, we -- in our
   15          A. Oh, dosage.                                    15   training of sales reps, we train them as part of the
   16          Q. The API, that's just obviously --              16   Medical Affairs portion of the training, we educated
   17   that's just going out in bulk powder and is going to     17   them on what to look for in terms of pill mills; to
   18   get made into whatever somebody else makes it into?      18   report those, and to stay away from those.
   19          A. Yes. And that was a business they              19         Q. Okay. And what were the indicia of
   20   had. So the Tylenol that you buy in the store, that      20   pill mills?
   21   API is Mallinckrodt's -- or acetaminophen.               21         A. Generally speaking, lines out the
   22          Q. They were, in fact, the world's                22   doors, license plates from various states in the
   23   largest manufacturer of it; correct?                     23   parking lot, doctor's office next to a pharmacy,
   24          A. As far as other API, I don't know.             24   patients going through one after another, bing, bing,
   25   As far as dosage form of finish product or               25   bing, bing, in short periods of time. High patient
                                                    Page 127                                                         Page 129
    1   semi-finish product, I don't know.                        1   flow, those types of things.
    2         Q. Okay. So you don't even know if                  2         Q. Okay. Did you at Medical Affairs
    3   Mallinckrodt distributed, sold to distributors for        3   follow up to see whether or not that instruction was
    4   ongoing sale to patients, generics, opioids?              4   put to use?
    5         A. No.                                              5         MR. DAVISON: Objection to form.
    6         MR. DAVISON: Objection to form.                     6         THE WITNESS: We received reports, yeah. We
    7   BY MR. SAMSON:                                            7   received such -- those reports.
    8         Q. When you joined Mallinckrodt, had you            8   BY MR. SAMSON:
    9   ever heard the term Oxy Express?                          9         Q. And did you receive both reports of
   10         A. No.                                             10   salespeople calling on pill mills and having to be
   11         Q. When did you first hear that term?              11   reinstructed, so to speak, that a place they were
   12         A. Right now. Today.                               12   going was a pill mill?
   13         Q. Okay. You have no idea what that                13         A. No.
   14   means?                                                   14         MR. DAVISON: Objection.
   15         A. I have an idea what it means, but I             15         THE WITNESS: We received reports of they
   16   don't know if it's accurate or not.                      16   walked up -- or walked in and walked out.
   17         Q. Okay. Tell me what you think it                 17   BY MR. SAMSON:
   18   means.                                                   18         Q. Ms. Cathy Jackson, who you remember,
   19         MR. DAVISON: Objection to form.                    19   maybe?
   20         THE WITNESS: What I have a picture in my           20         A. I don't, actually, but --
   21   mind of is, you know, a string, a linkage of people      21         Q. Okay.
   22   diverting and abusing drugs. That's the painting --      22         A. Yeah.
   23   the picture it paints to me.                             23         Q. -- told us --
   24   BY MR. SAMSON:                                           24         A. Our paths may have crossed. I don't
   25         Q. All right. And you never heard of it            25   know.

   Golkow Litigation Services                                                            Page 33 (126 - 129)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further34Confidentiality
                                                       of 99. PageID #: 240326
                                                                           Review
                                                        Page 130                                                           Page 132
    1          Q. -- told us last week that she thought             1         THE WITNESS: And that's why we created the
    2   the ability of Florida physicians to both prescribe         2   C.A.R.E.S. Alliance, to help try to solve that
    3   and dispense opioids was one reason why Florida was a       3   problem. Because my experience with the opioid,
    4   hotbed for diversion.                                       4   so-called opioid crisis, is it was another report,
    5          Did you even know about that?                        5   another report, and another report as to how many
    6          MR. DAVISON: Objection to form.                      6   people are dying. Not a report about what we are
    7          THE WITNESS: I know that the prescribing             7   going to do about it. That's what I wanted to
    8   and dispensing linkage, there was a big problem,            8   create. Do something about it.
    9   yeah. But I don't know about the legal -- legality          9   BY MR. SAMSON:
   10   of it.                                                     10         Q. It's fair to say, then, that what you
   11   BY MR. SAMSON:                                             11   picked up, both inside and outside Mallinckrodt
   12          Q. And I think you testified earlier                12   during your time on Medical Affairs, convinced you
   13   that you really didn't even know how Exalgo sales          13   that the effects of whatever was happening in the
   14   were going; is that --                                     14   opioid space were enough to require you to try and
   15          A. That's true.                                     15   develop a countermeasure against it?
   16          Q. -- correct?                                      16         MR. DAVISON: Objection to form.
   17          Okay. And didn't have any sense of how many         17         THE WITNESS: We have a massive problem. We
   18   Mallinckrodt generic oxy opioids were being sold in        18   have a massive problem that is taking place in this
   19   Florida or anywhere else?                                  19   country that's killing people. Yes. But sitting
   20          A. True.                                            20   here, and if it -- if the discussion, you know, in
   21          Q. True for the entire time you were                21   some company somewhere never goes further than that,
   22   there?                                                     22   we didn't do any good about it. Right? We just --
   23          A. Yeah.                                            23   another rearticulation of the problem.
   24          Q. Never any conversations with                     24         I was tired of rearticulating and
   25   Mr. Neuman, perhaps, or anyone else in Medical             25   complaining about a terrible problem without trying

                                                       Page 131                                                          Page 133
    1   Affairs about the opioid epidemic, whether your             1   to fix it. I was going to be the start, an alliance,
    2   guys's fault or other manufacturers' fault?                 2   of companies to work together to try to effect a
    3         MR. DAVISON: Objection to form.                       3   solution.
    4         THE WITNESS: So I wasn't focused on fault.            4   BY MR. SAMSON:
    5   I was focused on solutions and prevention, not on           5          Q. And Mallinckrodt supported it for
    6   fault. There's plenty of fault, you know, that              6   awhile; true?
    7   people like to spread around and blame. I'm focused         7          A. They supported it while I was there,
    8   on solutions.                                               8   yes.
    9         I'm not focused on why the -- who was                 9          Q. And yet you were only there a couple
   10   responsible for the cars crashing into one another.        10   of years?
   11   I want antilock brakes and seatbelts and driver            11          A. I can only do what I can do when I'm
   12   training.                                                  12   there with the support of my team, Herb Neuman, and
   13   BY MR. SAMSON:                                             13   the CEO, who supported it.
   14         Q. I understand that. But you're also                14          Q. He did support it?
   15   not living outside of this world, and in particular        15          A. He did. That's why we got the budget
   16   the United States, and you're working for a                16   that we got.
   17   pharmaceutical company. It doesn't seem possible           17          Q. And why did you leave?
   18   that you did not have discussions while you were at        18          A. Frankly, I had had enough of living
   19   Mallinckrodt, slash, Covidien with other people in         19   in St. Louis when I was supporting a home in
   20   Medical Affairs about the opioid epidemic?                 20   San Diego. And my wife, being in the Bay Area
   21         A. No, we discussed --                               21   helping with our daughter's childcare and
   22         MR. DAVISON: Objection to form.                      22   triangulate, you know, three households, I was
   23         THE WITNESS: We discussed the opioid -- the          23   frankly tired of it. And I hated St. Louis. So I
   24   problems that existed in society related to opioids.       24   wanted to get back to San Diego.
   25         MR. SAMSON: Okay.                                    25          So I figured -- I felt that I had made a big

   Golkow Litigation Services                                                               Page 34 (130 - 133)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further35Confidentiality
                                                       of 99. PageID #: 240327
                                                                           Review
                                                        Page 134                                                       Page 136
    1   impact. I had done what I could do. I got this              1   the event. But when the program was fully flushed
    2   program developed, launched, implemented. I had a           2   out, fully ready to go, ready to launch, that's when
    3   well-trained team that could carry on. So I figured         3   we added the C.A.R.E.S. Alliance. That was after the
    4   it was time. I'm not so young that I'm building my          4   REMS and the Exalgo, launch of Exalgo.
    5   career, you know.                                           5          Q. Okay. And that date, launch of
    6           Q. Okay.                                            6   Exalgo, 2010; if you recall?
    7           MR. DAVISON: Mark, we have been going a             7          A. I don't recall. I don't recall.
    8   little over an hour. It is time for a break.                8          Q. Okay. I think we may run into it.
    9           MR. SAMSON: Yes. Let's take a break.                9          A. Yeah. Yeah.
   10           THE VIDEOGRAPHER: We are going off the             10          Q. In a numbered form.
   11   record. The time is 12:14 p m.                             11          And when Exalgo launched in 2010, it was a
   12           (Recess taken.)                                    12   Covidien/Mallinckrodt-branded analgesic?
   13           THE VIDEOGRAPHER: We are back on the               13          A. Yes.
   14   record. The time is 12:30 p m.                             14          Q. And an opioid?
   15                  (Exhibit No. 6 was marked.)                 15          A. Yes.
   16   BY MR. SAMSON:                                             16          Q. Extended-release hydromorphone?
   17           Q. Mr. Morelli, you have in front of you           17          A. Yes.
   18   what has been marked as Exhibit 6, in which says that      18          Q. And was the OROS delivery system that
   19   it's a, "Sales Force Training REMS and Safe Use." Do       19   it was in, the way in which it became an extended
   20   you see that?                                              20   release instead of an immediate release?
   21           A. Yes, I do.                                      21          A. Yes.
   22           Q. And your name is down there, along              22          Q. And that was because the OROS system
   23   with a Mr. Holman. Does that indicate you were             23   created a hard shell capsule, not like a contact, but
   24   either the authors of this slide set or was going to       24   something that was difficult to bite through at
   25   speak from it whenever it was in use this day?             25   least; correct?

                                                      Page 135                                                         Page 137
    1           A. Yes. We were the authors of this                 1         MR. DAVISON: Objection to form.
    2   slide set, and Kevin reported to me. He was a member        2         THE WITNESS: Yes, there's some data to
    3   of my team.                                                 3   indicate it was quite hard to bite through.
    4           Q. Would this be a slide set and a                  4   BY MR. SAMSON:
    5   presentation that you gave only once, so that you           5         Q. And then what it would do is allow --
    6   might remember the time and date, or would this have        6   once it was swallowed and into the digestive tract,
    7   been given several times?                                   7   allow water to come in osmotically, which would then
    8           MR. DAVISON: Objection to form.                     8   expel the drug through a tiny laser-drilled hole
    9           THE WITNESS: So I would say this is -- as           9   through the shell?
   10   it is right now, it may have been something we gave        10         A. Yes.
   11   once or a couple times. But pieces of this were            11         Q. And some engineer figured out the
   12   given multiple times.                                      12   diameter so that that push of essentially IR,
   13   BY MR. SAMSON:                                             13   immediate release, immediate activity, hydromorphone
   14           Q. And as you were leafing through it,             14   would be bled out over a long time?
   15   you saw, as I did, there's a C.A.R.E.S. Alliance           15         A. Yes. It wasn't the pharmacokinetics
   16   portion near the end of it; correct?                       16   of the molecule, it was the release kinetics from the
   17           A. That's right.                                   17   capsule.
   18           Q. And can you recall a time when you              18         Q. Perfect. So all I need to ask you --
   19   gave the "Sales Force Training REMS and Safe Use,"         19   and I get the engineering explanation.
   20   and specifically added a C.A.R.E.S. Alliance piece to      20         So the REMS were part of -- which is risk,
   21   it for one reason or another?                              21   evaluation, and mitigation strategy?
   22           A. Yes.                                            22         A. Right.
   23           Q. When was that, and what was the                 23         Q. And at that point those were required
   24   event?                                                     24   for extended-release opioids, like Exalgo was going
   25           A. So when -- when -- I don't remember             25   to be, by the FDA?

   Golkow Litigation Services                                                              Page 35 (134 - 137)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further36Confidentiality
                                                       of 99. PageID #: 240328
                                                                           Review
                                                    Page 138                                                             Page 140
    1          A. Correct.                                          1   true. But I can tell you that was not any motivation
    2          Q. Immediate-release formations were not             2   of doing C.A.R.E.S. Alliance, was related to that
    3   forced to do REMS by the DEA or the FDA --                  3   whatsoever. That was not in my -- that was not in my
    4          A. It wouldn't be the DEA.                           4   pitch to Herb and, you know, the CEO and the CFO to
    5          Q. -- until 2015; do you know?                       5   get the money to do the program because, you know,
    6          A. I don't know the date, but it was                 6   we're going to lose scripts. That was not even in my
    7   later.                                                      7   thinking.
    8          Q. It was after you left?                            8          Q. Since you left sales long before
    9          A. It was.                                           9   that, that doesn't surprise me.
   10          Q. And then C.A.R.E.S. Alliance came out            10          What was the pitch --
   11   in the same general time frame as the launch of            11          MR. DAVISON: Objection.
   12   Exalgo?                                                    12   BY MR. SAMSON:
   13          A. Slightly thereafter, I believe. But              13          Q. -- for?
   14   I don't know. Very close, yeah.                            14          MR. DAVISON: Sorry. I apologize.
   15          Q. Okay. And was the C.A.R.E.S.                     15   BY MR. SAMSON:
   16   Alliance your baby, so to speak, from the initial          16          Q. What was the pitch to Herb -- and who
   17   concept, or was there a C.A.R.E.S. Alliance thought        17   was the CEO, Mr. Wright?
   18   process going on at Mallinckrodt, and then you came        18          A. No, he was not the CEO. It was --
   19   and brought it to fruition?                                19   his name was Matt Harbaugh, H-a-r-b-a-u-g-h.
   20          A. No.                                              20          So the pitch was, if you look at slide, in
   21          MR. DAVISON: Objection to form.                     21   essence -- these pages aren't numbered, but it's the
   22          THE WITNESS: It didn't exist until I                22   -847 MK number, that ends in -847.
   23   brought it to existence, yeah.                             23          Q. And what does it --
   24   BY MR. SAMSON:                                             24          A. It says, "A concern we all have."
   25          Q. Okay. And so you were basically the              25          Q. Okay.

                                                        Page 139                                                      Page 141
    1 one who came up with that strategic vision and then           1         A. "A responsibility we share and a
    2 did the tactical, as you earlier said, parts of               2   concern we all can champion."
    3 putting it together, I'm assuming with other aid --           3         Q. And that became a fairly frequent
    4 help from other people --                                     4   opening slide for C.A.R.E.S.?
    5         A. Absolutely.                                        5         A. It's part of the essence of
    6         Q. -- at Covidien?                                    6   C.A.R.E.S.
    7         A. Right.                                             7         Q. Okay. And let me find it.
    8         Q. And one of the things that I've seen               8         A. It's about the middle.
    9   in C.A.R.E.S. documents is that the increase in use         9         MS. GAFFNEY: They have the Bates number.
   10   of opioids and resulting abuse, addiction, and deaths      10         MR. SAMSON: I don't have them. That's the
   11   have led to a backlash against the use of                  11   real problem when you print them without it.
   12   prescription pain medicine and have adversely              12         THE WITNESS: You've got it.
   13   affected pain treatment for legitimate pain patients.      13         MR. SAMSON: There it is. Bingo.
   14         Was that a concept, in your understanding,           14         Q. So the concern that you were pitching
   15   why C.A.R.E.S. was something that needed to be done?       15   to Mr. Neuman and Mr. Harbaugh was what?
   16         A. A huge --                                         16         A. We have a -- there's a big problem
   17         MR. DAVISON: Objection to form.                      17   going on. We have a big problem going on in this
   18         THE WITNESS: -- hugely important concept.            18   country. Everybody needs to be aware of the problem,
   19   BY MR. SAMSON:                                             19   to understand what this problem is all about. That's
   20         Q. As a major manufacturer and seller                20   the concern.
   21   and even distributor of opioids, Mallinckrodt stood        21         Q. Okay.
   22   to lose sales as a result of a, quote, backlash            22         A. If you're not concerned about that,
   23   against the use of prescription pain medicine, end         23   you need to be.
   24   quote. Is that true?                                       24         Q. And that --
   25         A. I assume it could potentially be                  25         A. Then there was --

   Golkow Litigation Services                                                               Page 36 (138 - 141)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further37Confidentiality
                                                       of 99. PageID #: 240329
                                                                           Review
                                                    Page 142                                                          Page 144
    1         Q. What specific concern, the opioid use            1          Q. Okay.
    2   in the country?                                           2          A. -- in terms of the REMS. The
    3         A. Mainly deaths and addiction.                     3   Exalgo -- C.A.R.E.S. Alliance had nothing to do with
    4         Q. Okay.                                            4   Exalgo per se. But that was the REMS.
    5         A. The two most serious outcomes of what            5          Q. Okay. And there's attached to -- was
    6   can happen with opioids, if you don't do them right.      6   there a strategic commercial aspect to your
    7         Q. Okay. And then "A responsibility we              7   identification of the C.A.R.E.S. Alliance strategy
    8   all share." What was the responsibility?                  8   that you gave to Mr. Neuman and Mr. Harbaugh as well?
    9         A. Responsibility is that -- is at two              9          A. Yes, it is.
   10   levels. One, we have a responsibility for our            10          MR. DAVISON: Objection to form.
   11   products, to ensure that the physicians have             11   BY MR. SAMSON:
   12   everything they need to use them safely and              12          Q. Okay. And if you will turn to --
   13   appropriately. That's one level.                         13          A. It's the umbrella slide.
   14         The second responsibility, as a member of          14          Q. That's it?
   15   the industry who sells opioids, we have a                15          A. Yeah.
   16   responsibility to try to help others do the same         16          Q. Yeah.
   17   thing for their products.                                17          A. This is a strategic map, that's what
   18         Q. Okay.                                           18   this is, the slide.
   19         A. And then --                                     19          Q. And it's called, "The C.A.R.E.S.
   20         Q. Go ahead. And then what is, "The                20   Alliance" on top?
   21   cause that we all can champion"?                         21          A. That's correct. That's correct.
   22         A. The cause is to actually try to do              22          Q. And I take it, this is an Art Morelli
   23   something about it.                                      23   designed document?
   24         Q. And that was the steps you took to              24          A. Me and my team.
   25   establish the C.A.R.E.S. Alliance?                       25          Q. Okay. And where you -- if you see

                                                      Page 143                                                       Page 145
    1          A. Yes.                                            1   basically, as I'm reading this document, it is moving
    2          Q. And the materials in the C.A.R.E.S.             2   the company from "R," across to the right to "2B"?
    3   Alliance?                                                 3          A. Where we are to where we want to be.
    4          A. Right.                                          4          Q. That's what I was taking from it, but
    5          Q. And that was in connection, or at               5   I don't know if there was some other --
    6   least temporal connection, with the launch of Exalgo;     6          A. With respect to this particular
    7   correct?                                                  7   aspect of the business.
    8          A. Correct.                                        8          Q. Correct.
    9          MR. DAVISON: Objection.                            9          A. Yeah.
   10   BY MR. SAMSON:                                           10          Q. And this aspect of the business is
   11          Q. And did you believe that Exalgo, when          11   the opioid pain space?
   12   it was launched, was less susceptible to abuse due to    12          A. Correct.
   13   its ORO system than ordinary, for example, ER            13          Q. And we see Exalgo is in the first
   14   Oxycontin?                                               14   step, if -- if -- the arrows or arcs up above, on the
   15          A. I don't believe we had head-to-head            15   baseline of the big portion of the circle, are those
   16   kind of comparison data to indicate that. I think we     16   meant to be steps? The --
   17   had -- what I believe we did, as I remember, we just     17          A. So the big arc is kind of the overall
   18   went forward with the assumption that it could be        18   strategy.
   19   abused, and operated on that assumption. In other        19          Q. Correct.
   20   words, plan for the worst, hope for the best.            20          A. The sub arcs are kind of the
   21          But we weren't going to mitigate what we          21   sequential steps in making the big leap. Because the
   22   were doing because we had a capsule that was kind of     22   big leap is too big to leap in one step. You have
   23   hard to chew. We weren't going to back off because,      23   got to break it into three steps. So that was the
   24   oh, it's hard to chew. No. We were going to do --        24   thinking there.
   25   play it straight --                                      25          Remember, this is a concept slide. This is

   Golkow Litigation Services                                                            Page 37 (142 - 145)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further38Confidentiality
                                                       of 99. PageID #: 240330
                                                                           Review
                                                       Page 146                                                      Page 148
    1   a concept slide. And the fact that there are               1         Q. -- abuse treatment --
    2   products listed underneath there is illustrative as        2         MR. DAVISON: Let him finish the question.
    3   to where our products -- because, remember, we have        3   BY MR. SAMSON:
    4   to make sure our products are used safely, to the          4         Q. -- treatment place; right?
    5   degree we can, how they fit against the strategy.          5         MR. DAVISON: Objection to form.
    6         Q. Do you believe that you took this                 6         THE WITNESS: Right.
    7   slide or an earlier version of it with or without          7   BY MR. SAMSON:
    8   C.A.R.E.S. Alliance language to your pitch of              8         Q. And then back to your old land of
    9   Mr. Neuman and Mr. Harbaugh?                               9   imaging. That was going to try and build the brand;
   10         A. I think it was an earlier version.               10   right?
   11   It may have been an earlier version.                      11         A. Right. That was -- I just included
   12         Q. Certainly the concept --                         12   the products there to show applicability across the
   13         A. The concept, yes.                                13   product range. If we were known for this ability,
   14         Q. -- would have been part of your pitch            14   you know.
   15   to them?                                                  15         Q. Okay. And then the one that Exalgo
   16         A. Right.                                           16   is completely -- or most visually related to is the
   17         Q. Correct?                                         17   arc of demonstrating REMS excellence?
   18         A. Right.                                           18         A. Correct.
   19         Q. And so where we are -- I mean, the               19         Q. And that was something you were
   20   two -- I don't know what OTCF -- or OTFC means,           20   already about, because you were working with the
   21   over -- if the "C" was removed, it would be               21   Exalgo REMS?
   22   over-the-counter something.                               22         A. Correct.
   23         A. I don't recall. I don't recall.                  23         Q. And then what is -- is the "highly
   24         Q. But Exalgo we certainly see?                     24   compliant," are those prescribers, or what?
   25         A. Right.                                           25         A. No. That's a company.
                                                     Page 147                                                           Page 149
    1          Q. And then I meant -- I recognize Ruby,            1          Q. Okay. So that's you?
    2   Zircon?                                                    2          A. Company attribute that we wanted to
    3          A. Those are R&D products.                          3   be recognized for. And we would get there by
    4          Q. Exactly. Those were in reasonable                4   demonstrating excellence with REMS.
    5   doubt still?                                               5          Q. Okay.
    6          A. But opioids.                                     6          A. That was the thinking there.
    7          Q. Yes. And then PENNSAID was                       7          Q. And then PENNSAID, methadone, imaging
    8   intravenous acetomorphine?                                 8   and Fentanyl Patch are in the next narrow rectangle.
    9          A. No. PENNSAID was a topical                       9   And under that arc is, "Develop and launch C.A.R.E.S.
   10   nonsteroidal for knee pain. Knee pain.                    10   Alliance," which I'm not sure I see a lot of
   11          Q. Okay. Methadone was existing as a               11   connection between launching C.A.R.E.S. Alliance with
   12   generic --                                                12   imaging, say.
   13          A. A generic, yeah.                                13          MR. DAVISON: Objection to form.
   14          Q. -- for Mallinckrodt; correct?                   14          THE WITNESS: It was just a way to -- it
   15          A. Right. But not -- not an analgesic.             15   probably really doesn't fit that much. It's just a
   16   It was addiction maintenance, methadone.                  16   way to try to create the idea that this was a broad,
   17          Q. But methadone --                                17   inclusive kind of effort that could apply to various
   18          A. It's the same methadone.                        18   product lines, if we were recognized as a company
   19          Q. But methadone itself has analgesic --           19   that's doing the right thing.
   20          A. Oh, yeah.                                       20   BY MR. SAMSON:
   21          Q. -- properties?                                  21          Q. Okay. And the arc in that is,
   22          A. Absolutely.                                     22   "Develop and launch C.A.R.E.S. Alliance"; correct?
   23          Q. But you guys were selling it more for           23          A. Right.
   24   its --                                                    24          Q. Which is devoting resources to
   25          A. Abuse --                                        25   getting a really accurate message about opioids

   Golkow Litigation Services                                                             Page 38 (146 - 149)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further39Confidentiality
                                                       of 99. PageID #: 240331
                                                                           Review
                                                        Page 150                                                       Page 152
    1   across to everybody in the chain, other                     1   be, then it would be recognized first as a leader in
    2   manufacturers, prescribing physicians, hospital             2   the science of safety?
    3   groups that might be involved in the use of opioids,        3         A. Right.
    4   and patients and their caregivers, like individual          4         Q. And as you pointed out earlier, the
    5   caregivers at home, not -- not prescribers?                 5   science of safety principles have existed at least
    6         MR. DAVISON: Objection to form.                       6   since nuclear reactors were developed. This would be
    7         THE WITNESS: Ultimately, yes. But it takes            7   a leader in the science of prescription safety; is
    8   a while to get there.                                       8   that a fair addition?
    9   BY MR. SAMSON:                                              9         A. Yes.
   10         Q. Okay. Well, I take it that with your              10         Q. And that --
   11   wisdom in industry, you didn't pitch them at a             11         A. Mainly opioid. Yeah.
   12   meeting and tell them we're going to have this in two      12         Q. And that would lead to better patient
   13   months?                                                    13   outcomes; correct?
   14         A. No.                                               14         A. Right.
   15         Q. Okay. So that's that step. And then               15         Q. And that would lead to Mallinckrodt
   16   that gets to be -- is this a recognition of status of      16   being recognized as a leader in pain?
   17   Mallinckrodt in the -- in the strategy to be               17         A. Right.
   18   recognized as trailblazers, by that end of that            18         Q. And that would -- strike that.
   19   second arc?                                                19         Did you tell leadership that would be a good
   20         A. Right.                                            20   position financially and otherwise for us to achieve?
   21         Q. Okay. And then "Partner and                       21         A. That would be a good position for us
   22   Publish," that is to get outsiders within the space,       22   to achieve in light of the massive problem that
   23   either prescribers, researchers, et cetera, to             23   exists in society. Someone -- it was the problem, my
   24   publish favorably about Mallinckrodt --                    24   analysis, my belief at the time, the problem was
   25         A. No. No.                                           25   screaming for leadership. And the FDA needed a

                                                       Page 151                                                       Page 153
    1         MR. DAVISON: Objection.                               1   friend.
    2   BY MR. SAMSON:                                              2         Because we were going to be that friend, and
    3         Q. What is it?                                        3   we were going to be that leader. That was my vision.
    4         A. That was to publish mainly the                     4         Q. And if, in fact, all that came true,
    5   results of our programs, if there were a publication        5   you would be a -- a respected and, in quotes, good
    6   here that is a scientific document to show that they        6   member of big pharma?
    7   are achieving what we intended them to achieve.             7         A. I think so.
    8         Q. Okay.                                              8         Q. Okay. I mean, that's -- that's what
    9         A. And "partner" would be partner with                9   the goal was?
   10   other outside groups outside of Mallinckrodt on some       10         A. Absolutely.
   11   of these initiatives.                                      11         Q. That would be a marketing -- huge
   12         Q. Of these other pharmaceutical houses?             12   marketing plus?
   13         A. It could be anybody. It could be a                13         A. Right.
   14   pharmaceutical company. It could be a pain society.        14         MR. DAVISON: Objection to form.
   15   It could be anything like that.                            15         THE WITNESS: I'd say a huge plus. A plus.
   16         Q. And then Ruby, Zercon, et cetera, are             16   Don't confine it to marketing. It's a huge plus.
   17   put there in that little box, I'm assuming, because        17   BY MR. SAMSON:
   18   they were a ways away?                                     18         Q. It would be --
   19         A. They were a ways away, yeah.                      19         A. It would cascade across the
   20         Q. And so they would be hopefully                    20   organization, yeah.
   21   profiting by all these things when they were ready to      21         Q. Okay. And it certainly wouldn't do
   22   come out?                                                  22   any harm for marketing if one occupied that position?
   23         A. Right.                                            23         A. It shouldn't.
   24         Q. And then if the strategic plan was                24         MR. DAVISON: Objection to form.
   25   realized and Mallinckrodt got to where it wanted to        25   ///

   Golkow Litigation Services                                                              Page 39 (150 - 153)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further40Confidentiality
                                                       of 99. PageID #: 240332
                                                                           Review
                                                       Page 154                                                        Page 156
    1   BY MR. SAMSON:                                             1   thing.
    2          Q. And this plan, from what you've said             2          So we had a lot of support in word and
    3   before, seems not to include directly generics?            3   spirit, but not much support financially, which --
    4          A. Right. Remember, the C.A.R.E.S.                  4   you know how it goes.
    5   Alliance is not a product program. I was putting           5   BY MR. SAMSON:
    6   this lower line there to show how it would be              6          Q. And did you reach out to outfits like
    7   applicable -- of where its applicability would be          7   the American Academy of Pain Management?
    8   just in reference to our products, but in reference        8          A. We did, yeah.
    9   to other products, too. Because it's the principles        9          Q. That was someone who you pitched on
   10   that are important, not the products.                     10   membership?
   11          But this was a general presentation. So            11          A. Right.
   12   this is an illustrative overview of what we're going      12          Q. Were they one of the ones who weren't
   13   to try to do and where it is potentially applicable.      13   willing to -- I mean, I can't imagine that this
   14          Q. Okay. Let me ask you to turn back               14   wasn't in step with their ideas; right?
   15   now to the "Sales Force Training in REMS and Safe         15          A. We had some discussion.
   16   Use."                                                     16          MR. DAVISON: Objection to form.
   17          A. Okay.                                           17          THE WITNESS: We had some discussions with
   18          Q. And let me ask a couple of questions.           18   them, and they were supportive of what we were trying
   19   I missed my little notes here.                            19   to accomplish. But they are an organization that
   20          A. Okay.                                           20   needs to raise money, too, through their memberships
   21          Q. As we talked about earlier, the                 21   and their various activities. So they are not really
   22   C.A.R.E.S. Alliance part of the strategy was launched     22   in a position to be able to give some of that money
   23   at Pain Week of 2010?                                     23   away.
   24          A. Right.                                          24          But we had a good working relationship.
   25          Q. Were you there?                                 25   Phil Saigh, who was the executive director of the

                                                      Page 155                                                      Page 157
    1          A. I was there.                                     1   APPM, and I had a good working relationship.
    2          Q. And Covidien owned the trademark and             2   Actually my ex-student. But he's a good guy. They
    3   basically the group; true?                                 3   are in Chicago.
    4          MR. DAVISON: Objection to form.                     4   BY MR. SAMSON:
    5   BY MR. SAMSON:                                             5         Q. And were they supported by
    6          Q. C.A.R.E.S. Alliance?                             6   Mallinckrodt financially?
    7          A. Yes. Yes. Yes.                                   7         A. I don't know.
    8          Q. Was that your idea to have it be a               8         Q. Okay. All of the taking -- you said
    9   Covidien owned for use in the strategic plan?              9   that sometimes, like a management meeting or
   10          A. At the beginning, yes. But not                  10   orthopedic meeting convention, Mallinckrodt would
   11   ultimately. I was hoping it would involve others,         11   take a large booth, and then would have a small
   12   also.                                                     12   booth, or a portion of the booth put over to your
   13          Q. Okay.                                           13   uses for C.A.R.E.S. Alliance?
   14          A. Yeah.                                           14         A. Right. With a curtain -- the curtain
   15          Q. And then were there members of                  15   separator, and it would be Medical Affairs portion of
   16   C.A.R.E.S., since it's called an alliance? Or what        16   that small booth, and then a patient and product
   17   did you, Art Morelli, call them?                          17   safety portion of that small booth.
   18          MR. DAVISON: Objection to form.                    18         Q. And when Mallinckrodt purchases such
   19          THE WITNESS: The goal was to get members,          19   convention space, that's financial support for
   20   other members besides -- besides -- besides               20   whatever the organization is --
   21   Mallinckrodt, other members. While I was there, we        21         A. It is.
   22   didn't. We talked about people-to-people                  22         Q. -- putting it out?
   23   organizations about being a member, and endorsing         23         A. It is.
   24   this, and endorsing that. But to become a -- you          24         MR. DAVISON: Objection to form.
   25   know, to help support it financially is another           25   ///

   Golkow Litigation Services                                                             Page 40 (154 - 157)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further41Confidentiality
                                                       of 99. PageID #: 240333
                                                                           Review
                                                     Page 158                                                       Page 160
    1   BY MR. SAMSON:                                             1          Q. While you were there?
    2         Q. Any others who you require                        2          A. Yeah.
    3   pitching -- or require -- remember pitching about          3          Q. Let's turn back to Exhibit 6.
    4   C.A.R.E.S. Alliance, other than the AAPM?                  4          A. Okay.
    5         A. Pitching, not specifically. But I                 5          Q. And I'm going to apologize ahead of
    6   remember presentations to other entities about what        6   time. But if you will look, there's a car --
    7   we were doing to inform them about what we were            7          A. Oh, yeah, the car slide.
    8   doing, and one of those was the FDA.                       8          Q. Yeah.
    9         Q. I take it, the FDA did not offer to               9          A. Okay.
   10   buy a membership?                                         10          Q. You gave this presentation at least
   11         MR. DAVISON: Objection.                             11   once?
   12         THE WITNESS: They did not.                          12          A. I created this slide, and I gave this
   13   BY MR. SAMSON:                                            13   presentation.
   14         Q. Anyone else who you recall making a              14          Q. Okay. I don't quite understand it.
   15   presentation to -- the FDA one was not to induce          15          A. Most people don't.
   16   interest in joining the Alliance?                         16          Q. Okay. Can you give me the -- what
   17         A. No.                                              17   you would have said, if I was sitting in an audience
   18         Q. Anyone else who the interest was                 18   at -- getting sales force training for REMS and safe
   19   getting them interested in joining the Alliance?          19   use.
   20         A. I don't recall any others, no.                   20          MR. DAVISON: Objection to form.
   21         Q. So the American Academy of Pain                  21          THE WITNESS: So this is a concept slide
   22   Management, would you say it's a fair description,        22   intended to reinforce to our sales force and
   23   that being an organization that was focused on            23   marketing people why it is so important that their
   24   keeping opioids available for patients with pain?         24   physicians be fully trained on the safe use of
   25         MR. DAVISON: Objection to form.                     25   Exalgo. So I was trying to create something that
                                                       Page 159                                                       Page 161
    1         THE WITNESS: No, not at all.                         1   related to what they did in their daily lives.
    2   BY MR. SAMSON:                                             2          So I broke it into three levels. A Honda, a
    3         Q. Okay. What is wrong with that?                    3   Corvette, and a Ferrari. Most people relate to cars.
    4         A. I think they were focused on best                 4   Right. Because I know everyone in that audience
    5   practices in pain management.                              5   drove a car.
    6         Q. Okay. And that was Dr. Webster's                  6          So it -- the story went like this: How many
    7   outfit?                                                    7   people in the audience have a driver's license? All
    8         A. Not his outfit, no. He was an                     8   the hands went up.
    9   officer in it.                                             9          How many people feel comfortable driving a
   10         Q. A member?                                        10   Honda? All the hands went up.
   11         A. For awhile. That was a rotating kind             11          You need a lot of specialized training to
   12   of thing. Other physicians rotate through that            12   drive a Honda beyond just being a licensed driver?
   13   position. But, yes, he was involved with the AAPM,        13   No.
   14   as were other physicians that we worked with.             14          Okay. What if you were driving a Corvette,
   15         Q. And do you believe that the AAPM was             15   that's a high-powered performance car. Don't you
   16   generally oriented against stricter regulations or        16   think it would be a good idea if you had a little
   17   restrictions on opioid use for chronic pain?              17   more advanced training if you're driving a Corvette
   18         MR. DAVISON: Objection to form.                     18   around? Everyone said, yeah, yeah, I would probably
   19         THE WITNESS: I have no idea what their              19   need a little training. Sure.
   20   political or legislative, you know, plans were.           20          So then what if you were driving a
   21   BY MR. SAMSON:                                            21   top-of-the-line Ferrari, and you wanted to fully
   22         Q. Okay. But AAPM, nor anyone else,                 22   exploit the performability of that car, you're going
   23   ever gave any money to support the goals and work of      23   to need some training, some serious training, or you
   24   C.A.R.E.S. other than Mallinckrodt?                       24   will probably kill yourself.
   25         A. To the best of my knowledge, yes.                25          So the analogy here is, APAP, opioid combo

   Golkow Litigation Services                                                             Page 41 (158 - 161)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further42Confidentiality
                                                       of 99. PageID #: 240334
                                                                           Review
                                                       Page 162                                                     Page 164
    1 products are the Hondas of the pain world, in terms          1         THE WITNESS: It is. It's a Vicodin-like
    2 of complexity of use. They still have a lot of               2   product, yeah.
    3 problems associated with them. Your Honda -- you can         3   BY MR. SAMSON:
    4 still kill yourself in a Honda, but most people know         4         Q. And then Opana and Oxycontin were
    5 how to use those drugs.                                      5   both -- Oxycontin, by the time you were giving this
    6         So if you go in to start to train doctors on         6   presentation, was mostly in extended release,
    7   how to use those products, you're not going to get         7   although still available in immediate release?
    8   anywhere because they already know how to use them,        8         A. Right. And no -- no nonopioid
    9   more or less.                                              9   component to it. That's very critical, actually.
   10   BY MR. SAMSON:                                            10         Q. Okay. And Opana, what molecule is
   11         Q. Can I interrupt for a second?                    11   that?
   12         A. Sure.                                            12         A. Oxymorphone.
   13         Q. Having been in the pharma business,              13         Q. And Exalgo was hydromorphone?
   14   don't you think that it's more accurate that the          14         A. Hydromorphone.
   15   doctors think they know how to use them more or less,     15         Q. And Opana, extended release?
   16   because they have been using them for years and they      16         A. Yes.
   17   have their own opinions on them?                          17         Q. Okay. So why -- what's the step up?
   18         A. I think that would be --                         18   You were talking about risk and need for more
   19         MR. DAVISON: Objection to form.                     19   training from the immediate release APAP combo to
   20         THE WITNESS: -- accurate. Doctors think             20   Opana/Oxycontin?
   21   they know everything. But to try to get their             21         MR. DAVISON: Objection to form.
   22   attention on something they are really confident,         22   BY MR. SAMSON:
   23   they use every day, and they are not getting a lot of     23         Q. Extended release?
   24   problems that they can see, it's going to be              24         A. It's more opioid. It's used for a
   25   difficult. I don't think impossible. And I wouldn't       25   longer period of time. All those factors increase
                                                       Page 163                                                   Page 165
    1 say they couldn't benefit from some additional, you          1   risk and potential harm to patients.
    2 know, updating. Absolutely. But for the purposes of          2          Q. Okay. And then on the risk side,
    3 this one, I was trying to create a continuum.                3   Opana was -- had risk deterrent features, not to the
    4          So, you know, you have long-acting opioids,         4   FDA's level of allowing it to be abuse deterrent,
    5   Opana, Oxycontin, Oxycontin, et cetera. Those are          5   resistant labeling; true?
    6   more -- those are more high-performance products with      6          MR. DAVISON: Objection to form.
    7   more risk. You can kill yourself easier, like in a         7   BY MR. SAMSON:
    8   Corvette. So you need to know how to use these             8          Q. But it had some built-in attempts to
    9   things. You just don't throw 'em out there and             9   reduce risk from it; am I right?
   10   prescribe 'em. You need more diligence.                   10          MR. DAVISON: Objection to form.
   11          And then we have Exalgo, which is a                11          THE WITNESS: I believe you're right.
   12   brand-new product that no one has ever used before.       12   BY MR. SAMSON:
   13   It's a single entity opioid that's really potent,         13          Q. Okay. And certainly Exalgo did;
   14   more potent than these, Opana and oxy. So you             14   correct?
   15   need more specialized training so that you don't run      15          A. No. Not according to the FDA, no.
   16   off the road at 150 miles an hour.                        16          Q. And, in fact, they never did
   17          That was the analogy I was trying to create.       17   approve -- is it ADF or ADR labeling?
   18   Because what I was trying to do was get buy-in from       18          A. ADF.
   19   everybody of why we need to go beyond -- above and        19          Q. ADF?
   20   beyond the call of duty on the Exalgo REMS.               20          A. Yeah.
   21   BY MR. SAMSON:                                            21          Q. You never got to that; correct?
   22          Q. Okay. Why is it -- the APAP combos,             22          A. Not while I was there, no.
   23   are those -- whatever the opioid is involved, is that     23          Q. So higher risk, more training; lower
   24   an immediate release, in your diagraming here?            24   risk, less training for sales --
   25          MR. DAVISON: Objection to form.                    25          A. So there's a risk.

   Golkow Litigation Services                                                            Page 42 (162 - 165)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further43Confidentiality
                                                       of 99. PageID #: 240335
                                                                           Review
                                                      Page 166                                                      Page 168
    1         MR. DAVISON: Objection to form.                     1         THE WITNESS: It was meant to create a
    2         THE WITNESS: There's a risk difference              2   measurable, call it a metric, that physicians had
    3   here. There's also a familiarity difference. So           3   read the REMS and understood the REMS and really
    4   drugs that physicians are very familiar with,             4   understood the risks inherent with the product.
    5   moderately familiar with, unfamiliar with.                5                  (Exhibit No. 7 was marked.)
    6         MR. SAMSON: Okay.                                   6   BY MR. SAMSON:
    7         MR. DAVISON: Mark, we have been going               7         Q. And let me ask you to turn to
    8   another 40 minutes. We're almost ready for lunch.         8   Exhibit 7, which is an email list -- or a couple of
    9         MR. SAMSON: Sure. Let's do it.                      9   e-mails back and forth, and then a longer list of
   10         THE VIDEOGRAPHER: Going off the record.            10   Ohio doctors.
   11   The time is 1:11 p.m.                                    11         A. Right.
   12         (Lunch recess taken at 1:11 p m.)                  12         Q. Have you had a chance to familiarize
   13                  --o0o--                                   13   yourself with that?
   14                                                            14         A. I remember this campaign. I don't
   15                                                            15   remember this email, but I remember this campaign,
   16                                                            16   yeah.
   17                                                            17         Q. Okay. And down at the bottom -- I
   18                                                            18   think it's -- is it Mr. Meyer or Ms. Meyer?
   19                                                            19         A. Jay Meyer is a man, yeah.
   20                                                            20         Q. Okay. Mr. Meyer says that he
   21                                                            21   promised you that he would get all the listed docs
   22                                                            22   EEIFs submitted?
   23                                                            23         A. Correct.
   24                                                            24         Q. And if you will look down under the
   25                                                            25   "All," is where he -- in the middle of the page.
                                                      Page 167                                                      Page 169
    1   AFTERNOON SESSION                           1:54 P.M.     1          A. Oh, yes. Yes.
    2                   --o0o--                                   2          Q. He had a lengthy conversation with
    3         THE VIDEOGRAPHER: We are back on the                3   Art, you; correct?
    4   record. The time is 1:54 p m.                             4          A. Correct.
    5   BY MR. SAMSON:                                            5          Q. And Preston, who is --
    6         Q. Hi, Mr. Morelli.                                 6          A. Preston -- Preston Walker, who worked
    7         A. Hello.                                           7   for me.
    8         Q. Remember all the stuff we talked                 8          Q. (Reading) As a result, I have
    9   about before the deposition, about how depositions go     9           guaranteed we will obtain a completed
   10   on? No changes; okay?                                    10           EEIF from all -- "all" in caps --
   11         A. Correct.                                        11           physicians listed with the exception
   12         Q. Good. REMS were required by the FDA             12           of Dr. Naum (end of reading).
   13   for Exalgo; true?                                        13          My first question is, do you have any memory
   14         A. True.                                           14   of why Dr. Naum would not be part of this seemingly
   15         Q. Were the EEIFs that you guys put                15   global program?
   16   together, the essential -- Exalgo essential              16          A. I have no idea.
   17   information forms --                                     17          MR. DAVISON: Objection to form.
   18         A. Right.                                          18   BY MR. SAMSON:
   19         Q. -- were those required by the FDA or            19          Q. Do you have any reason to remember
   20   was that a Mallinckrodt decision?                        20   how these listed physicians were selected?
   21         A. I believe it was required.                      21          A. Oh, yeah. These physicians were
   22         Q. Okay. And what were the EEIFs meant             22   physicians who were Exalgo prescribers but had not
   23   to do in terms of the FDA's program for REMS and         23   completed an EEIF.
   24   EEIFs?                                                   24          Q. Okay. And is the fact that they are
   25         MR. DAVISON: Objection to form.                    25   all in Ohio simply because that was Mr. Meyer's area?

   Golkow Litigation Services                                                            Page 43 (166 - 169)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further44Confidentiality
                                                       of 99. PageID #: 240336
                                                                           Review
                                                      Page 170                                                          Page 172
    1         A.   Yes.                                           1         MR. DAVISON: Objection.
    2         Q.   And then in his email to you, he               2   BY MR. SAMSON:
    3 says:                                                       3         Q. If you have any idea.
    4           (Reading) The following physicians are            4         A. It really depends. I don't know,
    5           speakers, so I am guessing you can                5   because I didn't deal with this. But even if I had,
    6           have the EEIF completed relatively                6   I wouldn't have remembered the number.
    7           quickly (end of reading).                         7         But it's -- it's -- there's certain
    8         And then a list of four physicians.                 8   guidelines of what -- you can't, you know, pay them
    9         MR. DAVISON: Objection to form.                     9   $100,000 to give a one-hour talk. I'm being very
   10         THE WITNESS: Okay.                                 10   exaggerating here. There's a fair market value kind
   11   BY MR. SAMSON:                                           11   of calculation.
   12         Q. And do you recall any of those four             12         There's various organizations, more so now
   13   listed physicians?                                       13   than then -- this is almost ten years ago -- that
   14         A. I do not.                                       14   require that the fees not be exorbitant, and in line
   15         Q. Okay. He says they are speakers. So             15   with other things that the doctor may be doing. So,
   16   why -- knowing how Covidien works, why would speakers    16   yeah.
   17   be expected by Mr. Meyer to be guessing that those       17         Q. And those recent restrictions, or the
   18   guys would complete their EEIFs relatively quickly?      18   ones that might have been in place, were those
   19         A. You would think so.                             19   industry guidelines put together, or were those FDA
   20         MR. DAVISON: Objection to form.                    20   or some other entity guidelines?
   21         THE WITNESS: You would think so.                   21         MR. DAVISON: Objection to form.
   22   BY MR. SAMSON:                                           22         THE WITNESS: Not FDA. Those were industry
   23         Q. Because?                                        23   and Covidien's guidelines, which may or may not --
   24         A. Well, they are speaking on the                  24   which likely are stricter than the industry
   25   product. So if they are speaking on the product,         25   guidelines. Because the industry guidelines are just

                                                     Page 171                                                         Page 173
    1   they have to do -- they should complete the basics        1 that, guidelines. Ours were firm lines, you know.
    2   regarding the product safety more than ever.              2 BY MR. SAMSON:
    3          Q. And any explanation that you recall             3        Q.    That essentially set limit of the
    4   for why these four doctors wouldn't do that?              4 price one could pay a speaker to talk about a
    5          MR. DAVISON: Objection to form.                    5 Covidien product at a meeting, based on probably how
    6          THE WITNESS: No. More than likely, it's            6 long it was, how long the presentation was?
    7   inertia.                                                  7         A. No.
    8   BY MR. SAMSON:                                            8         MR. DAVISON: Objection to form.
    9          Q. When they are listed as speakers, I             9         THE WITNESS: No. Based on a presentation.
   10   think you've told me that Medical Affairs didn't pay     10   They are all about the same length. Yeah.
   11   for speakers; correct?                                   11                (Exhibit No. 9 was marked.)
   12          A. Correct.                                       12   BY MR. SAMSON:
   13          MR. DAVISON: Objection.                           13         Q. Let's move to, out of order,
   14   BY MR. SAMSON:                                           14   Exhibit 9.
   15          Q. Were speakers compensated by                   15         A. Exhibit 9.
   16   Mallinckrodt out of some other budget?                   16         MR. DAVISON: Do we know the Bates number?
   17          MR. DAVISON: Objection to form.                   17   I am not sure which ones we have. Yeah, I don't have
   18          THE WITNESS: Yes.                                 18   that one.
   19   BY MR. SAMSON:                                           19         MR. MAEROWITZ: We have Exhibit 8 and 7.
   20          Q. And which department was that?                 20         MR. SAMSON: It would have been 6
   21          A. Commercial.                                    21   originally.
   22          Q. Okay. And do you have an idea of --            22         MS. GAFFNEY: Which document are you looking
   23   if I, as a speaker, go to a pain management meeting      23   at?
   24   and am there sponsored by Covidien, what would I get     24         MR. SAMSON: It's a one-pager.
   25   as a speaker?                                            25         Go off.

   Golkow Litigation Services                                                             Page 44 (170 - 173)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further45Confidentiality
                                                       of 99. PageID #: 240337
                                                                           Review
                                                    Page 174                                                        Page 176
    1         THE VIDEOGRAPHER: We are going off the                 1         A. Oh, absolutely. A physician can
    2   record. The time is 2:03 p.m.                                2   prescribe whenever they feel like it. But it may be
    3         (Discussion held off the record.)                      3   that the doctor has no intention. If a doctor has an
    4         THE VIDEOGRAPHER: We are back on the                   4   intention, read it, fill it out. Absolutely.
    5   record. The time is 2:04 p.m.                                5         Q. But you guys weren't even going to
    6   BY MR. SAMSON:                                               6   take them.
    7         Q. All right. Mr. Morelli, this one is                 7         A. Well, we took them. It's just that
    8   another one about -- the "Re" line is EEIFs; correct?        8   we're -- they are not going to count in the tally
    9         A. Right.                                              9   that the FDA is interested in, which is our
   10         Q. And then you're the person at the top              10   prescribers.
   11   responding to the email at the bottom; correct?             11         So if we had -- if we have a thousand
   12         A. Correct.                                           12   prescribers, and we have 800 completed EEIFs, that
   13         Q. And you wrote:                                     13   will make them happy. But a thousand would be
   14           (Reading) That's correct. If they                   14   better. But if we have 800 out of a thousand -- and,
   15           have not written a script, we don't                 15   oh, we have 500 other doctors who are not even
   16           need the EEIF. We already have                      16   involved with Exalgo, they are not going to be
   17           500-plus from non-Exalgo writers.                   17   impressed by that. They want us to do things
   18           They don't count (end of reading).                  18   according to the REMS.
   19         Did I read that correctly?                            19         Q. And so not counting didn't count
   20         A. You did.                                           20   against your, Mallinckrodt's, Exalgo percentage of
   21         Q. And Exalgo writers are people who                  21   prescribing doctors who had actually filled out an
   22   have written a prescription for Exalgo?                     22   EEIF?
   23         A. Correct.                                           23         A. Right.
   24         Q. Why -- I mean, the EEIFs are a safety              24         Q. And that was the only number that you
   25   tool; correct?                                              25   guys were concerned about?
                                                         Page 175                                                   Page 177
    1          A. For Exalgo.                                        1         A. But I'm like you, if a hundred other
    2          Q. And why do the nonprescribers reading              2   people want to read the safety information on Exalgo
    3   of the safety information about Exalgo not count?            3   and fill out the form, I'm okay with it. But it's
    4          MR. DAVISON: Objection to form.                       4   just not going to count against the metric, you know.
    5          THE WITNESS: It doesn't count because the             5         Q. But it does count to the general
    6   direction from the FDA was to obtain compliance with         6   safety awareness of the possible prescriber to have
    7   this -- with what's called an attestation that they          7   read the EEIF?
    8   read the material. If a physician has no intention           8         A. You could look at it that way, yeah.
    9   of reading the material, is not interested in the            9                 (Exhibit No. 8 was marked.)
   10   product, they have no reason to do the attestation.         10   BY MR. SAMSON:
   11          So physicians are very sensitive about               11         Q. This will be No. 8. I think you
   12   signing their names to things --                            12   already have it, Mr. Morelli.
   13   BY MR. SAMSON:                                              13         A. I do. I think I do. Yeah, this one.
   14          Q. Okay. But --                                      14         Q. Before we get to the details of
   15          A. -- and the reps want to get                       15   Exhibit 8, REMS and EEIM were thought by the FDA for
   16   signatures. So you have those things colliding.             16   extended release opiates to be -- in 2011 to be
   17          Q. Well -- and what I don't understand,              17   important safety tools?
   18   it's a safety tool; correct?                                18         MR. DAVISON: Objection to form.
   19          A. For Exalgo.                                       19         THE WITNESS: An important metric, amongst
   20          Q. For Exalgo?                                       20   other metrics, in terms of educating physicians on
   21          A. Yeah.                                             21   the risks.
   22          Q. And the fact that I haven't written a             22   BY MR. SAMSON:
   23   prescription to date doesn't really knock me out of         23         Q. And the -- the goal of educating
   24   consideration as writing a prescription for it in the       24   physicians on the risk is to increase the safety of
   25   future; correct?                                            25   the prescribers for whatever medications REMS and

   Golkow Litigation Services                                                              Page 45 (174 - 177)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further46Confidentiality
                                                       of 99. PageID #: 240338
                                                                           Review
                                                      Page 178                                                        Page 180
    1   EEIFs are involved; true?                                    1 to be necessary, we have to implement it.
    2         MR. DAVISON: Objection to form.                        2 BY MR. SAMSON:
    3         THE WITNESS: To increase the knowledge of              3        Q.    I understand. But in generics,
    4   the prescribers on safe use practices with respect to        4 especially -- except not all generics, but immediate
    5   Exalgo that we are recommending that they employ.            5 release --
    6   BY MR. SAMSON:                                               6           A. Right.
    7         Q. And the opposite of that, not reading               7           Q. -- they weren't required until 2018;
    8   a REMS, not filling out -- reading or filling out an         8   correct?
    9   EEIF, is prescription being written with less                9           A. Right.
   10   information?                                                10           MR. DAVISON: Objection to form.
   11         A. Exactly.                                           11           THE WITNESS: And even branded immediate
   12         MR. DAVISON: Objection.                               12   release were not required. Because the Agency's
   13   BY MR. SAMSON:                                              13   opinion was that they were less risky because they
   14         Q. And that's, in the way you view the                14   were older products, that doctors were more familiar
   15   world, I think, less safe than an informed prescriber       15   with the risks, and they had been using for years.
   16   writing a prescription of any of the opioids?               16   So it didn't happen till later, till they realized
   17         MR. DAVISON: Objection.                               17   it's all one big problem.
   18         THE WITNESS: Yes.                                     18   BY MR. SAMSON:
   19   BY MR. SAMSON:                                              19           Q. And there was nothing to stop
   20         Q. And was there -- was the FDA, did it               20   Mallinckrodt, if it realized quicker than the FDA
   21   ban REMS or EEIFs for generic immediate release --          21   that it's all one big problem, to add educational
   22         MR. DAVISON: Object.                                  22   materials concerning its immediate --
   23   BY MR. SAMSON:                                              23   immediate-release generic opioids?
   24         Q. -- opioids?                                        24           MR. DAVISON: Objection to form.
   25         MR. DAVISON: Objection to form.                       25           THE WITNESS: True. But we went even bigger

                                                         Page 179                                                     Page 181
    1          THE WITNESS: Did it ban?                              1 than that. That would have been a big step. We went
    2          MR. SAMSON: Yes.                                      2 way bigger than that. We did the C.A.R.E.S. Alliance
    3          THE WITNESS: No, not that I know. Why                 3 for all opioids, whether they were ours, generics,
    4   would they do that?                                          4 branded, whoever -- whomever, whatever, to enforce
    5   BY MR. SAMSON:                                               5 the principles, the principles of good pain
    6          Q. I mean, obviously, these are                       6 management, especially for chronic pain, and safe
    7   informational tools.                                         7 medication uses, and the concept of protecting
    8          A. Right.                                             8 patients from harm.
    9          Q. Which are good for any drug, whether               9        So we went bigger than that. That's why you
   10   it be a multiple sclerosis drug or an opioid; true?         10 got that big umbrella.
   11          A. Right. But they are generally not                 11 BY MR. SAMSON:
   12   interchangeable. They are product specific.                 12        Q.    And in going bigger, did you make
   13          Q. Oh, that -- I understand that. But                13 sure that physicians who were prescribing
   14   just in -- it's not just an opioid tool, it's a             14 Mallinckrodt immediate-release opioids took advantage
   15   wider-spread tool for any prescribed medication?            15 of those programs, or did you simply have it out
   16          A. It's -- it's an adaptable tool that               16 there available?
   17   could be adapted to any medication.                         17         MR. DAVISON: Objection to form.
   18          Q. And there wasn't any ban from the FDA             18         THE WITNESS: We had it out there available.
   19   on producing REMS or producing EEIFs on generic             19   And, quite frankly, we have no idea who's prescribing
   20   opioids in 2011; true?                                      20   the generics, because we don't -- we don't call on
   21          MR. DAVISON: Objection to form.                      21   them and detail doctors on generics and try and --
   22          THE WITNESS: So REMS is regulation. REMS             22   and inform them about the availability of generics
   23   is regulatory. So REMS are imposed or required.             23   that we produce.
   24   By "imposed or required," I mean mandated by the            24         That's not how generic works. It's done at
   25   agency at their discretion. And if they so deem that        25   the pharmacy. It's substituted at the pharmacy, no

   Golkow Litigation Services                                                               Page 46 (178 - 181)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further47Confidentiality
                                                       of 99. PageID #: 240339
                                                                           Review
                                                      Page 182                                                      Page 184
    1   matter what the doctor prescribes. So we don't            1   May 17th, 2011. So within a year or a month or so of
    2   really know who would be a prescriber or not a            2   when you joined Medical Affairs?
    3   prescriber. That was my state of the -- maybe they        3          A. Uh-huh.
    4   know now because they have better data now, but that      4          Q. And its subject line is, "Promo
    5   was my understanding of it.                               5   Speaker's Budget."
    6   BY MR. SAMSON:                                            6          A. Right.
    7          Q. And no one ever considered doing a              7          Q. What are promo speakers?
    8   mailing to specialties that were involved in opioids,     8          A. A speaker who gives promotional
    9   like anesthesia, pain management, et cetera, to           9   talks.
   10   inform them of similar information that you were         10          Q. And I'm going to end that sentence
   11   putting out for Exalgo through the REMS and the          11   with, for Covidien products; is that the correct
   12   EEIFs, for immediate-release generics that               12   ending or --
   13   Mallinckrodt sold?                                       13          A. No. No.
   14          MR. DAVISON: Objection to form.                   14          Q. -- not?
   15          THE WITNESS: We did a ton of                      15          MR. DAVISON: Objection.
   16   direct-to-physician and direct-to-pharmacy               16          THE WITNESS: Or Exalgo. Or PENNSAID,
   17   communications by mailing and by -- whatever they        17   actually.
   18   call it, fax, mass -- mass faxing on Exalgo. We went     18   BY MR. SAMSON:
   19   beyond what we had to do, as required there. Like we     19          Q. Either/or?
   20   did it multiple times. But we would have to send it      20          A. Yes.
   21   to every physician in the United States. That's over     21          Q. And forgive me if I am confused, but
   22   1.1 million DEA registrants.                             22   I thought promo speakers weren't out of Medical
   23   BY MR. SAMSON:                                           23   Affairs budget or --
   24          Q. My question isn't what you would have          24          A. They were not. But we had oversight.
   25   had to do. You would have known, with your position      25   We had Medical Affairs oversight on the budget as a

                                                     Page 183                                                     Page 185
    1   at Mallinckrodt, about in the REMS world, correct, if     1   check that there were not irregularities in who was
    2   Mallinckrodt was interested in increasing that            2   getting paid what.
    3   program to include prescribers of immediately             3         Q. Now, as I -- and then there's
    4   released generic opioids; true?                           4   attached a long list of people or entities more --
    5         MR. DAVISON: Objection to form.                     5   some entities, some individual names?
    6         THE WITNESS: If they were going to do               6         A. Correct.
    7   something, I would probably know about it, right.         7         Q. And if you look back to the last
    8   BY MR. SAMSON:                                            8   page, there's total invoices -- total invoices are
    9         Q. And you never --                                 9   $1,852,858, up at the very top left.
   10         A. I did not know about it. I did not              10         A. Yeah.
   11   know about it.                                           11         Q. And then invoices and accruals are
   12         Q. We're getting back to conversation,             12   $1,113,305?
   13   and I --                                                 13         A. Right.
   14         A. Okay.                                           14         Q. And then there's a Medical Affairs
   15         Q. And I enjoy it as much as you do, but           15   accrual, hyphen, Selva, April, of 144,000?
   16   we have to stay in the setting in which we find          16         A. Okay.
   17   ourselves.                                               17         Q. Do you remember any of those?
   18         You didn't know about it because nobody            18         A. No. But I remember the overall
   19   asked you for your input on that front; correct?         19   processes.
   20         MR. DAVISON: Objection to form.                    20         Q. And what was the budget that would go
   21         THE WITNESS: Not that I recall. They               21   to promotion -- promo speakers in a full fiscal year
   22   didn't ask for my input.                                 22   when were you there?
   23   BY MR. SAMSON:                                           23         A. I have no idea. I don't remember.
   24         Q. Exhibit 8 -- sorry to have gotten off           24         Q. Okay.
   25   track -- this is an email from Mr. Keith Huels,          25         A. Yeah.

   Golkow Litigation Services                                                           Page 47 (182 - 185)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further48Confidentiality
                                                       of 99. PageID #: 240340
                                                                           Review
                                                     Page 186                                                       Page 188
    1         Q. Let me go through -- ask you to go              1          MR. DAVISON: Objection to form.
    2   through -- do you remember who Selva Group was?          2          THE WITNESS: I -- I don't know.
    3         A. Selva was a -- I don't actually know.           3   BY MR. SAMSON:
    4   I remember the name, that's all.                         4          Q. Okay. Well, as far as Paragon Rx
    5         Q. Okay.                                           5   International, you've told me that those -- those
    6         A. They had to do with speakers, though.           6   amounts are probably them being paid to contribute to
    7         Q. Okay. Are some of these ones that               7   the REMS and the Rx risk assessment?
    8   appear again and again, like Selva, Advanced             8          A. Yeah. Yeah. I can guarantee that
    9   Health -- and I'm assuming ME went further out to --     9   that's the case.
   10         A. Yeah.                                          10          Q. Okay. And then if you look on the
   11         Q. -- in the title -- were these bureaus          11   next page, there's Schwartz MD?
   12   or --                                                   12          A. No, that -- I don't know what that
   13         A. I think they were bureaus. I think             13   is.
   14   they were bureaus or scheduling entities or             14          Q. Okay. And Rosenblum, Stuart?
   15   scheduling -- scheduling entities for the speakers.     15          A. I have no idea.
   16         Q. And Paragon Rx International?                  16          Q. And Guernelli -- Guernelli?
   17         A. Yeah, that was -- that was mine.               17          A. I don't know. Sorry.
   18   That was all under my budget.                           18          Q. And then the rest we have already
   19         Q. And what --                                    19   talked about.
   20         A. Paragon Rx, you were going to ask me?          20          A. Yeah.
   21   I'm sorry.                                              21          Q. And then the accrual balance, which
   22         Q. What are they? What is it?                     22   you're a better businessman than me, I'm assuming
   23         A. They're -- they're a consulting                23   these are amounts that the various listed entities
   24   company that I use for the Rx FMEA and other            24   have coming but haven't been paid yet?
   25   consulting on REMS.                                     25          A. Correct.

                                                   Page 187                                                  Page 189
    1         Q. And are they physicians or                      1         Q.   And do you recognize Reichman, Ronald
    2   nonphysicians or both?                                   2   P.?
    3         A. They are a mix of physicians,                   3         A. No.
    4   pharmacists, and Pharm.Ds, and civilians.                4         Q. How about Halley, Randall E.?
    5         Q. And they can supply you with                    5         A. I do.
    6   speakers --                                              6         Q. What was Halley, Randall E.?
    7         A. No, not speakers. Not speakers. The             7         A. He is a physician that conducted
    8   Rx FMEA and REMS -- REMS. They are a company that        8   clinical studies for us.
    9   specialized in REMS creation and REMS implementation.    9         Q. Clinical studies of Exalgo?
   10         Q. Why are they appearing on the promo            10         A. Yeah.
   11   speakers' budget lines, then?                           11         Q. And what kind of clinical studies?
   12         MR. DAVISON: Objection to form.                   12   Premarketing or post marketing?
   13         THE WITNESS: I don't think it's a -- I            13         A. I'm sorry. I'm going to have to
   14   think that's just a heading of the email. They had      14   correct my answer. I got him mixed up with another
   15   nothing to do with promo speakers, I can tell you       15   physician.
   16   that.                                                   16         He did not, to the best of my knowledge,
   17   BY MR. SAMSON:                                          17   conduct clinical studies. He was a -- I think he was
   18         Q. Okay. Did Selva Group have to do               18   a speaker, actually. Yeah.
   19   with promo speakers?                                    19         Q. Okay. And then Selva's, Victor Byrd?
   20         A. I believe they did, yeah.                      20         A. Don't know.
   21         Q. How about Advanced Health ME,                  21         Q. Sharon Idan -- or Idan, Sharon?
   22   whatever that's short for, do you recall --             22         A. Don't know.
   23         A. I don't recall them.                           23         Q. George Spyropoulos?
   24         Q. Okay. So they might have been promo            24         A. Don't know.
   25   speakers?                                               25         Q. David Medunick?

   Golkow Litigation Services                                                           Page 48 (186 - 189)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further49Confidentiality
                                                       of 99. PageID #: 240341
                                                                           Review
                                                  Page 190                                                        Page 192
    1         A. Don't know. Sorry.                             1         Q. Yes.
    2         Q. Any of the other personal names that           2         A. So you can't --
    3   follow there? Why don't you just -- to save us time,    3         MR. DAVISON: Objection to form.
    4   how about you scan the rest of the list --              4         THE WITNESS: You can't dose
    5         A. I'm scanning, yes.                             5   extended-release opioids on a p r n. basis. It's
    6         Q. -- and find any personal names --              6   contraindicated. You dose them once a day or twice a
    7         A. I'm scanning.                                  7   day. That's it.
    8         Q. -- that you recognize or business              8   BY MR. SAMSON:
    9   names, if we haven't already talked about them.         9         Q. And I was -- you and I are on the
   10         A. Right.                                        10   same page.
   11         Q. There's Randall Halley again.                 11         A. Yeah.
   12         A. No. The only name I recognize on              12         Q. On per need, the new regular dosing
   13   here is Randall Halley.                                13   pattern went over to extended release use of opioids;
   14         Q. And did you tell me what you thought          14   correct?
   15   his role was? I know you told --                       15         MR. DAVISON: Objection to form.
   16         A. I think he was a speaker. I think he          16         THE WITNESS: I don't understand what you
   17   was a speaker. That's what I think.                    17   mean, "the new regular dosing pattern."
   18         Q. For Exalgo or --                              18   BY MR. SAMSON:
   19         A. For Exalgo.                                   19         Q. Well, you --
   20         Q. Okay. Let me ask you something I              20         A. Extended release -- let's take Exalgo
   21   should have asked first.                               21   as the example, is dose once a day. That's the only
   22         You will see there's -- in the left-hand         22   way it can be dosed.
   23   column, there are PVs and OVs. Does that mean          23         Q. Correct.
   24   anything to you as an ex-Covidien?                     24         A. Yeah.
   25         A. OV means nothing.                             25         Q. And ER Oxycontin is dosed twice a

                                                  Page 191                                                      Page 193
    1         PV is generally an abbreviation for               1   day?
    2   pharmacovigilance. But it doesn't really fit in this    2          A. Right. Right.
    3   case. So I don't know what it means here.               3          Q. There was a time when no opioids were
    4         MR. SAMSON: 10, Sandy?                            4   dosed once or twice a day but, rather, when you have
    5         THE REPORTER: Yes, Exhibit 10.                    5   pain, ring your buzzer or tell me or take an
    6                 (Exhibit No. 10 was marked.)              6   immediate-release tablet; correct?
    7   BY MR. SAMSON:                                          7          A. Yes, but --
    8         Q. Mr. Morelli, I will tell you, just to          8          MR. DAVISON: Objection to form.
    9   orient you, this is a series of emails about an         9          THE WITNESS: -- none of those were
   10   expected release of a JAMA article on -- regarding     10   extended-release opioids that were ever dosed on a
   11   that opioid deaths are higher with higher dosing       11   p.r.n. basis.
   12   patterns.                                              12   BY MR. SAMSON:
   13         A. Okay.                                         13          Q. So this study was looking at what you
   14         (Witness reviewing document.)                    14   and I had agreed on earlier was that the amount of
   15         A. Okay.                                         15   opioid that patients received with regular dosing was
   16         Q. Do you recall this study coming out?          16   generally higher than they received in a milligram
   17         A. No.                                           17   equivalent, or whatever, from per need; true?
   18         Q. Okay. Earlier we talked about the             18          MR. DAVISON: Objection to form.
   19   old per-need dosing patterns.                          19          THE WITNESS: I -- I don't know. I don't
   20         A. p.r.n.                                        20   know. It could have been higher. It could have been
   21         Q. p.r.n., correct. And versus more              21   lower. It's based on patient need.
   22   regular dosing of, especially, extended-release        22          So Freddie gets his dose when Freddie
   23   opioids.                                               23   requests his dose as opposed to the doctor saying
   24         A. So do you want me to address what you         24   it's every four hours or every six hours.
   25   just said, or what?                                    25   ///

   Golkow Litigation Services                                                         Page 49 (190 - 193)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further50Confidentiality
                                                       of 99. PageID #: 240342
                                                                           Review
                                                    Page 194                                                       Page 196
    1 BY MR. SAMSON:                                             1         THE WITNESS: I don't know. I don't -- I
    2          Q. Well, how are you weighing in on what          2   don't see that.
    3   to do about this study if you didn't even read it?       3         I see a draft message from a communications
    4          MR. DAVISON: Objection to form.                   4   person to the field informing them that data is going
    5          THE WITNESS: Well, Nancy Stauder outlined         5   to be released in JAMA, and nothing more. And if
    6   what the study was generally about, just like you        6   they get questions on it, or someone is concerned
    7   did. There's a huge overdose problem. So what            7   about the opioid problems, that rather than get in a
    8   she -- she's a communication person.                     8   debate whether the article is right, wrong, up or
    9          MR. SAMSON: Okay.                                 9   down, to refer that physician to the C.A.R.E.S.
   10          THE WITNESS: She was recommending the use        10   Alliance tools to prevent the problems that are
   11   of tools to aid physicians to prevent overdoses, no     11   highlighted in that article.
   12   matter how they dose the products, their general        12         That's -- that's a responsive organization
   13   methods.                                                13   to data being released that shows problems.
   14          And you can see there Covidien strongly          14   BY MR. SAMSON:
   15   supports the need for appropriate screening,            15         Q. And you don't think that the findings
   16   prescribing, and use of all opioid medications.         16   of this study, because you never read it, showed
   17   That's our position. Because of that need, we           17   problems with the very kinds of opioids that
   18   recently launched C.A.R.E.S. Alliance. This             18   Mallinckrodt was selling?
   19   initiative provides a number of tools and programs to   19         MR. DAVISON: Objection to form.
   20   aid physicians, pharmacists, patients, and              20         THE WITNESS: Mark, no one denies there's
   21   stakeholders.                                           21   problems. We know there's problems. If there
   22          Among the items available at C.A.R.E.S.          22   weren't problems, we wouldn't have created the
   23   Alliance are a urine drug screening guide, a patient    23   C.A.R.E.S. Alliance. That's a response of a
   24   prescriber expectations, responsibilities form, and a   24   responsible, concerned organization to provide tools
   25   number of patient assessment tools.                     25   that physicians can actually use in their practice
                                                    Page 195                                                     Page 197
    1          These are tools that are designed and had         1   with actual real patients to prevent some of this
    2   been validated to solve -- help solve this problem       2   stuff or to help prevent some of this stuff.
    3   that this article is bringing out.                       3   BY MR. SAMSON:
    4   BY MR. SAMSON:                                           4         Q. Are any of the C.A.R.E.S. Alliance
    5          Q. Look at the first paragraph of her             5   tools to encourage the physician, perhaps, to think
    6   response, her draft message. Okay?                       6   over whether or not this patient should be on
    7          A. Okay.                                          7   extended-release opioids?
    8          Q. The bolded, in fact, "The article is           8         A. Absolutely. Be on opioids at all.
    9   attached for your awareness only."                       9         Q. Okay. Now, the letter to the sales
   10          A. Right.                                        10   force goes on that:
   11          Q. "You should not provide this to               11           (Reading) If the doctor is willing to
   12   physicians, nor should you use it in proactive          12           talk with you after you give the
   13   outreach."                                              13           script -- that is the boldface
   14          A. Absolutely.                                   14           above -- proceed based on previous
   15          Q. And why is that?                              15           guidance (end of reading).
   16          A. Because it's Standard Operating               16         Which I take it, is a kit that was dropped
   17   Procedure that the sales organization cannot pick up    17   off concerning C.A.R.E.S.?
   18   some study, any study, that they want and use it in     18         MR. DAVISON: Objection to form.
   19   their -- in their sales activities unless that study    19         THE WITNESS: I don't know. It could be.
   20   has been approved for use by Medical Affairs. And       20   It could be.
   21   this isn't even out yet.                                21   BY MR. SAMSON:
   22          Q. Is there any indication that they're          22         Q. Okay. (Reading) And then if
   23   going to ask you to approve it in this email string     23           the clinician persists in wanting to
   24   on this exhibit?                                        24           discuss the article, then they are
   25          MR. DAVISON: Objection to form.                  25           given another bold point -- boldface

   Golkow Litigation Services                                                           Page 50 (194 - 197)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further51Confidentiality
                                                       of 99. PageID #: 240343
                                                                           Review
                                                       Page 198                                                    Page 200
    1            response (end of reading).                        1 BY MR. SAMSON:
    2          A. Right.                                           2        Q.   Okay. Back to the last real question
    3          Q. And that's to:                                   3 I asked you.
    4            (Reading) I'm unable to discuss it                4         Should there be -- if there were any
    5            further with you. Our Medical                     5   physicians who wanted -- who were referred to Medical
    6            Information Group is best suited to               6   Affairs, there should be letters, there should be --
    7            talk with you. I'm happy to send your             7         A. Okay.
    8            inquiry to them for follow-up (end of             8         Q. -- records, explanations of what was
    9            reading).                                         9   said to them about this article?
   10          A. Precisely.                                      10         MR. DAVISON: Objection.
   11          Q. And who would that go to in Medical             11   BY MR. SAMSON:
   12   Affairs, if such an inquiry came in?                      12         Q. And the issues in this article?
   13          A. A group of mainly Pharm.Ds on the               13         MR. DAVISON: Objection to form.
   14   front line of the phones, supervised by a physician,      14         THE WITNESS: So it's better than that.
   15   Eddie Darton, who reports to Herb Neuman.                 15   There's -- there's a bank of called SRLs, standard
   16          And what actually happens is Dr. Jones calls       16   response letters, that -- where we prespecified
   17   in there and has a question; they field the question;     17   typical questions that are likely to be asked and
   18   they give a verbal response immediately on the phone;     18   preset responses, so the speed of response could be
   19   then they follow up with that physician with a letter     19   even better. But there's going to be questions --
   20   reiterating what they talked about; the citations         20   and there's maybe 20 or 30 of those. But there could
   21   that Pharm.D is using as a basis for his answer and       21   be questions that we didn't anticipate. Those --
   22   copies of the studies that were cited.                    22   those generate a fresh -- a fresh SRL. But that SRL
   23          Q. Okay. So somewhere in Covidien                  23   has to go through clearance and review and oversight
   24   document files in Medical Affairs will be notes,          24   by physicians and signed off on ultimately by Herb.
   25   letters, et cetera, responding to some physicians who     25         So those are banked.

                                                       Page 199                                                   Page 201
    1   may have called, if they didn't get put off by the         1   BY MR. SAMSON:
    2   C.A.R.E.S. Alliance talk and actually wanted to            2         Q. What is that bank called, if I wanted
    3   discuss the merits of the article?                         3   to --
    4         MR. DAVISON: Objection to form.                      4         A. Standard response letters.
    5         THE WITNESS: I'm going to really push back           5         Q. Okay. And are they kept, do you
    6   on this "put off" characterization. There's no             6   know, for any period of time?
    7   putting off.                                               7         A. I don't know.
    8         We are giving the physician options.                 8         Q. Okay.
    9   Whatever that physician wants to do, we're on board        9         A. Usually, I would think, pretty long.
   10   with it. If the physician wants to get into the           10         MR. SAMSON: This one should be 9, but now
   11   C.A.R.E.S. Alliance and adopt tools, we're good with      11   11.
   12   it. We will help them. If the physician wants to          12                (Exhibit No. 11 was marked.)
   13   talk to the Pharm.D people and Medical Information,       13         MR. SAMSON: Put 11 aside.
   14   we're good with it. If they want to do both, we're        14         MS. GAFFNEY: Sorry about that.
   15   good would it. If they want to talk to Eddie Darton,      15         THE WITNESS: Put 11 aside, okay.
   16   we're good with it. If they want to talk to Herb          16         MR. SAMSON: We have misnumbered it.
   17   Neuman, we're good with it. I guarantee they don't        17         THE WITNESS: Okay.
   18   want to talk to me.                                       18         MR. SAMSON: This will be 12.
   19         But this is the process that we've                  19         THE WITNESS: I think it's the same number.
   20   established. And this was just really reiterating --      20   12 is the same as 11.
   21   there's nothing in here, this letter by Nancy             21         MR. SAMSON: Is it?
   22   Stauder, that isn't SOP, basic operating procedures       22         MS. GAFFNEY: Are we all set, then.
   23   within a pharmaceutical company. Because you can't        23         MR. SAMSON: Then we're okay.
   24   have reps talking about things they are not trained       24         Withdraw 12 for now. And I will put back
   25   on and not qualified to answer.                           25   11.

   Golkow Litigation Services                                                            Page 51 (198 - 201)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further52Confidentiality
                                                       of 99. PageID #: 240344
                                                                           Review
                                                    Page 202                                                         Page 204
    1          Q. All right. You have Exhibit 11 in              1   BY MR. SAMSON:
    2   front of you.                                            2          Q. Okay. And so do you remember who the
    3          MR. DAVISON: Sorry, could I just make sure        3   competitor was who made Remoxy?
    4   we have all MNK-T1, underslash, 0000941559. It's an      4          A. Pain Therapeutics, maybe. I don't
    5   email from Art Morelli to Rod Novak and others on        5   know. I think it is.
    6   April 26 --                                              6          Q. Fair enough.
    7          THE WITNESS: No, not from me.                     7          A. Yeah, it is.
    8          MR. DAVISON: Well, the very top one. I'm          8          Q. Okay.
    9   just trying --                                           9          A. It is. Remoxy is a registered
   10          THE WITNESS: Oh, the very top one.               10   trademark of Pain Therapeutics, Inc.
   11          MR. DAVISON: I'm just trying to make sure        11          Q. Okay. And then if you will turn
   12   we have the same document. Thank you. I apologize.      12   to -- I think it will be the -- since yours are
   13          MS. GAFFNEY: Thank you.                          13   copied on two sides, it will be -- page 1, 2 -- 3 at
   14          (Witness reviewing document.)                    14   the bottom, and then page 4 at the top.
   15   BY MR. SAMSON:                                          15          A. Okay.
   16          Q. Mr. Morelli, this is April 2011. So           16          Q. Do you see the "Study Results" is the
   17   I think you should have been there yet?                 17   boldfaced?
   18          A. I think so. Yes, my name is on                18          A. Study results. Oh, yes. Yes.
   19   there, so I was there, right.                           19          Q. Okay. So read me, without that odd
   20          Q. And you -- do you recall Remoxy, a            20   gibberish at the start, symbols, the first finding
   21   competitive drug?                                       21   endpoint analysis.
   22          A. I do, yeah.                                   22          A. (Reading) Primary endpoint was
   23          Q. And it was an ER generic oxycodone?           23            drug liking. That was -- that was
   24          A. I think it was. I don't really                24            testing. As assessed by various
   25   remember. But it was -- its thing was its               25            pharmacodynamic parameters.
                                                    Page 203                                                       Page 205
    1 abuse-deterrent formulation.                               1           Thirty-two subjects were included.
    2          Q. And, in fact, this -- another report           2           Drug liking was significantly lower
    3   in the literature coming out is about reaching an        3           for Remoxy, 40 milligrams whole --
    4   endpoint in Remoxy's study of whether its drug really    4           that means uncrushed -- compared with
    5   was abuse deterrent in any form.                         5           oxycodone immediate-release 40
    6          A. Okay.                                          6           milligrams or oxycodone immediate --
    7          Q. Is that what you get from the                  7           extended-release 40 or oxycodone
    8   article?                                                 8           immediate-release 40 (end of reading).
    9          A. I would have to really sit down and            9         Q. And then what was the second finding?
   10   look at it. But it looks -- it looks like it is.        10         A. (Reading) Drug liking was
   11   Because they are comparing the ER formulation of        11           significantly lower for Remoxy
   12   Remoxy to the ER and immediate formulation of           12           chewed -- this is crushing it up --
   13   oxycodone in terms of various parameters, mainly drug   13           compared with ER oxy and -- crushed
   14   liking.                                                 14           and oxy IR 40 (end of reading).
   15          So drug liking is a metric that you can          15         Q. And I'm assuming the reason we don't
   16   compare products for their abuse potential.             16   see the IR 40 as being either crushed or chewed is
   17          Q. And for those of us who don't do              17   that with an IR, it's going to be available in
   18   pharmaceutical research, is drug liking intended to     18   roughly the same amount of time, even without
   19   measure as a metric, "I like this not for its pain      19   crushing?
   20   relief effect but as a high," so to speak?              20         A. It could be, yeah.
   21          MR. DAVISON: Objection to form.                  21         Q. I mean --
   22          THE WITNESS: I'm not a scientist. I              22         A. Makes sense.
   23   don't -- I'm not into this kind of research. But        23         Q. And then the next finding was time to
   24   that's what I've been told. I've heard that, yeah.      24   peak drug liking, and that was also significantly
   25   ///                                                     25   delayed?

   Golkow Litigation Services                                                           Page 52 (202 - 205)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further53Confidentiality
                                                       of 99. PageID #: 240345
                                                                           Review
                                                       Page 206                                                     Page 208
    1          A. Right.                                           1         A. Jamie Harrell was basically the Chief
    2          Q. And that was, again, Remoxy chewed               2   Commercial Officer.
    3   compared to oxycodone ER 40 milligrams crushed or          3         Q. Okay. So she's not --
    4   oxycodone IR?                                              4         A. It's a he. It's a he. But yeah.
    5          A. Right.                                           5         Q. It's a he?
    6          Q. And then what were the secondary                 6         A. Yeah.
    7   endpoints?                                                 7         Q. He's not in Medical Affairs?
    8          A. Drug high, good effects, chewing                 8         A. No.
    9   duration, taste, texture assessments, and safety           9         Q. Okay. On the bottom of page 1 and
   10   assessments. These endpoints generally demonstrated       10   going over on to the top of page 2 is Mr. Harrell's
   11   the same consistency of effects observed in the           11   reaction. Can you read that aloud from me.
   12   primary endpoints.                                        12         A. The whole part?
   13          Q. And that's -- in terms of you reading           13         Q. From "I suggest."
   14   that back when you were at Mallinckrodt, that's a         14         A. (Reading) I suggest we create a
   15   potentially useful-for-safety difference with this        15           Competitive Project team to do a
   16   new formulation; correct?                                 16           deep dive on this product and build
   17          MR. DAVISON: Objection to form.                    17           out a training program for the field
   18          THE WITNESS: Potentially.                          18           to help them -- help position them in
   19   BY MR. SAMSON:                                            19           the marketplace. We need -- just
   20          Q. Okay. And if its -- even at this                20           thinking and typing out loud, we need
   21   stage, without saying it is absolutely proven, do you     21           to position them before they position
   22   agree with me that that's good information for the        22           us (end of reading).
   23   entire prescribing population to know on the level        23         Q. What did you take that "We need to
   24   that it's reported here?                                  24   position them before they position us" to mean when
   25          MR. DAVISON: Objection to form.                    25   you read this stream?
                                                      Page 207                                                       Page 209
    1          THE WITNESS: Yes.                                   1         MR. DAVISON: Objection to form.
    2   BY MR. SAMSON:                                             2         THE WITNESS: I had no -- I have no idea
    3          Q. And did Mallinckrodt have an                     3   what he meant by that. But -- I don't know. I don't
    4   oxycodone extended release that had at this point any      4   know what he was thinking. There's no way I could
    5   abuse-deterrent attempts at all?                           5   know that.
    6          MR. DAVISON: Objection to form.                     6   BY MR. SAMSON:
    7          THE WITNESS: No, not to my knowledge. But           7         Q. It's a guy in commercial?
    8   I wasn't in R&D. So I don't know what they had,            8         A. Right.
    9   really.                                                    9         Q. A competitor's drug may have an
   10   BY MR. SAMSON:                                            10   advantage --
   11          Q. But certainly not out in the sales              11         A. I don't --
   12   market?                                                   12         Q. -- over Mallinckrodt's drug
   13          A. Oh, no, not out in the sales market.            13   because --
   14          Q. And so a 40 milligram oxycodone                 14         A. Right.
   15   analog that has decreased drug liking and basically       15         Q. -- it has demonstrated decreased drug
   16   gives you a decreased high, even if you chew it or        16   liking, and Mallinckrodt's competitive drug did not
   17   grind it up, could be a strong competitor for             17   have any abuse-deterrent formula; right?
   18   Mallinckrodt's existing hydrocodone ER?                   18         A. Right.
   19          MR. DAVISON: Objection to form.                    19         Q. What -- commercial, is that above
   20          THE WITNESS: As long as the efficacy was,          20   marketing and sales, or part of it, or where?
   21   you know, equivalent, yes. All other things being         21         A. It's composed of marketing and sales.
   22   equal, abuse-deterrent formulations are one measure       22         Q. So you're a veteran of the industry.
   23   that is -- mitigates risk to patients.                    23   When he writes, "We need to position them before they
   24   BY MR. SAMSON:                                            24   position us," after saying "We need to do a deep dive
   25          Q. Okay. And who was Jamie Harrell?                25   on this," what did you take from that?

   Golkow Litigation Services                                                             Page 53 (206 - 209)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further54Confidentiality
                                                       of 99. PageID #: 240346
                                                                           Review
                                                        Page 210                                                  Page 212
    1         MR. DAVISON: Objection. Asked and                     1         MR. DAVISON: Objection to form.
    2   answered.                                                   2         THE WITNESS: I don't see this being
    3         THE WITNESS: I don't remember when it                 3   anything to do with generics. This is to do with
    4   happened. If you're asking me what I would take --          4   Exalgo. Jamie Harrell had nothing to do with
    5   meaning I would put now, in retrospect?                     5   generics.
    6         MR. SAMSON: Yes.                                      6   BY MR. SAMSON:
    7         THE WITNESS: I would say that -- Remoxy               7         Q. What did -- what was his position in
    8   wasn't on the market, so -- I don't know if it ever         8   commercial?
    9   reached the market, actually, for whatever reason.          9         A. Branded -- branded products.
   10         I would say this is a commercial guy asking          10         Q. Okay. All right.
   11   for help, how to respond -- how to train salespeople       11         A. Okay.
   12   to respond to questions, if they get them, on this         12         MR. SAMSON: That's that one.
   13   new entry in the marketplace, which is what any            13         The next one will be 12.
   14   pharmaceutical company would do, rather than let reps      14                (Exhibit No. 12 was marked.)
   15   respond without being trained. He's asking for help.       15         MR. SAMSON: And this one, despite its
   16   That's how I interpret it. And he's asking for help        16   thickness, Mr. Morelli, is really only the first
   17   from Medical Affairs.                                      17   page. And the rest I think are usage records or
   18   BY MR. SAMSON:                                             18   prescribing records.
   19         Q. How does that equate with "position               19         THE WITNESS: Okay.
   20   them before they position us"?                             20         (Witness reviewing document.)
   21         MR. DAVISON: Objection to form.                      21   BY MR. SAMSON:
   22         THE WITNESS: I don't know what he meant by           22         Q. And in -- Ms. Tonilee?
   23   that. It's not something I would ever say.                 23         A. Tonilee is her first name. Masters
   24   BY MR. SAMSON:                                             24   is her second name.
   25         Q. Okay. And then please read your                   25         Q. What was she -- was she in Medical
                                                      Page 211                                                      Page 213
    1   response at the top of page 1.                              1   Affairs?
    2          A. (Reading) We are planning an                      2         A. Sales rep.
    3            abuse liability (formulation and PK                3         Q. Sales rep, okay.
    4            aspects) consensus meeting with KOLs               4         And she apparently is setting you up for a
    5            leading to a pub or two. And we will               5   meeting with a Dr. Gosy, who apparently has a fairly
    6            have details in a week or two (end of              6   busy pain practice?
    7            reading).                                          7         A. Right.
    8          Q. Were those KOLs supported by                      8         Q. (Reading) I want him to know the
    9   Mallinckrodt?                                               9           safety with REMS and C.A.R.E.S.
   10          A. Probably, yeah.                                  10           program that he can receive for
   11          MR. DAVISON: Objection to form.                     11           utilizing more Exalgo (end of
   12   BY MR. SAMSON:                                             12           reading).
   13          Q. Okay. And why were you so confident              13         Do you see that part?
   14   that it might lead to a pub or two that might help         14         A. Yes.
   15   what was worrying Harrell about the new study?             15         Q. And you were going to go have dinner
   16          MR. DAVISON: Objection to form.                     16   with Dr. Gosy --
   17          THE WITNESS: Because it would be in a way           17         A. Right.
   18   similar to what Pain Therapeutics has done here.           18         Q. -- to accomplish whatever you were
   19   They have published data on their product. We could        19   going to accomplish with him?
   20   publish data, if it exists, on our product. That's         20         MR. DAVISON: Objection to form.
   21   what it means.                                             21         THE WITNESS: To brief Dr. Gosy on the
   22   BY MR. SAMSON:                                             22   Exalgo REMS and the C.A.R.E.S. Alliance.
   23          Q. Abuse-deterrence data on generic oxy             23   BY MR. SAMSON:
   24   40 extended release, that would be a long hunt, don't      24         Q. Okay. Was that a common part of your
   25   you think?                                                 25   job, to go meet individually with prescribers?

   Golkow Litigation Services                                                             Page 54 (210 - 213)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further55Confidentiality
                                                       of 99. PageID #: 240347
                                                                           Review
                                                     Page 214                                                     Page 216
    1         A. No. It was very uncommon.                       1            reading).
    2         Q. Do you have any remembrance of                  2          Correct?
    3   Dr. Gosy?                                                3          A. Correct.
    4         A. So I travel to, I believe it was                4          Q. "It will need to be communicated
    5   New Jersey for this meeting. Tonilee never showed up     5   verbally." Why did it need to be communicated
    6   for the meeting. Stood me up. And I was left at the      6   verbally?
    7   airport.                                                 7          A. Because that information is not in
    8         And when I spoke to her manager, who was           8   raw form, it is not cleared to be distributed to
    9   Gavin McGowan, he told me Tonilee Masters resigned       9   anybody we want. This is -- these are actual
   10   that day from the company. So the dinner never          10   real-time reports into Medical Affairs of side
   11   happened.                                               11   effects and problems. So we just can't take a
   12         Q. Well, that --                                  12   report, a company report, and hand it out. But we
   13         A. I remember -- that's how I remember            13   can communicate, in essence, what it is saying.
   14   this occasion, because it was so remarkable, quite      14          Q. Well, and, in fact, that's reporting
   15   frankly.                                                15   evidence that's not on the label that's been approved
   16         Q. Okay. And although they may be                 16   by FDA; true?
   17   interchangeable, if you will look, were you going to    17          MR. DAVISON: Objection to form.
   18   have dinner in Buffalo, New York --                     18          THE WITNESS: I wouldn't say so, because
   19         A. Maybe that was it.                             19   these are side effects that the physician -- that are
   20         Q. So I couldn't tell -- you were going           20   listed in the label as potential side effects. Or
   21   to New Jersey?                                          21   even if they are not, if they are idiosyncratic, you
   22         A. It was New York, yeah.                         22   know, out of left field kind of side effects, the
   23         Q. So the meeting never went off. But             23   doctor has a right to know that this has been
   24   was such a meeting common for you --                    24   reported.
   25         A. It was very rare. It was very rare.            25   ///
                                                   Page 215                                                         Page 217
    1   I remember doing another one.                            1   BY MR. SAMSON:
    2          MR. DAVISON: Let him finish his question.         2         Q. And I'm assuming that what you were
    3   BY MR. SAMSON:                                           3   eager to go show him were lack of side effects data?
    4          Q. -- for you to go out to meet with              4         MR. DAVISON: Objection to form.
    5   individual physicians? Was that common or rare?          5         THE WITNESS: I would -- was going to tell
    6          A. Rare.                                          6   him what the data said.
    7          Q. And I think you told me, while I was           7   BY MR. SAMSON:
    8   still asking the question, that you may have done it     8         Q. Okay. But you wouldn't have been
    9   one other time, that you can recall?                     9   anxious to do that if the reported side effect data
   10          A. Correct.                                      10   that was coming in was larger than what was on the
   11          Q. And where was that other time?                11   label; true?
   12          A. Southern California.                          12         MR. DAVISON: Objection to form.
   13          Q. And who did you go to meet with               13         THE WITNESS: I mean, it doesn't really
   14   directly as the prescriber in Southern California?      14   matter to me. I'm going to report the data as the
   15          A. I don't remember.                             15   data is and let the data speak for itself.
   16          Q. Do you remember a specialty?                  16   BY MR. SAMSON:
   17          A. Pain. It was pain. A pain                     17         Q. Say if --
   18   specialist. He was very, very short. That's the         18         A. The only thing he needs to do is the
   19   only thing I remember.                                  19   denominator. This is a numerator. He needs to know
   20          Q. Okay. In your email response to               20   what the denominator is.
   21   Tonilee, you tell her:                                  21         Q. And why couldn't that be given to him
   22            (Reading) Thanks for the briefing. I           22   in writing?
   23            prepared a summary of our most recent          23         A. It could have been. It could have
   24            data related to Exalgo misuse, abuse,          24   been sent in an email, maybe. But it's just more
   25            overdose and addiction (end of                 25   personable to do it face to face. He may have 17

   Golkow Litigation Services                                                           Page 55 (214 - 217)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further56Confidentiality
                                                       of 99. PageID #: 240348
                                                                           Review
                                                     Page 218                                                    Page 220
    1   questions on what I tell him, so he may ask me. And      1   is about Exalgo.
    2   if he has further questions, maybe Eddie Darton has      2         Q. If you look on the page that includes
    3   to go see him.                                           3   Exalgo. Do you see it? It's right at the top.
    4         Q. And I didn't draft this email. You              4         A. Oh, yeah, I see it.
    5   did.                                                     5         Q. You're now on the page.
    6         A. Right.                                          6         A. Right.
    7         Q. "It will need to be communicated                7         Q. It doesn't appear that he is using
    8   verbally."                                               8   much Exalgo.
    9         A. Right. I'm not going to hand him the            9         A. I can't tell from --
   10   raw data from our -- from our safety database.          10         MR. DAVISON: Objection.
   11         Q. But you're going to tell him that              11         THE WITNESS: -- this. I don't know what
   12   same raw data?                                          12   these numbers means.
   13         A. Right.                                         13   BY MR. SAMSON:
   14         MR. DAVISON: Objection.                           14         Q. If you look down at "Generic for
   15   BY MR. SAMSON:                                          15   immediate release," immediately below.
   16         Q. Okay. You weren't trying to get                16         A. It's probably the case.
   17   around one of those things, like sales personnel        17         Q. It's probably the case that he wasn't
   18   can't say anything other than what's on the label?      18   using it --
   19         A. I didn't want --                               19         A. Right.
   20         MR. DAVISON: Objection.                           20         Q. -- which is in line with the original
   21         THE WITNESS: I didn't want to put the sales       21   email?
   22   rep in a position to do something that they are not     22         A. Right. Right.
   23   comfortable doing nor are they authorized to do.        23         So here's how I interpret this. Here's a
   24   That's why I was taking the heat off her, and I was     24   physician who's a pain specialist. He treats a lot
   25   speaking with the physician.                            25   of patients. He writes a lot of prescriptions for
                                                   Page 219                                                         Page 221
    1   BY MR. SAMSON:                                           1   opioids, high-powered opioids. He's concerned about
    2          Q. So you never met with Dr. Gosy?                2   the safety of the drugs that he's prescribing.
    3          A. I did not.                                     3         I'm there to provide information to him
    4          Q. So you left neither a verbal trail or          4   related to the safety of the new drug on the block,
    5   a written trail because the meeting never came off;      5   the one that he doesn't have much experience with, in
    6   true?                                                    6   terms of what we are seeing and what's being reported
    7          MR. DAVISON: Objection.                           7   for our drug.
    8          THE WITNESS: It's not a question of a             8         And the programs that we have in place, one
    9   trail. The meeting never came off.                       9   for Exalgo specifically, the REMS, and, two, for all
   10   BY MR. SAMSON:                                          10   the other opioids he's prescribing, Vicodin and
   11          Q. Why did you need to see his                   11   Avinza, and all these others, that he could
   12   prescribing data to accomplish that mission?            12   potentially adopt in his practice and make his whole
   13          MR. DAVISON: Objection to form.                  13   practice safer.
   14   BY MR. SAMSON:                                          14         And he's got all these PAs and NPs working
   15          Q. The rest of the many pages of the             15   for him. Maybe set up a lecture, a lunch and learn
   16   email.                                                  16   for them so that they can be exposed to these tools
   17          A. I don't even know what this -- oh, I          17   and these programs, because they are going to be the
   18   see.                                                    18   ones, more than likely, that are going to actually
   19          Q. It's the various opioid medications           19   implement it.
   20   and how much he's used --                               20         Q. Did he ever become an Exalgo big
   21          A. I didn't need to see it. I didn't             21   prescriber?
   22   need to see it. She sent it to me.                      22         A. I have no idea.
   23          Q. Did you --                                    23         Q. Just --
   24          A. It wouldn't make any difference to            24         A. I never heard of him again.
   25   me, quite frankly, what this data is. His question      25         MR. DAVISON: We have been going another

   Golkow Litigation Services                                                           Page 56 (218 - 221)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further57Confidentiality
                                                       of 99. PageID #: 240349
                                                                           Review
                                                    Page 222                                                         Page 224
    1   hour and fifteen. Can we take a break?                    1   the experts were prescribing themselves Exalgo?
    2         MR. SAMSON: Yes.                                    2         A. I would say, for the most part, yes.
    3         MR. DAVISON: Or is this short?                      3   For obvious reasons, yeah.
    4         MR. SAMSON: Well, I think this one is               4         Q. And what are the obvious reasons to
    5   pretty short.                                             5   you? Because they may be different than mine. But
    6         MR. DAVISON: Okay.                                  6   they may be the same.
    7         MR. SAMSON: This will be 13.                        7         A. A physician gains a lot of knowledge
    8                 (Exhibit No. 13 was marked.)                8   when they actually use a product. They have actual
    9         (Witness reviewing document.)                       9   experience. And that it could be important to
   10   BY MR. SAMSON:                                           10   another physician. When physicians share information
   11         Q. This takes up a program that you had            11   doctor to doctor without a pharmaceutical company
   12   mentioned earlier in the day about, was it an            12   interceding, they could be more frank or more, you
   13   Exalgo-specific program when you launched it, the        13   know, clear, clearly communicate with each other.
   14   "Expert on the Call"?                                    14         Q. Well, and they are much more likely
   15         A. Yes, this is an Exalgo-specific                 15   to communicate favorably about Exalgo if they are
   16   program.                                                 16   using it, true, just in the realm of human nature?
   17         Q. Okay. And Ms. Blasser has seen the              17         MR. DAVISON: Objection to form.
   18   PowerPoint for "Expert on the Call"?                     18         THE WITNESS: No. I would say they would be
   19         A. Right.                                          19   very honest. The physicians I work with would be
   20         Q. I take it that would have been a                20   very honest.
   21   PowerPoint Medical Affairs had put together?             21   BY MR. SAMSON:
   22         A. In a training program, yeah.                    22         Q. How many expert on the calls for
   23         Q. Okay. And, basically, as I --                   23   Exalgo were not prescribing Exalgo?
   24   there's a couple more of these we will deal with.        24         A. I don't remember that.
   25         It sounds like experts were recruited by           25         Q. Do you know --

                                                      Page 223                                                      Page 225
    1   Medical Affairs to be a participant in "Expert on the     1         A. Most of them -- I would say most of
    2   Call," where they would get calls from outlying           2   them were prescribing Exalgo.
    3   physicians who had questions about Exalgo and could       3         Q. The --
    4   talk to them; is that --                                  4         A. In fact, we -- we were -- we hoped
    5         A. That's exactly what it was.                      5   that they were so that they would have hands-on
    6         Q. Okay. Were those experts on the call             6   experience, yeah.
    7   paid?                                                     7         Q. What -- why would they be in a
    8         A. Yes.                                             8   program for a drug that they didn't use?
    9         Q. How much?                                        9         A. Except to make money, I can't think
   10         A. I don't remember.                               10   of another reason. So that's why we wanted them to
   11         Q. Was it for a call or only a                     11   be prescribers of Exalgo.
   12   successful call that resulted in an Exalgo script        12         Q. Okay.
   13   being written?                                           13         A. But we didn't -- we really didn't
   14         A. A call.                                         14   enforce that, to make that an absolute, because then
   15         MR. DAVISON: Objection to form.                    15   it could be said that we were strong arming them to
   16   BY MR. SAMSON:                                           16   become a prescriber by -- by providing an inducement.
   17         Q. And do you recall, was it a hundred             17   So it really wasn't that clear-cut.
   18   bucks for a call, or so much per minute, or any other    18         Q. And Ms. Blasser greets you and says:
   19   figure?                                                  19           (Reading) I just saw the PowerPoint
   20         MR. DAVISON: Objection to form.                    20           for "Expert on the Call." Program
   21         THE WITNESS: I don't recall how exactly we         21           looks awesome. As we discussed at the
   22   calculated the honorarium, but there was an              22           advanced training meeting (end of
   23   honorarium.                                              23           reading) --
   24   BY MR. SAMSON:                                           24         Which I'm assuming is probably where she saw
   25         Q. Okay. And am I safe in assuming that            25   the program?

   Golkow Litigation Services                                                            Page 57 (222 - 225)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further58Confidentiality
                                                       of 99. PageID #: 240350
                                                                           Review
                                                    Page 226                                                        Page 228
    1        A. Probably, yeah.                                   1         THE VIDEOGRAPHER: We are back on the
    2        Q. (Reading) -- I have a candidate                   2   record. The time is 3:28 p m.
    3          for this, Dr. Lance Yarus. He has a                3         THE REPORTER: Next in order is 14.
    4          lot of experience writing Exalgo, is a             4         MR. SAMSON: 14.
    5          current KOL speaker with good reviews,             5               (Exhibit No. 14 was marked.)
    6          and is a well-respected orthopedic                 6         (Witness reviewing document.)
    7          surgeon/pain management physician in               7   BY MR. SAMSON:
    8          Pennsylvania (end of reading).                     8         Q. Mr. Morelli, this one comes from
    9        Did I read that correctly?                           9   August of 2011 and is, again, on the EOC. This time
   10        A. Uh-huh.                                          10   an update.
   11        Q. And you write back:                              11         A. Right.
   12          (Reading) Nice to hear from you.                  12         Q. And that's the EOC program for
   13          Dr. Yarus could be a good fit for the             13   Exalgo; true?
   14          program if you believe he would                   14         A. True.
   15          benefit from a consultation with a                15         Q. And the first message from you on
   16          pain specialist on the specifics of               16   page 2 --
   17          rotating patients to Exalgo (end of               17         A. Yes.
   18          reading).                                         18         Q. -- sent August 20th, appears to be an
   19        So did you believe that she was putting             19   update showing two spreadsheets for -- are these the
   20   Dr. Yarus forward as a caller into an "Expert on the     20   marketing and sales force, or who is this original
   21   Call"?                                                   21   report aimed at?
   22        A. Yes. A participant.                              22         MR. DAVISON: Objection to form.
   23        Q. Okay. And were callers in on the EOC             23         THE WITNESS: So the report was compiled by
   24   program given an honorarium or any --                    24   Leah La Roux, as you see there, who is a Pharm.D in
   25        A. No. No.                                          25   our Medical Division of Medical Affairs. And what

                                                      Page 227                                                      Page 229
    1         Q. Just got the information?                        1 Dr. -- Dr. Newman and I kind of agreed to, a bit on
    2         A. Right.                                           2 the sly here, is we had Leah and other -- and other
    3         Q. For their benefit?                               3 health-care professionals secretly, secretly listen
    4         A. Right.                                           4 in on these calls without divulging their presence,
    5         Q. And do you remember whether or not               5 to ensure that the information being communicated was
    6   Dr. Yarus took advantage of that opportunity?             6 appropriate, not off the label of the product, unless
    7         A. Of course I don't remember. But I'm              7 it was, you know, not related to the label. Like one
    8   thinking, from the communication on top, it looks         8 doctor asked another doctor a doctor question, not a
    9   like he didn't. But I can't be sure.                      9 product question, you know, which is always possible.
   10         Q. And what is it about Ms. Blasser                10        But in terms of the relevant product
   11   saying, "Please let me know your thoughts" --            11 information, we put in a little quality control here
   12         A. And then she said, "Never mind. He              12 to make sure that this wasn't going off the rails.
   13   didn't understand my question."                          13 And you can see from Leah's -- Leah's feedback that
   14         I don't know who is "he." I don't know who         14 so far it's looking good. That was the first email
   15   is "he" that she is referring to. It may have been       15 that I wrote there.
   16   me, that I didn't understand her question.               16 BY MR. SAMSON:
   17         But I don't recall this going any further or       17        Q. Okay. And, in fact, what
   18   whether it happened or didn't happen. It could have      18   Ms. La Roux -- what you quoted her as saying is,
   19   happened.                                                19   quote:
   20         MR. SAMSON: All right. Let's take our              20          (Reading) The majority of calls have
   21   break.                                                   21          been extremely successful in educating
   22         MR. DAVISON: Thank you.                            22          HCPs on the intricacies of Exalgo that
   23         THE VIDEOGRAPHER: We are going off the             23          will lead to increased prescriber
   24   record. The time is 3:16 p.m.                            24          confidence while promoting the safe
   25         (Recess taken.)                                    25          use of our product (end of reading).

   Golkow Litigation Services                                                             Page 58 (226 - 229)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further59Confidentiality
                                                       of 99. PageID #: 240351
                                                                           Review
                                                     Page 230                                                           Page 232
    1          True?                                                1   may -- it was two doctors, actually. And Dr. Arnoff
    2          A. True.                                             2   was at that time, and still, a recognized, you know,
    3          Q. And so promoting safe use of our                  3   leader in pain management, a respected individual.
    4   product is an admirable goal; true?                         4   So that's -- that's how that worked, you know.
    5          A. I think it's extremely admirable.                 5   BY MR. SAMSON:
    6          Q. And the other one increased                       6         Q. But the outcome, that was part of you
    7   prescriber confidence while in Exalgo is a good             7   saying it was a phenomenal story, was that the number
    8   effect on corporate sales and, thus, success or             8   two prescriber and his nurse practitioner, who was
    9   failure of Exalgo; true?                                    9   the number four prescriber in this region, who hadn't
   10          MR. DAVISON: Objection to form.                     10   been prescribing Exalgo, were now prescribing it?
   11          THE WITNESS: Correct.                               11         A. Yeah.
   12   BY MR. SAMSON:                                             12         MR. DAVISON: Objection to form.
   13          Q. And then the next middle part was a              13   BY MR. SAMSON:
   14   success story from Denver -- or from the Western           14         Q. And you assume, because I think that
   15   Regional Sales Director, from a Sales Specialist,          15   you never got to question those two physicians, that
   16   directing his number two opioid prescriber in the          16   the explanation given of the Exalgo's intricacies had
   17   territory and his number four, who happened to work        17   led them to open the door to wanting to prescribe it?
   18   in the same office, to the "Expert on Call" program.       18         MR. DAVISON: Objection to form.
   19   And after that talk, the doctor said he was ready to       19         THE WITNESS: And -- of course. Of course.
   20   prescribe Exalgo; true?                                    20   But how to -- how to rotate patients on to Exalgo.
   21          MR. DAVISON: Objection.                             21   BY MR. SAMSON:
   22          THE WITNESS: It seems so here, yes.                 22         Q. Okay. That -- that was a specific
   23   BY MR. SAMSON:                                             23   danger that the Exalgo intricacies presented; true?
   24          Q. And you write back:                              24         MR. DAVISON: Objection to form.
   25           (Reading) This is a phenomenal story.              25         THE WITNESS: It was -- it was a high risk

                                                        Page 231                                                       Page 233
    1           Thank you for sending it (end of                    1 area, but it was also an opportunity for patients
    2           reading).                                           2 that weren't getting pain relief on their existing
    3         True?                                                 3 analgesic.
    4         A. I did, yes.                                        4         So, remember, Exalgo is second line. So
    5         Q. Okay. And is that because the two                  5   only patients who are already -- have opioid
    6   goals we talked about, in Ms. La Roux's report to           6   current -- current opioid experience are candidates
    7   you, you could see being met? Here's someone getting        7   for Exalgo. So by definition, then, anybody that
    8   the use in intricacies of Exalgo explained to them,         8   goes on to Exalgo has to come off their current
    9   and then turning around and writing them?                   9   opioid. That process is opioid rotation.
   10         MR. DAVISON: Objection to form.                      10         So how do you do that? How you do that is
   11         THE WITNESS: They're -- they're -- they're           11   pretty -- pretty delicate. The patient could be
   12   different, but they are related. I'm not sure what         12   either exposed to pain or could be exposed to
   13   you're asking me, though.                                  13   receiving too much drug, if it's not done properly,
   14   BY MR. SAMSON:                                             14   because of a principle of incomplete cross tolerance.
   15         Q. Well, tell me why they are different              15   BY MR. SAMSON:
   16   but related.                                               16         Q. And Exalgo had a challenging, unset
   17         MR. DAVISON: Objection to form.                      17   time to add to that difficulty?
   18         THE WITNESS: So Leah -- the purpose of               18         A. Slow.
   19   Leah's communication here is to basically do some          19         Q. Yes.
   20   quality control on the physicians, how they were           20         A. Right.
   21   responding to the call-in doctors.                         21         Q. I mean, it -- it wasn't -- if I'm
   22         Whereas, Connie's forwarding this basically          22   taking IR molecule 1, and my doctor changes me to IR
   23   commenting on Dr. Arnoff, that Dr. Arnoff was              23   molecule 2, I might still have a reaction to 2. But
   24   effective -- effective in familiarizing this doctor        24   in terms of getting 1 out of my system and 2 in
   25   with Exalgo, who was previously unfamiliar. It             25   without causing the combination that may be dangerous

   Golkow Litigation Services                                                              Page 59 (230 - 233)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further60Confidentiality
                                                       of 99. PageID #: 240352
                                                                           Review
                                                   Page 234                                                        Page 236
    1   to me, there's not much trouble; correct?                1 data that we have to take into account based on what
    2          MR. DAVISON: Objection to form.                   2 we're doing, yeah.
    3          THE WITNESS: There's not much?                    3 BY MR. SAMSON:
    4   BY MR. SAMSON:                                           4          Q. But in truth, in terms of promotion
    5          Q. Trouble compared to an Exalgo slow             5   and sales of Exalgo to prescribing physicians, you
    6   onset --                                                 6   would have issued that the article came out
    7          A. Oh, I see what you mean.                       7   differently than what its authors concluded; true?
    8          Q. -- effect?                                     8          MR. DAVISON: Objection to form.
    9          A. Yeah, it's more complicated because            9          THE WITNESS: No. No. I would hope that
   10   you have one drug that's fast onset, fast offset.       10   the article would come out and the data would speak
   11   And you have the second drug, the one you're going      11   for itself --
   12   to, is slow onset.                                      12          MR. SAMSON: Okay.
   13          So that's why, one of the reasons why we         13          THE WITNESS: -- as it has here.
   14   have this program. Because this program -- that --      14   BY MR. SAMSON:
   15   that intricacy, right. So here's -- that intricacy      15          Q. And what is the data speaking for
   16   requires a lot of expertise.                            16   itself?
   17          MR. SAMSON: 16. It was 14.                       17          A. It's just --
   18          THE REPORTER: I'm up to 15.                      18          MR. DAVISON: Objection to form.
   19          MR. SAMSON: Oh, 15. You're right.                19          THE WITNESS: It's just basically saying
   20                 (Exhibit No. 15 was marked.)              20   that something we already knew anyway. Hydromorphone
   21          (Witness reviewing document.)                    21   is a potent opioid. It produces, you know, a high
   22   BY MR. SAMSON:                                          22   degree of liking amongst addicts or pre-addicts. And
   23          Q. This starts out, Exhibit 15, with an          23   that's just the facts.
   24   email from Jeff Patrick. And what division was he       24          So -- and that's my response, was we can't
   25   in?                                                     25   wait around for all data that may come out years in

                                                   Page 235                                                        Page 237
    1         A. Medical Affairs.                                1   the future. We have to continue with the pressure on
    2         Q. And did he answer to you directly or            2   risk mitigation, because we don't know what's going
    3   to someone else?                                         3   to happen. So we have to plan for the worst and keep
    4         A. He answered to Herb.                            4   pushing the rock up the hill in terms of providing
    5         Q. And he's attached an article asking             5   ways to use this product safer.
    6   whether anybody on your team had reviewed it;            6   BY MR. SAMSON:
    7   correct?                                                 7         Q. And in the conclusions of the
    8         A. Correct.                                        8   abstract, it says:
    9         Q. And the article from its abstract is            9           (Reading) Additional investigations
   10   hydromorphone being a molecule of particular            10           into hydromorphone are warranted,
   11   interest, given its subjective similarities to heroin   11           particularly given previous findings
   12   and tendency to be misused by -- misused by illicit     12           regarding the prevalence of
   13   opioid users.                                           13           non-medical use of this document and
   14         A. Right.                                         14           its similarities to heroin (end of
   15         Q. Exalgo was hydromorphone?                      15           reading).
   16         A. It was. It is.                                 16         And you took that, as you just said, to mean
   17         Q. Extended release because of its                17   that Exalgo seems different than a hydromorphone
   18   capsule?                                                18   immediate-release formulation in these aspects; true?
   19         A. Correct.                                       19         MR. DAVISON: Objection to form.
   20         Q. So I'm assuming, with Exalgo being             20         THE WITNESS: It's different in those
   21   new to the market, an article that compared it to       21   aspects.
   22   heroin in misuse would not be welcomed at               22   BY MR. SAMSON:
   23   Mallinckrodt?                                           23         Q. And where -- what data did you have
   24         MR. DAVISON: Objection to form.                   24   to document that?
   25         THE WITNESS: It would be another piece of         25         A. There was -- there was no Exalgo in

   Golkow Litigation Services                                                           Page 60 (234 - 237)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further61Confidentiality
                                                       of 99. PageID #: 240353
                                                                           Review
                                                       Page 238                                                            Page 240
    1   this study. This was a hydromorphone study.                1 BY MR. SAMSON:
    2          Q. Okay.                                            2        Q.   Okay. And your suspicion is that if
    3          A. So -- but the active ingredient of               3 tested for drug liking, that would show a difference
    4   Exalgo is hydromorphone. So what I was saying here         4 between IR hydromorphone?
    5   is, regardless of this data and regardless of the          5        A.   It could. It could not. I'm just
    6   differences of Exalgo, we have to stay on plan to          6 saying it's different. I'm not saying it's superior.
    7   communicate ways to use this drug safer. It has            7 I'm not saying it's safer. I'm not saying it's less
    8   risks. It has serious risks that can be mitigated,         8 abusible. I'm just saying it's different.
    9   at least partially mitigated, by the use of accepted       9        When we communicate information on Exalgo,
   10   tools and programs designed to mitigate that risk and     10 we're not communicating information on IR
   11   to protect patients from harm.                            11 hydromorphone. That's not our product.
   12          Q. Okay. But your determination that               12         Q. And so "not according to wait for
   13   Exalgo is different than hydromorphone IR                 13   definitive scientific proof that our, bracket,
   14   formulations in the aspects of its appeal to its          14   Exalgo, end bracket, measures are effective, bracket,
   15   similarity to heroin and its appeal to misuse by drug     15   in making a different outcome than IR hydromorphone,"
   16   abusers, there was no study that proved that; true?       16   was not what you were talking about? You were
   17          MR. DAVISON: Objection to form.                    17   talking about, we have to keep on our program of
   18          THE WITNESS: No. And I didn't say there            18   trying to decrease misuse of Exalgo?
   19   was. I said Exalgo seems different.                       19         A. Precisely.
   20          MR. SAMSON: Okay.                                  20         MR. DAVISON: Objection to form.
   21          THE WITNESS: From what I know about its            21   BY MR. SAMSON:
   22   kinetics versus what the study drug was here, which       22         Q. Let me ask you to turn back to
   23   was immediate-release hydromorphone.                      23   Exhibit 6.
   24          No one is denying the risk of Exalgo.              24         A. There it is again.
   25   Nobody knows it better than me, and no one is             25         Q. It will be the thickest one in your

                                                     Page 239                                                              Page 241
    1 championing doing something about it more than me and        1   stack.
    2 my team.                                                     2          A. Okay. Got it.
    3 BY MR. SAMSON:                                               3          Q. And this is the sales force training
    4          Q. But saying it's different from the IR            4   REMS and safe use.
    5   formulations in the study is simply a hope; true?          5          A. Okay.
    6          MR. DAVISON: Objection to form.                     6          Q. And I will ask you to turn to the
    7          THE WITNESS: I don't think so. I think              7   first actual slide instead of just the title slide.
    8   it's different. Exalgo is not the same as                  8          A. Okay.
    9   immediate-release hydromorphone. That's just a fact.       9          Q. The one on your left.
   10   It doesn't mean it has no risk. It has plenty of          10          A. Got it.
   11   risks.                                                    11          Q. And this is a -- an address from
   12          I designed a whole program to mitigate those       12   Dr. Lynn Webster addressed to the sales force.
   13   risks. We don't -- we're not dealing -- we're not         13          A. Right. It was a video.
   14   selling IR hydromorphone. We're selling Exalgo. And       14          Q. Okay.
   15   my responsibility is to make Exalgo as safe as            15          A. A video.
   16   humanly possible.                                         16          Q. We talked about Dr. Webster earlier.
   17   BY MR. SAMSON:                                            17   You remembered his name?
   18          Q. And in the pharmacokinetics, the                18          A. Yes.
   19   difference between Exalgo and IR hydromorphone is a       19          Q. And that he worked at Lifetree
   20   sharp peak in IR hydromorphone and a similar rise,        20   Clinical Research and Pain Clinic?
   21   but then more of a plateau for Exalgo; true?              21          A. Right.
   22          MR. DAVISON: Objection.                            22          Q. And why did you think he was a -- the
   23          THE WITNESS: Slower. A much slower rise.           23   right person to address the sales force in terms
   24   A much slower onset of effect.                            24   of -- I'm assuming this is -- since it's REMS and
   25   ///                                                       25   safe use, it's Exalgo related?

   Golkow Litigation Services                                                              Page 61 (238 - 241)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further62Confidentiality
                                                       of 99. PageID #: 240354
                                                                           Review
                                                       Page 242                                                        Page 244
    1          A. Yes.                                             1          A. That I don't remember.
    2          Q. Okay. So why Dr. Webster?                        2          Q. Did he or Lifetree get any grants
    3          A. Because of his experience, his                   3   from Covidien that you know?
    4   knowledge, his rational approach to things, his            4          A. He did one study for us with Exalgo
    5   balanced approach, his concern for overall patient         5   post approval.
    6   care and well being, and he's very articulate.             6          Q. And what was that study?
    7          Q. Was he paid either through your                  7          A. So Dr. Webster submitted a study
    8   budget or some other budget to do the video that was       8   proposal for funding, which we reviewed and decided
    9   shown to this sales force?                                 9   to fund, because we thought it was very crucial for
   10          A. He was.                                         10   the safe use of the product.
   11          Q. And which budget?                               11          Q. And what was the subject of the said
   12          A. Ours. Medical Affairs.                          12   study?
   13          Q. Do you recall how much?                         13          A. The subject of the study was, what is
   14          A. No, I don't.                                    14   better for patients; to dose Exalgo once a day in the
   15          Q. Okay. At the time you left                      15   morning, or to dose Exalgo once a day in the evening?
   16   Mallinckrodt, I'm assuming that that -- a video of        16   Whether there's any difference in terms of adverse
   17   that presentation would have been available -- was        17   events based on those two dosage schedules with the
   18   still there?                                              18   same dose. And also evaluating pain on awakening.
   19          A. I assume.                                       19          So for patients with chronic pain, pain on
   20          MR. DAVISON: Objection to form.                    20   awakening, is a very poor measure. Because if they
   21          THE WITNESS: Don't know, though. Yeah, we          21   have pain on awakening, it's difficult for them to
   22   used it multiple times, obviously.                        22   start their day and to have a productive day, in
   23   BY MR. SAMSON:                                            23   terms of their activities of daily living.
   24          Q. And -- I think you told me earlier              24          So pain on awakening versus a nighttime dose
   25   that Dr. Webster was also active in the American          25   or a morning dose. So he -- he completed the study,

                                                     Page 243                                                        Page 245
    1 Academy of Pain Management?                                  1   and he published the study.
    2          A. He was.                                          2          Q. And what, if you recall, was the
    3          Q. Was on the board, or whatever their              3   general outcome of the study?
    4   directing body was, at one point or another?               4          A. The general outcome of the study was
    5          A. He was.                                          5   pain on awakening was exactly the same, no
    6          MR. DAVISON: Objection to form.                     6   statistical difference. However, the side effects
    7          THE WITNESS: He also published a book,              7   were different.
    8   "Avoiding Opioid Abuse While Managing Pain, A Guide        8          Q. And what were the --
    9   for Practitioners." So he clearly thought about the        9          A. There was more -- more indications of
   10   dichotomy, the risks, and the benefits. We wanted         10   respiratory depression dosed in the evening versus
   11   someone who was going to give, you know, a message        11   dosed in the morning.
   12   that's appropriate for sales representatives to hear.     12          Q. And did that research paper and
   13   BY MR. SAMSON:                                            13   finding lead to any label changes, like asking the
   14          Q. Okay. And was he, at any time while             14   FDA to let us say to dose it in the morning?
   15   you were at Mallinckrodt, a Covidien KOL, a key           15          A. It did not. Because it wasn't really
   16   opinion leader?                                           16   powered.
   17          A. He was a KOL for the safe use program           17          Q. Not enough participants?
   18   and the REMS program, not for commercial --               18          A. Yes. It would have been -- a much
   19   interaction with the commercial organization.             19   bigger study was needed. But we incorporated that
   20          Q. In that place as a KOL for REMS and             20   into our educational materials.
   21   safe use, he would have been under your budget in         21          Q. Had -- at the time that you left
   22   Medical Affairs?                                          22   Mallinckrodt, had you personally met Dr. Webster?
   23          A. Yes.                                            23          A. Oh, I've met Dr. Webster many times.
   24          Q. And were there specific Exalgo budget           24          Q. Okay. And did you have a high
   25   outlines in your Medical Affairs?                         25   opinion of him?

   Golkow Litigation Services                                                             Page 62 (242 - 245)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further63Confidentiality
                                                       of 99. PageID #: 240355
                                                                           Review
                                                   Page 246                                                         Page 248
    1         A. Extremely high.                                 1         A. That's what the things are usually
    2         Q. He developed a five-question survey             2   about. But I don't -- I don't recall.
    3   that he called, "The Opioid Risk Tool"?                  3         Q. Investigations?
    4         A. The ORT, O-R-T.                                 4         A. Yes. I don't know what the actual
    5         Q. And you are a supporter of that tool?           5   investigation was about.
    6         A. It was one of the tools in the                  6         Q. In fact, there was someone, a
    7   C.A.R.E.S. Alliance.                                     7   Lifetree patient, who overdosed in 2007 who was
    8         Q. And he asserted that it would, quote,           8   taking as many as 32 pain pills a day in the year
    9   predict accurately which individuals may develop         9   before she died; do you recall that?
   10   aberrant behaviors when prescribed opioids for          10         MR. DAVISON: Objection to form.
   11   chronic pain; true?                                     11         THE WITNESS: I do not know anything about
   12         MR. DAVISON: Objection to form.                   12   that.
   13   BY MR. SAMSON:                                          13   BY MR. SAMSON:
   14         Q. As you recall it?                              14         Q. Would -- there's another patient who
   15         A. As I recall it.                                15   sought treatment for pain at Lifetree after a serious
   16         Q. And was the book -- or one of the              16   car accident and multiple spine surgeries, quickly
   17   books that he published called, "The Painful Truth:     17   became addicted to opioids, and was prescribed
   18   What Chronic Pain is Really Like, and Why it Matters    18   increasing quantities of pills. At the time of her
   19   To Each of Us in Avoiding Opioid Abuse While Managing   19   death, she was on seven different medications,
   20   Pain"?                                                  20   totaling approximately 600 pills a month. Did you
   21         A. I don't know the book per se. But it           21   hear of that?
   22   sounds like something he would write.                   22         MR. DAVISON: Objection to form.
   23         Q. Have you ever read his book? Did you           23         THE WITNESS: No.
   24   read it back at the time?                               24   BY MR. SAMSON:
   25         A. Not at the time, no.                           25         Q. Another one who sought treatment from

                                                     Page 247                                                          Page 249
    1          Q. And not since?                                 1 Lifetree for chronic low back pain and headaches died
    2          A. No.                                            2 at age 42 after Lifetree clinicians increased her
    3          Q. Okay. Were you aware Dr. Webster and           3 prescriptions to 14 different drugs, including
    4   the Lifetree Clinic were investigated by the DEA for     4 multiple opioids, for a total of 1,158 pills a month.
    5   over-prescribing opioids?                                5 Were you aware of that?
    6          A. I was aware of that.                           6         A. No.
    7          MR. DAVISON: Objection.                           7         MR. DAVISON: Objection to form.
    8   BY MR. SAMSON:                                           8   BY MR. SAMSON:
    9          Q. And apparently it was -- they had 20           9         Q. If those three stories were
   10   patients die from overdoses that led to the --          10   consistent with the practices at Lifetree, would that
   11          A. That was the contention.                      11   fit within Art Morelli's definition of a pill mill?
   12          MR. DAVISON: Objection to form.                  12         MR. DAVISON: Objection to form.
   13          THE WITNESS: That was the contention, as I       13         THE WITNESS: I hesitate to say "yes" or
   14   remember. I don't remember the exact number. But        14   "no," because pill mills are a very, very unique kind
   15   there was a contention or an allegation, I guess is     15   of thing versus just garden variety, you know,
   16   the right word of that.                                 16   high-dose prescribing or over-prescribing, because of
   17   BY MR. SAMSON:                                          17   the economic angle and the pharmacy combined with the
   18          Q. And do you recall that the DEA                18   office angle.
   19   reported that he was prescribing a staggering number    19         So I wouldn't necessarily put that in a pill
   20   of opioid pills to patients under his care?             20   mill box, no.
   21          MR. DAVISON: Objection to form.                  21   BY MR. SAMSON:
   22          THE WITNESS: I don't recall that. But            22         Q. Since some of these things were in
   23   that's what those things usually are.                   23   2007 and 2008, at least as reported, Dr. Webster
   24   BY MR. SAMSON:                                          24   would have had them on his copy book at the time that
   25          Q. That's where what?                            25   you were introducing him to your sales staff at

   Golkow Litigation Services                                                           Page 63 (246 - 249)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further64Confidentiality
                                                       of 99. PageID #: 240356
                                                                           Review
                                                     Page 250                                                    Page 252
    1   Covidien; true?                                          1   to pass on the information you had heard? Because
    2          MR. DAVISON: Objection to form.                   2   I'm assuming what you heard did not qualify him, in
    3          THE WITNESS: Chronologically, yes.                3   your eyes, as remaining a spokesperson for an
    4   BY MR. SAMSON:                                           4   organization you were involved with?
    5          Q. Did you know about any DEA                     5         MR. DAVISON: Objection.
    6   investigation or patient deaths at the time when you     6         THE WITNESS: I did not. I did not.
    7   were presenting him to the sales staff?                  7         MR. SAMSON: 17?
    8          A. I did not.                                     8         THE REPORTER: I'm at 16.
    9          MR. DAVISON: Objection to form.                   9         MR. SAMSON: Oh, that's right. We're back
   10   BY MR. SAMSON:                                          10   to 1.
   11          Q. I take it, based on Art Morelli's             11                (Exhibit No. 16 was marked.)
   12   approach to truth and evidentiary-based results, had    12   BY MR. SAMSON:
   13   you heard those things, you would have had them         13         Q. Mr. Morelli, this is a February
   14   investigated and found out the truth of them?           14   2011 --
   15          A. Absolutely.                                   15         A. Okay.
   16          MR. DAVISON: Objection.                          16         Q. -- about a REMS KAB survey, email
   17   BY MR. SAMSON:                                          17   string.
   18          Q. And if, in fact, patients at                  18         (Witness reviewing document.)
   19   Dr. Webster's clinic were getting as many as 32 pain    19         A. Ah, okay. Okay. I see this. I see
   20   pills a day, would you be inviting him into             20   this. Okay.
   21   Mallinckrodt?                                           21         Q. Are you finished reading?
   22          MR. DAVISON: Objection.                          22         A. I am.
   23          THE WITNESS: I can't judge. But that's a         23         Q. Okay. Is this an episode that you
   24   lot of pills. So, you know, it would be a red flag.     24   recall independently, now that you've read this email
   25   ///                                                     25   string?
                                                    Page 251                                                         Page 253
    1 BY MR. SAMSON:                                             1          A. I do.
    2         Q. 600 pills a month, a real red flag?             2          Q. Okay. And if you'll turn to the
    3         A. It --                                           3   second page, the back of the first page for you, a
    4         MR. DAVISON: Objection.                            4   Tammy Spicer writes to Shawna Hawkins -- Hankins
    5         THE WITNESS: It seems like a lot. I found          5   about an experience she's just had with a nurse
    6   out about these allegations from a friend, who is        6   practitioner in a pain management office.
    7   also a physician, way, way after that. Way after I       7          A. Right.
    8   was gone.                                                8          Q. Who was Shawna Hankins? In Medical
    9   BY MR. SAMSON:                                           9   Affairs or outside?
   10         Q. Did you -- did you happen to call              10          A. District -- District Sales Manager in
   11   anyone who you knew at Covidien, who was still there,   11   the -- kind of the Arizona area.
   12   and say, my God, look at what -- I just learned this    12          Q. And if you'll start reading for me in
   13   stuff about Dr. Webster; is he still on staff?          13   the first paragraph after "Hi, Shawna." And you may
   14         A. No, I did not.                                 14   have already seen this, that sentence. The sentence
   15         MR. DAVISON: Objection.                           15   that starts with, "Ironically."
   16         MR. SAMSON: Let me withdraw it because            16          A. She was -- she's saying she was
   17   "staff" was poorly used.                                17   blindsided.
   18         Q. Was he still in the Covidien orbit of          18          Q. "With it."
   19   speakers?                                               19          Go ahead and just read it, please, for the
   20         A. I haven't spoken --                            20   record.
   21         MR. DAVISON: Objection.                           21          A. (Reading) Ironically I was
   22         THE WITNESS: -- to Dr. Webster since the          22            blindsided with it at no other than
   23   day I left Covidien.                                    23            Sandy Gallo's office, wherein I had
   24   BY MR. SAMSON:                                          24            just gotten approval to mention Exalgo
   25         Q. Did you speak with anyone at Covidien          25            in her office (end of reading).

   Golkow Litigation Services                                                           Page 64 (250 - 253)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further65Confidentiality
                                                       of 99. PageID #: 240357
                                                                           Review
                                                   Page 254                                                        Page 256
    1         That part I don't understand.                      1           during lunch. How exactly is this
    2         Q. Well, as I read it --                           2           going to affect your REMS -- which I
    3         A. I don't understand what was going on            3           don't understand -- I have seen a lot
    4 here.                                                      4           of cases where the surveys are paid
    5         Q.   Okay. Well, do you remember Sandy             5           but never scripts. This is going to
    6 Gallo as perhaps a high prescriber of --                   6           hurt the pain community. I don't know
    7          A. I don't remember.                              7           who else should see this, but we, as
    8          Q. -- or a big cheese in pain                     8           sales reps, definitely need some kind
    9   management?                                              9           of official position on this. My
   10          A. I don't remember the name Sandy               10           apologies for having no idea how to
   11   Gallo, no.                                              11           handle this one (end of reading).
   12          Q. So I'm assuming that what Ms. Spicer          12         Q. Okay. And then somehow Shawna
   13   is talking about, is that physicians may or may not     13   responds -- it says, "Shawna responds." Oh, there it
   14   be interested in hearing about a new medication?        14   is. Or moves it up to you and Mr. Wickline?
   15          MR. DAVISON: Objection to form.                  15         A. Yes.
   16   BY MR. SAMSON:                                          16         Q. Okay. And says -- or to Mr. Wesler,
   17          Q. Well, when I read, "I just got an             17   I guess is the "Mike" in --
   18   approval to mention Exalgo in her office," I'm          18         A. He's the Mike, yeah.
   19   assuming Sandy Gallo has the power of which drug reps   19         Q. And wants to know where we landed on
   20   she wants to let into her office and which drugs they   20   this one with sending out a heads-up to the customer
   21   get to talk about. Does that --                         21   facing teams?
   22          A. It could be.                                  22         A. Yes. In other words, inform them of
   23          MR. DAVISON: Objection to form.                  23   what's taking place.
   24          THE WITNESS: It could be. I don't know.          24         Q. Okay. And then Ms. Kissinger chimes
   25          MR. SAMSON: Okay.                                25   in and says that Lori Macklin saw this in her
                                                   Page 255                                                      Page 257
    1         THE WITNESS: Yeah.                                 1 territory last week too.
    2   BY MR. SAMSON:                                           2         Do you remember a Lori Macklin?
    3         Q. And then read on from, "To highlight            3         A. No, I don't. I remember Kissinger
    4   the document."                                           4   but not Lori Macklin.
    5         A. "You can't give me a pen, and now               5         Q. Okay. And then Mr. Wickline writes
    6   you're paying me for prescriptions." Which, of           6   to you.
    7   course, is not the case.                                 7         A. Right.
    8         Q. Hold on. You skipped --                         8         Q. To say that it would appear that the
    9         A. Oh, I missed something.                         9   REMS survey is causing some concern among some of our
   10         Q. You read through, "Mention Exalgo in           10   customers and catching the reps off guard.
   11   her office," in the first paragraph. Start that next    11         A. Right.
   12   sentence.                                               12         Q. Well, first of all, was it true that
   13         A. (Reading) To highlight the                     13   there was a hundred dollar per prescription of
   14           document, it's an offer to pain docs            14   Exalgo, up to ten, that a provider wrote as long as
   15           for $100 per Rx up to ten, if they              15   they agreed to fill out a survey?
   16           write Exalgo and complete a survey.             16         A. No.
   17           It says it's cosponsored by Covidien,           17         MR. DAVISON: Objection to form.
   18           though I saw no logos. Her objections           18   BY MR. SAMSON:
   19           were the following (end of reading).            19         Q. Okay. What was the program for --
   20         Q. And then, 1?                                   20   I'm assuming this is a KAB survey?
   21         A. (Reading) You can't even give me               21         A. This is a KAB survey --
   22           a pen, and now you're paying me for             22         Q. Which --
   23           prescriptions? You told me the FDA              23         A. -- required by the FDA.
   24           and its concerns over REMS, why --              24         Q. Which stands for?
   25           why -- why you could discuss Exalgo             25         A. Knowledge, attitude, and belief.

   Golkow Litigation Services                                                            Page 65 (254 - 257)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further66Confidentiality
                                                       of 99. PageID #: 240358
                                                                           Review
                                                       Page 258                                                     Page 260
    1          Q. Okay. And so how did this message --             1         And I'm assuming that's you or somebody from
    2   you're saying no one was offered a hundred dollars to      2   Medical Affairs --
    3   fill out that survey?                                      3         A. Right.
    4          A. Oh, no. They were offered a hundred              4         Q. -- telling district managers,
    5   dollars to fill out the survey. Quite clearly.             5   regional managers --
    6          Q. Okay. And were they required to have             6         A. Both.
    7   written a prescription before they got the survey?         7         Q. -- why it was, and they could then
    8          A. That I don't --                                  8   pass that on to their people?
    9          Q. A prescription for Exalgo?                       9         A. Right.
   10          A. That I don't remember. But I think              10         Q. Their respective people; correct?
   11   they were. Because this was a REMS -- this was a          11         A. It would have been better, in
   12   survey about KAB related to the product required          12   retrospect, to announce that the study was being
   13   under the auspices of our REMS program.                   13   conducted, but don't give the names of the
   14          And I -- my organization -- my team, Jenny         14   physicians, but just a blanket 150 physicians across
   15   and my team, designed and implemented this. We            15   the country are going to fill out a survey. You
   16   purposely did not inform the sales force -- maybe in      16   don't need to know who, what, when, why, or where,
   17   retrospect that was a mistake -- because what we          17   because we don't want your sticky fingers inside this
   18   didn't want is the sales force running into these         18   survey.
   19   doctors and using this as a way to talk to the doctor     19         Q. Then, number two, which you said:
   20   about stuff they don't need to be talking to the          20           (Reading) Agree, would be to discuss
   21   doctor about.                                             21           with sales, marketing and Medical
   22          This was needed to be a blind, straight            22           Affairs, advisability of a field
   23   survey, the results of which -- the protocol for this     23           communication on the subject. We can
   24   was approved by the FDA. The sample size was              24           prepare it (end of reading).
   25   approved by the FDA. And the FDA wants the results        25         A. Yes.
                                                     Page 259                                                           Page 261
    1   sent to them to review.                                    1         Q. She agreed with that?
    2         Q. And did you tell the FDA that you                 2         A. Jamie. Jamie is a guy. But, yeah,
    3   were going to pay people to fill out the survey?           3   he agreed with it.
    4         A. Yes. And they approved the amount of              4         Q. Okay. And then you thought address
    5   the payment under their guidelines.                        5   it during breakouts at the NSM via sales management
    6         Q. And was it -- where did the up to ten             6   at the PPS Team.
    7   prescriptions per hundred dollars come from?               7         A. Right.
    8         A. I don't know. Maybe what I'm                      8         Q. Can you --
    9   thinking, is maybe the guideline was the physician         9         A. National Sales Meeting, NSM. PPS,
   10   should at least have ten patients or written ten          10   Patient Product Safety team.
   11   prescriptions on Exalgo to have a sufficient              11         So we had our people fan out to the
   12   experiential base to answer the survey properly.          12   meetings, wherever they were held, to conduct this
   13   That's the only thing I can think of.                     13   breakout.
   14         Q. And then they got a hundred bucks,               14         Q. And basically you told them before
   15   the physician, or did they get a larger amount?           15   the next steps, that you had met your FDA and -- for
   16         A. No, they got a hundred.                          16   surveys of 150?
   17         MR. DAVISON: Objection.                             17         A. Yes. So we're not recruiting anymore
   18   BY MR. SAMSON:                                            18   physicians. Yeah.
   19         Q. And then later, up above, your                   19         Q. But then you were going to have
   20   response is that:                                         20   another survey in a few months, in which the survey
   21           (Reading) You agree with what you just            21   respondents need to be different?
   22           told me, the details of the REMS                  22         A. Right. So the requirement of the
   23           assessment and the need for the KAB               23   agency is you do two surveys with "X" amount of time
   24           survey at the manager's meeting (end              24   in between. But not the same doctors. So they
   25           of reading).                                      25   compare the results in this to the results in this,

   Golkow Litigation Services                                                             Page 66 (258 - 261)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further67Confidentiality
                                                       of 99. PageID #: 240359
                                                                           Review
                                                        Page 262                                                        Page 264
    1   two different surveys.                                        1   they are the REMS for Exalgo?
    2          Q. And no patient input in the survey                  2         A. Yes. It says here this is Exalgo,
    3   process? I mean, patient surveys?                             3   yeah.
    4          A. That I don't recall. There may have                 4         Q. Okay. And the -- at the top
    5   been a thing in there where the physician had to ask          5   there's -- you're included in an email copied about
    6   the patient a question. I don't recall. I'm pretty            6   an invite to the meeting tomorrow.
    7   sure it was just the doctor.                                  7         A. Uh-huh.
    8          Q. And then you see the black box, which               8         Q. Do you recall a meeting on the FDA's
    9   is --                                                         9   responses to Covidien's submission of REMS for
   10          A. Yeah.                                              10   Exalgo?
   11          Q. -- has been redacted. As we saw                    11         A. I do.
   12   earlier, your social security number, or things like         12         Q. And did it take place in St. Louis?
   13   that, are often redacted.                                    13         A. I don't remember.
   14          This one, William, puzzles me. Do you                 14         Q. Okay. And who all do you recall
   15   recall --                                                    15   being at the meeting?
   16          MR. DAVISON: I mean, I don't recall --                16         A. Various people who are involved in
   17          MR. SAMSON: -- by any chance, what --                 17   the formatting, the resubmission, the regulatory. It
   18          MR. DAVISON: -- off the top of my head.               18   was a cross-functional group of many people in the
   19   You can take a look at our redaction logs that we            19   organization.
   20   have produced on these items.                                20         Q. Given the slide show presentations
   21          MR. SAMSON: Okay.                                     21   I've seen, and your earlier testimony, you held a
   22          Q. I mean, given that your response and               22   pretty high perch in the REMS for Exalgo world --
   23   answers about the survey are not -- and unless you           23         A. I did.
   24   went to a lawyer in-house, wouldn't be privileged, do        24         Q. -- within Covidien?
   25   you have any idea what else might have been on here?         25         A. I did.
                                                          Page 263                                                        Page 265
    1        MR. DAVISON: Objection. I mean, you're                   1          Q. Do you recall there being any
    2 asking him to talk about something that's clearly               2   dissension or blame given at the meeting to discuss
    3 been redacted. I think that's incredibly                        3   these?
    4 inappropriate, to be honest, Mark.                              4          MR. DAVISON: Objection to form.
    5        MR. SAMSON: Okay.                                        5          THE WITNESS: I don't understand the
    6        MR. DAVISON: I'm going to instruct the                   6   question.
    7 witness not to answer.                                          7          MR. SAMSON: Sure.
    8        MR. SAMSON: All right. Let's go to No. 17.               8          Q. One can go to a business meeting, and
    9              (Exhibit No. 17 was marked.)                       9   it will be a very cooperative meeting of however many
   10        THE WITNESS: I'm going to need a bio break              10   people are there to come up with a response to an
   11 after this one.                                                11   outside agency's criticism of some project that the
   12        MR. SAMSON: You got it.                                 12   company has done. You've been to meetings like that,
   13        Do we have the attachment marked separately?            13   I assume?
   14        Let's reschedule your bio break.                        14          A. I have.
   15        THE WITNESS: Okay.                                      15          Q. And there are other meetings at which
   16        THE VIDEOGRAPHER: We are going off the                  16   there's blame and dispute and disagreement on how
   17 record. The time is 4:19 p m.                                  17   we're going to respond. Do you -- you've been to
   18        (Recess taken.)                                         18   meetings like that?
   19        THE VIDEOGRAPHER: We are back on the                    19          A. I have.
   20 record. The time is 4:29 p m.                                  20          Q. Do you recall whether this meeting,
   21 BY MR. SAMSON:                                                 21   about starting to respond to what the FDA had
   22        Q.   Mr. Morelli, you now have what's been              22   responded to the submitted REMS, was one or the
   23 marked as Exhibit 17 in front of you, which is a               23   other?
   24 single-page email and then attachments, which are the          24          A. So the tenor in this meeting was a
   25 FDA comments on the REMS documents. And I'm assuming           25   lot of excitement and a lot of interest to prepare a

   Golkow Litigation Services                                                                Page 67 (262 - 265)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further68Confidentiality
                                                       of 99. PageID #: 240360
                                                                           Review
                                                       Page 266                                                    Page 268
    1   high-quality response as soon as possible.                 1 reading again. Oh, this stuff.
    2         Q. Okay. And you read then, and I think              2         Q. B-1.
    3   you have read it again today, the FDA's response.          3         A. I see it now.
    4         It's true that REMS are supposed to fully            4         So this is -- there is the FDA going to
    5   and fairly explain the risks and benefits of the drug      5   school on what we submitted and providing guidance on
    6   to prescribers, pharmacists, caregivers, and               6   how they want it changed.
    7   patients? That's the goal?                                 7         Q. And they thought that how you
    8         MR. DAVISON: Objection to form.                      8   submitted or didn't submit, omitting REMS-specific
    9         THE WITNESS: The goal -- you're reading              9   risk information within the body of the -- are those
   10   point 8 there on page --                                  10   patient letters or physician letters?
   11   BY MR. SAMSON:                                            11         MR. DAVISON: Objection to form.
   12         Q. No, I was just reading -- that was               12         THE WITNESS: There's no patient letters.
   13   just a general statement.                                 13   There's letters to prescribers, pharmacies, and
   14         A. Oh. The goal is to -- there are two              14   professional associations. Yeah.
   15   goals of the REMS: To inform patients and providers       15         MR. SAMSON: Okay.
   16   about the potential for abuse, misuse, overdose and       16         THE WITNESS: They wanted it strengthened.
   17   addiction of Exalgo; and, two, to inform patients and     17   BY MR. SAMSON:
   18   providers about the safe use of Exalgo in                 18         Q. They wanted the risk sharing
   19   opioid-tolerant patients. Those are the two goals of      19   strengthened in your letters to match the label?
   20   the REMS.                                                 20         A. Right. Right.
   21         Q. Okay. They are not -- REMS are not               21         Q. Okay. And, in general terms,
   22   intended to be promotional vehicles?                      22   minimizing the risk of a medication would be expected
   23         A. Absolutely not.                                  23   to make it -- make more physicians want to prescribe
   24         Q. And that was certainly in keeping                24   it because it has lower risk?
   25   with your personal goal and Medical Affairs goal of       25         A. Uh-huh.

                                                     Page 267                                                      Page 269
    1 presenting science and medicine-based, evidence-based        1          MR. DAVISON: Objection to form.
    2 decision-making; true?                                       2   BY MR. SAMSON:
    3          A. Yes. Yes.                                        3          Q. Is that a "Yes"?
    4          Q. And promotion in marketing doesn't               4          A. That's a yes.
    5   belong in that either?                                     5          Q. Okay. And the FDA wanted
    6          MR. DAVISON: Objection to form.                     6   Mallinckrodt to change that about the REMS for
    7          THE WITNESS: They don't belong in that              7   Exalgo?
    8   to -- to create any content or to influence content.       8          A. They did.
    9   But they have to be aware of what's coming because         9          Q. Okay. (Reading) Number two,
   10   their sales rep and their marketing program has to be     10           the proposed REMS materials present
   11   such that it's promoting a product with a REMS. They      11           the claim, quote, the adverse event
   12   can't do anything against, in violation, or contra        12           profile of once daily Exalgo is
   13   against what the REMS is calling for.                     13           typical of strong opioids, period, end
   14   BY MR. SAMSON:                                            14           quote. The proposed claim minimizes
   15          Q. Okay. Turn in the FDA's response to             15           the risks associated with Exalgo
   16   boldfaced B, "Specific Comments." And in number one       16           therapy (end of reading).
   17   the FDA said:                                             17          A. Eliminate this language.
   18            (Reading) There's concern that the               18          Q. So the same thing as number one, a
   19            proposed REMS materials minimize the             19   criticism that the drafted REMS from Mallinckrodt
   20            risks of Exalgo by omitting the                  20   minimized or understated the risk, and that might
   21            REMS-specific risk information within            21   lead to inadvertent overuse on the part of
   22            the body of the letters and the                  22   physicians?
   23            brochure (end of reading).                       23          MR. DAVISON: Objection to form.
   24          Do you see that?                                   24   BY MR. SAMSON:
   25          A. Could you tell me where you're                  25          Q. True?

   Golkow Litigation Services                                                            Page 68 (266 - 269)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further69Confidentiality
                                                       of 99. PageID #: 240361
                                                                           Review
                                                          Page 270                                                          Page 272
    1          A. The FDA wanted us to change stuff in                1          A. It is. Nausea and vomiting.
    2   the document. We're going to do exactly what they             2          Q. Nausea and vomiting. Any others that
    3   want.                                                         3   would have been put on page 1?
    4          Q. Do you see any other reason, other                  4          MR. DAVISON: Objection to form.
    5   than misleading physicians into underestimating the           5          THE WITNESS: Somnolence. Drowsiness would
    6   risk, because the risk hasn't been spelled out in the         6   be commonly reported side effects.
    7   REMS materials for them, the FDA wanting this change?         7   BY MR. SAMSON:
    8          MR. DAVISON: Objection.                                8          Q. And the black box warning would have
    9   BY MR. SAMSON:                                                9   addiction, overdose, death, respiratory depression;
   10          Q. Number two --                                      10   correct?
   11          MR. DAVISON: Objection to form.                       11          A. Correct.
   12          THE WITNESS: I see the thing that was going           12          Q. And so those, for want of -- in a
   13   on here, is this was plowing new ground for our              13   layman's terms -- scarier risks are on page 3, and
   14   company. This was the first REMS that they ever              14   the most common, but not really all that
   15   submitted. They don't have experience in doing it.           15   life-threatening risks, are put on page 1; that's
   16   I didn't have experience in doing it. So we were             16   what happened --
   17   feeling our way along.                                       17          MR. DAVISON: Objection to form.
   18          And that's why the FDA has a review process.          18   BY MR. SAMSON:
   19   And whatever their specific comments are is exactly          19          Q. -- as you read this?
   20   what we're going to do.                                      20          A. It seems so. But we changed it.
   21   BY MR. SAMSON:                                               21          Q. Okay. Because the FDA made you?
   22          Q. And then, number three:                            22          MR. DAVISON: Objection to form.
   23            (Reading) The content and order of                  23          THE WITNESS: The FDA requested that we did
   24            presentation of the risk information                24   it, and we did it.
   25            within the proposed REMS materials                  25          MR. SAMSON: Okay.

                                                        Page 271                                                          Page 273
    1           minimizes the risks associated with                   1         THE WITNESS: They were right.
    2           Exalgo (end of reading).                              2   BY MR. SAMSON:
    3         And then they gave you an example of                    3         Q. No. 4:
    4   presenting the most commonly reported adverse offense         4           (Reading) Mallinckrodt, in its draft,
    5   on page 1, while the boxed label or warning -- label          5           left out the specific part of the
    6   warning isn't -- is presented on page 3 after the             6           indications on the label that it
    7   signature line.                                               7           wasn't for -- Exalgo was not for acute
    8         A. Right. This is a format issue. They                  8           pain, mild pain, or pain that wasn't
    9   prefer a format that puts the box warning more up             9           expected to persist for an extensive
   10   front, which is fine with me.                                10           period of time (end of reading).
   11         Q. Did you draft these REMS?                           11         True?
   12         A. No. No. I provided some oversight.                  12         A. That's what it says here, yeah. It's
   13         This is the first REMS creation of an                  13   not for those patients.
   14   opioid, long-acting opioid REMS that I was ever              14         Q. Okay. And the effect of that, not
   15   involved with. And we took our best shot. That's             15   putting in those specific "Don't use it for A, B, and
   16   why the FDA has a review process, to keep everybody          16   C," is to potentially leave patients or prescribers
   17   on the straight and narrow.                                  17   ignorant of the fact that it's not for those reasons?
   18         Q. Commonly reported adverse events,                   18         MR. DAVISON: Objection to form.
   19   what would those have included in Exalgo?                    19         THE WITNESS: No, you have to tell -- you
   20         MR. DAVISON: Objection to form.                        20   have to tell them what it's indicated for.
   21         THE WITNESS: I don't recall.                           21   BY MR. SAMSON:
   22   BY MR. SAMSON:                                               22         Q. And in this instance, what it's --
   23         Q. Constipation?                                       23         A. Not.
   24         A. That's a typical opioid side effect.                24         Q. -- specifically not indicated for --
   25         Q. And that is a commonly -- common one?               25         A. It's always best.

   Golkow Litigation Services                                                                 Page 69 (270 - 273)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further70Confidentiality
                                                       of 99. PageID #: 240362
                                                                           Review
                                                      Page 274                                                     Page 276
    1         Q. -- if the FDA in your label says you             1 tended to minimize the risks?
    2   need to mention these, not uses in your label; true?      2        MR. DAVISON: Objection to form.
    3         A. True.                                            3 BY MR. SAMSON:
    4         Q. And, again, Mallinckrodt submitted it            4         Q. True?
    5   without the "don't use it for these things" part of       5         A. They requested changes, and we made
    6   the label?                                                6   the changes.
    7         MR. DAVISON: Objection to form.                     7         MR. SAMSON: Let's move to -- I will take a
    8         THE WITNESS: Apparently.                            8   wild guess -- 18.
    9   BY MR. SAMSON:                                            9         THE REPORTER: Yes.
   10         Q. Number five and number seven, the FDA           10         THE WITNESS: Are we done with this one?
   11   decided that those two were promotional in tone?         11         MR. SAMSON: Yes. Unless somebody else may
   12         A. Yeah, they didn't like the word                 12   have questions of you about it.
   13   "pleased." That's not something you say in a             13                 (Exhibit No. 18 was marked.)
   14   regulatory communication.                                14         MR. SAMSON: That's it.
   15         Q. And that was in number five; right?             15         Counsel, this one is, as you'll see, is not
   16         A. Uh-huh.                                         16   Bates consistent. I wanted to just keep the number
   17         Q. And then what about in seven?                   17   of exhibits to a minimum. There's a -- the first
   18         MR. DAVISON: Objection to form.                    18   page of Exhibit 18 is a stand-alone exhibit that just
   19   BY MR. SAMSON:                                           19   came out of the documents as the suspicious ordinary
   20         Q. I will read it to you:                          20   monitoring team charter.
   21           (Reading) Remove the second paragraph            21         The other one -- the rest of the pages of
   22           of the letters. These claims and                 22   this exhibit are from a different document in the
   23           presentation are promotional in tone             23   production.
   24           and focus on promoting the benefits of           24         And then let me give him, because it will
   25           the treatment rather than on educating           25   come to a question about it, 19. That will be 19.

                                                      Page 275                                                       Page 277
    1           about the serious risks of treatment,             1                (Exhibit No. 19 was marked.)
    2           period (end of reading).                          2         (Witness reviewing document.)
    3         A. Uh-huh.                                          3   BY MR. SAMSON:
    4         Q. And, again, when you looked at this,             4         Q. Ready, Mr. Morelli?
    5   you agreed that the FDA was right to say --               5         A. I'm ready.
    6         A. Totally right.                                   6         Q. All right. This is -- the first page
    7         Q. -- to take it out?                               7   of 18 is a Suspicious Order Monitoring Team Charter,
    8         A. The standard of performance in a                 8   and it shows as of updated 4-7-11 -- right next --
    9   sales presentation is a balanced presentation, risks      9   under the charter.
   10   and benefits. That's not the standard here. It's         10         A. Yep.
   11   only risks that are presented, not benefits.             11         Q. -- that you were listed as a member
   12         Q. Well, and to put benefits in under              12   of the Suspicious Order Monitoring Steering Committee
   13   those rules is to promote?                               13   as of April 7, 2011. Was that true?
   14         A. Yeah, that's the way the FDA looks at           14         A. That was true.
   15   it. And they are completely correct.                     15         Q. Okay. When were you appointed to
   16         Q. Okay. And then if we go to number               16   that team?
   17   eight in the D Section, there was a text box on top      17         A. I don't recall. But during my stay
   18   of the letters, apparently?                              18   at Mallinckrodt. I mean --
   19         A. I don't remember the letters. But if            19         Q. Were you on it when you were a
   20   they say there was, there was.                           20   consultant?
   21         Q. And the presentation of the                     21         A. Oh, no. No.
   22   information within the box has a header, "Minimizes      22         Q. Okay. So sometime after the end of
   23   the REMS risks associated with Exalgo."                  23   October, 2009, up to April of 2011, you would have
   24         And, again, the FDA in REMS didn't accept          24   become a member?
   25   what it viewed as Exalgo's drafting or layout that       25         A. Probably.

   Golkow Litigation Services                                                            Page 70 (274 - 277)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further71Confidentiality
                                                       of 99. PageID #: 240363
                                                                           Review
                                                        Page 278                                                      Page 280
    1          Q. Okay. Before being appointed to the               1 the team, was there any other Medical Affairs person?
    2   Mallinckrodt Suspicious Order Monitoring Team, had          2        A.    Not to my knowledge, no. And there
    3   you ever served on a Suspicious Order Monitoring Team       3 are none from this list that were Medical Affairs.
    4   before?                                                     4         Q. Okay. What was your job or role on
    5          A. No.                                               5   the Suspicious Order Monitoring Team, if any?
    6          Q. Ever had any contact with that in the             6         A. My role was to make the Suspicious
    7   pharmaceutical business, suspicious order monitoring?       7   Order Monitoring Team aware of what we were doing on
    8          A. I was aware it existed. I was never               8   the REMS side and the safe use side so they would
    9   involved with it directly.                                  9   have awareness of that, and how it's relevant to the
   10          Q. And what was your basic                          10   overall vigilance of the company, how it fits with
   11   understanding?                                             11   the vigilance of the customer, of which the
   12          A. Well, my basic understanding is the              12   suspicious order monitoring system is one program
   13   whole supply chain process is an opportunity to limit      13   for, you know, proper vigilance.
   14   diversion. Now, diversion is not within a REMS             14         Q. Okay. And explain to me how you
   15   program, because diversion is not an FDA program.          15   explained to them that suspicious order monitoring
   16   It's a DEA program. But it's still important.              16   and accurate REMS, in the case of Exalgo, fit
   17          So that's -- that's my -- that's how it             17   together into one goal?
   18   involved me. Because if it improves safety, I'm            18         MR. DAVISON: Objection to form.
   19   interested in it.                                          19         THE WITNESS: What I was trying to impress
   20          Q. And does safety involved in reducing             20   upon the team is the need for granularity of data.
   21   diversion, may not be to an individual patient being       21         For example, drug distribution data to a
   22   prescribed medications and taking it that has safety       22   wholesaler or a warehouse might be interesting but
   23   aspects around it, but the public safety?                  23   not particularly helpful. Whereas, drug -- opioid
   24          MR. DAVISON: Objection to form.                     24   distribution to an individual pharmacy is much more
   25          THE WITNESS: The public safety, yeah.               25   helpful.

                                                      Page 279                                                           Page 281
    1 BY MR. SAMSON:                                                1          So, as I remember, we sometimes had access
    2         Q. Do you recall how you were appointed               2   to that level of detail, and sometimes we didn't.
    3   or by whom to the Suspicious Order Monitoring Team?         3   And what that would show is an individual pharmacy in
    4         A. It would have had to be Herb Neuman.               4   X, Y, Z ZIP code of the United States would have a --
    5         Q. Do you remember replacing someone                  5   sort of an out-of-profile order, where they would
    6   else from Medical Affairs?                                  6   order ten, ten, ten, they would order a hundred, then
    7         A. No.                                                7   ten, ten. So why did they order a hundred? It could
    8         Q. Did you ever learn that we always had              8   be completely innocuous. We don't know.
    9   somebody from Medical Affairs on the Suspicious Order       9          But then we're going to -- if we know that,
   10   Monitoring Team?                                           10   then we can go back to what the prescription data is,
   11         A. I don't recall that, no.                          11   which is ZIP-code based, and see if there's any
   12         Q. Okay. And it looks like the steering              12   correlation. We can go back to reports of pill mills
   13   committee, which is where you show up, had                 13   and reports of other suspicious activity because we
   14   once-a-quarter meetings?                                   14   know who's prescribing and what they are prescribing.
   15         A. It sounds right, yeah.                            15          So if we see -- if we see a dermatologist
   16         Q. Does that fit with your memory?                   16   prescribing massive amounts of opioids, we're going
   17         A. It fits with my memory.                           17   to look into that. We're not going to just let that
   18         Q. Do you have a memory of how many                  18   lay. Or if we see a surgeon, to give an example, a
   19   times you remember going to the suspicious order           19   surgeon prescribing Exalgo, that's a big problem. We
   20   monitoring quarterly meeting?                              20   have to look into that.
   21         A. Maybe two -- maybe two or three                   21          So having more data gives us more
   22   times. Yeah.                                               22   information and more insight.
   23         Q. And I don't see anybody else from                 23   BY MR. SAMSON:
   24   Medical Affairs that was on it, at least at this           24          Q. And did you -- were you a voice for
   25   point. Was there ever any other -- when you were on        25   more data, get whatever we can to show where our

   Golkow Litigation Services                                                              Page 71 (278 - 281)
Case: 1:17-md-02804-DAP Doc #: 1982-4 Filed: 07/24/19 72 of 99. PageID #: 240364
Case: 1:17-md-02804-DAP Doc #: 1982-4 Filed: 07/24/19 73 of 99. PageID #: 240365
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further74Confidentiality
                                                       of 99. PageID #: 240366
                                                                           Review
                                                      Page 290                                                       Page 292
    1   quarterly meeting?                                        1           storage of opioid analgesics to avoid
    2         MR. DAVISON: Objection to form.                     2           misuse, abuse, addiction, diversion,
    3         THE WITNESS: Basically. I didn't see any            3           and overdose (end of reading).
    4   massive red flags, and certainly none on Exalgo.          4         Q. So diversion is and was important to
    5   Because the volume was so low.                            5   Mallinckrodt?
    6   BY MR. SAMSON:                                            6         A. Absolutely.
    7         Q. Did you get reports, either weekly,              7         Q. Can you -- assuming that my
    8   monthly, quarterly, or anything about how suspicious      8   hypothetical is right, and Mallinckrodt increased the
    9   order monitoring programs were working?                   9   increase of order necessary to cause investigation of
   10         A. No.                                             10   the order, how that possibly helped reduce diversion?
   11         Q. As a member of the board?                       11         MR. DAVISON: Objection to form.
   12         A. No, not that I remember.                        12         THE WITNESS: I don't think it necessarily
   13         Q. I keep calling it the board.                    13   helped reduce or increase diversion. That's --
   14         A. I know.                                         14   distributing drugs through a proper channel is not
   15         Q. The team.                                       15   diversion. It's when they -- diversion is the
   16         A. The team, yeah.                                 16   possession of a drug by someone who is not authorized
   17         Q. Okay. Now, decreasing diversion --              17   to possess it.
   18   although, as you pointed out, not an FDA thing --        18         Wholesalers are authorized to possess it.
   19   that was an important Covidien goal; true?               19   Pharmacies are authorized to possess it. Patients
   20         A. Very important.                                 20   who have been prescribed are authorized to possess
   21         Q. And across all the opioids, not just            21   it. Others are not. That's diversion.
   22   Exalgo?                                                  22   BY MR. SAMSON:
   23         A. From the C.A.R.E.S. Alliance                    23         Q. Okay. So what do you call the pill
   24   perspective, absolutely across all the opioids.          24   mill in Florida, where physician A is both dispensing
   25         Q. Okay. And let me ask you to look at             25   and prescribing opioids as fast as he or she can just

                                                    Page 291                                                           Page 293
    1   Exhibit 19 --                                             1   for the profit of it?
    2         A. Okay.                                            2          MR. DAVISON: Objection to form.
    3         Q. -- which you also have there. And I              3          THE WITNESS: It's not diversion. It's a
    4   will send you to -- it looks like I've got page 3 on      4   very serious problem. But technically it's not
    5   it.                                                       5   diversion. It's -- it's overprescribing and improper
    6         A. What does it look like?                          6   prescribing, is how I would characterize it. Yeah.
    7         Q. That's -- that's not it. No.                     7   BY MR. SAMSON:
    8         A. It looks like the back. Let's see                8          Q. And would that be something that
    9   what you're --                                            9   Mallinckrodt had an interest, when you were there, in
   10         Q. This is, "Safe and Appropriate Use of           10   identifying and stopping, if it could?
   11   Opioids from C.A.R.E.S. Alliance."                       11          MR. DAVISON: Objection to form.
   12         MS. GAFFNEY: It's the back page.                   12          THE WITNESS: We did. We did. And we did
   13         THE WITNESS: Yeah, I got it. I think I             13   it, actually.
   14   have it now.                                             14   BY MR. SAMSON:
   15   BY MR. SAMSON:                                           15          Q. And why do you say, "we did it"?
   16         Q. All right. Now, "Introducing                    16          A. Because we had examples, and I can't
   17   C.A.R.E.S. Alliance."                                    17   remember where, of sales reps reporting -- and this
   18         A. Right.                                          18   is in the day of television quality pill mills. We
   19         Q. And there's a mission statement;                19   all saw the videos, right. Sat there in disbelief at
   20   right?                                                   20   what we were watching. So it was fairly easy to
   21         A. Yes.                                            21   identify, quite frankly.
   22         Q. And then there are objectives. And              22          So we -- part of our training of our reps --
   23   read the first objective of the C.A.R.E.S. Alliance.     23   because they are the ones that are going out there,
   24         A. (Reading) To ensure responsible                 24   they are the ones that are going to see these pill
   25           prescribing, dispensing, use and                 25   mills, to report that pill mill and to stay out of

   Golkow Litigation Services                                                            Page 74 (290 - 293)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further75Confidentiality
                                                       of 99. PageID #: 240367
                                                                           Review
                                                     Page 294                                                              Page 296
    1 it.                                                           1   knowledge from other pharmaceutical uses, what is a
    2         Q. Okay. During your time as                          2   charge-back?
    3   Vice President of Medical Affairs at Mallinckrodt,          3         A. A charge-back is a way to price
    4   were you familiar with the phrase that an opioid            4   adjust for drugs that are sold at a certain price and
    5   manufacturer needed to, quote, know its customer, end       5   then reimbursed at a lesser price to keep the system
    6   quote?                                                      6   whole. So it's a credit that the pharmaceutical
    7         MR. DAVISON: Objection to form.                       7   company issues.
    8         THE WITNESS: The opioid manufacturer needed           8         Q. And in a -- say Mallinckrodt sells
    9   to know its customer. I never heard anyone say that,        9   generic oxy to Cardinal at a given price.
   10   no.                                                        10         A. Right.
   11   BY MR. SAMSON:                                             11         Q. And then market factors influence
   12         Q. And you never heard, either, another              12   that for Cardinal to sell it, it's got to sell it at
   13   phrase, "You don't only have to know your customer         13   a lower price, maybe even than it bought it.
   14   but also his customer"?                                    14         A. Yeah.
   15         A. No.                                               15         MR. DAVISON: Objection to form.
   16         Q. You would agree with me, though, that             16   BY MR. SAMSON:
   17   in terms of safety in the opioid space, to the extent      17         Q. And that's where charge-backs come
   18   Mallinckrodt had the ability to be aware of where its      18   into the pharmaceutical instrument; is that true?
   19   distributors' customers might be selling its opioids       19         A. That's right.
   20   downstream, it would need to make use of that ability      20         Q. And that means that Cardinal informs
   21   to find out where its drugs were going?                    21   Mallinckrodt of the sale and how badly it got hurt,
   22         MR. DAVISON: Objection to form.                      22   and Mallinckrodt then makes what's called a
   23         THE WITNESS: Oh, of course.                          23   charge-back relief, so to speak, on what Cardinal
   24   BY MR. SAMSON:                                             24   owes for the drugs; right?
   25         Q. All right. And also if it had the                 25         MR. DAVISON: Objection to form.
                                                        Page 295                                                      Page 297
    1   ability on data that it had within its possession and       1         THE WITNESS: Right.
    2   control, that it could use that to identify                 2   BY MR. SAMSON:
    3   downstream clients that might be buying from multiple       3         Q. If we're dealing with opioids, when
    4   sources?                                                    4   Mallinckrodt would receive charge-back data from a
    5         A. Which does happen.                                 5   distributor, a customer of its, and received
    6         Q. And would that be something that                   6   charge-back data from another distributor, it would
    7   Mallinckrodt would be all over?                             7   have potentially a list of physicians or clinics who
    8         MR. DAVISON: Objection. Sorry. Objection              8   were buying from both distributors; true?
    9   to form.                                                    9         MR. DAVISON: Objection to form.
   10         THE WITNESS: It would be.                            10         THE WITNESS: Not physicians. Physicians
   11   BY MR. SAMSON:                                             11   don't buy opioids. They prescribe them.
   12         Q. Were you ever aware of something                  12         So the pharmacies would be purchasing the
   13   called charge-back data?                                   13   opioids from the distributor, and those prescriptions
   14         A. Yes.                                              14   would be filled at those pharmacies.
   15         Q. When did you become aware of that?                15   BY MR. SAMSON:
   16         A. Oh, years and years and years ago.                16         Q. And --
   17         Q. Prior to going to Mallinckrodt?                   17         A. Physicians cannot possess opioids
   18         A. Oh, long before.                                  18   unless they have a special license to possess them.
   19         Q. And did you have any thought, while               19         Q. Other than in Florida?
   20   you were there, that Mallinckrodt probably had             20         A. I don't know about Florida. Maybe
   21   charge-back data that would give it insight into           21   Florida is weird. I don't know.
   22   where the drugs -- its drugs were ending up?               22         Q. They are a dispensing state where the
   23         A. No, I didn't. I had no involvement                23   physicians dispense.
   24   with the charge-back system at Mallinckrodt.               24         A. Controlled substances?
   25         Q. Sitting here, and based on your                   25         Q. Oh, yeah.

   Golkow Litigation Services                                                               Page 75 (294 - 297)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further76Confidentiality
                                                       of 99. PageID #: 240368
                                                                           Review
                                                     Page 298                                                         Page 300
    1         MR. DAVISON: Objection to form.                     1   BY MR. SAMSON:
    2   BY MR. SAMSON:                                            2          Q. Okay. Do you see any reason not to
    3         Q. Wasn't that one of the big fuelers of            3   add charge-back data to that other data that you have
    4   the Florida pill mills especially?                        4   from the prescriptions itself?
    5         A. That's not how I looked at it.                   5          MR. DAVISON: Objection to form.
    6         MR. DAVISON: Objection.                             6          THE WITNESS: I don't think it's
    7   BY MR. SAMSON:                                            7   particularly helpful. But maybe I'm wrong. I'm not
    8         Q. Well, assuming that Mallinckrodt had             8   a data analyst. Maybe there's another way to cut
    9   that charge-back data -- which it would have;             9   this data that might be helpful. I just don't know.
   10   correct?                                                 10   BY MR. SAMSON:
   11         MR. DAVISON: Objection to form.                    11          Q. Well, if Mallinckrodt was truly a
   12   BY MR. SAMSON:                                           12   champion in eliminating the over-sale and overuse of
   13         Q. From all of the places where it sold            13   opioids in the time that you were there, wouldn't you
   14   its drug on the distributor label -- level?              14   expect them to look into every possible way of
   15         A. Probably --                                     15   identifying misuse by identifying where large amounts
   16         MR. DAVISON: Objection to form.                    16   of their drugs were going?
   17   BY MR. SAMSON:                                           17          MR. DAVISON: Objection to form.
   18         Q. And that charge-back data, the                  18          THE WITNESS: That's what I would do. And
   19   Mallinckrodt direct customer has to give it,             19   that's what I did with Exalgo. And that was my area
   20   Mallinckrodt, information about where those drugs        20   of responsibility. So that's what I will stand and
   21   went; correct?                                           21   swear to.
   22         MR. DAVISON: Objection to form.                    22   BY MR. SAMSON:
   23         THE WITNESS: So if we had the data of which        23          Q. Okay. And you did that because that
   24   pharmacies were buying which quantities of opioids,      24   was consistent with your view of the responsibilities
   25   that would be overall useful in tracking down where      25   of responsible pharmaceutical companies; correct?

                                                      Page 299                                                     Page 301
    1 problems are occurring. We have the prescription            1          A. True.
    2 data already. We know who's prescribing. How much           2          Q. You didn't make that up as an Art
    3 they are prescribing. We know their ZIP code. We            3   Morelli code of honor; did you?
    4 know who they are. Okay. We already have that.              4          MR. DAVISON: Objection to form.
    5        We don't have the patients, because we can't         5          THE WITNESS: No, I did not.
    6 have patient information. But we know the                   6   BY MR. SAMSON:
    7 prescriptions that are written by a given physician.        7          Q. And you would expect any other
    8        That's the most important information. It's          8   responsible member of the pharmaceutical industry to
    9 more important than charge-backs, because it's even         9   do -- reach for the same goal that you were reaching
   10 more granular, down to the physician level. So that        10   for; true?
   11 empowers us -- I'm talking Exalgo now -- that              11          MR. DAVISON: Objection to form.
   12 empowers us to identify massive, you know, really          12          THE WITNESS: I think you will get feedback
   13 large and kind of unexpected levels of prescribing         13   that I set very high standards when I worked at
   14 or, even more importantly, prescribing activity by a       14   Mallinckrodt for the work that I was overseeing or
   15 physician specialty who you would not expect would be 15        personally doing.
   16 doing a lot of pain management, like a pediatrician.       16   BY MR. SAMSON:
   17 But the complicating factor is, physician specialties      17          Q. Let's look at --
   18 are recorded by their AMA specialty designation. So        18          A. Are we still on this slide deck here?
   19 that's how they did their training. It may not be          19          MR. SAMSON: No. You can put that away.
   20 what they are practicing. Because they are still           20   And let me see.
   21 licensed.                                                  21          MS. GAFFNEY: Can we go off the record for a
   22      So it's not so simple that you see a                  22   second and get --
   23 pediatrician prescribing Exalgo, and that's                23          MR. SAMSON: Oh, get that. Okay. Let's go
   24 automatically a problem. It could be a pediatrician        24   off the record.
   25 who is trained and now is a pain specialist.               25          THE VIDEOGRAPHER: We are going off the

   Golkow Litigation Services                                                            Page 76 (298 - 301)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further77Confidentiality
                                                       of 99. PageID #: 240369
                                                                           Review
                                                            Page 302                                                     Page 304
    1 record. The time is 5:21 p m.                                     1   came in. Yeah.
    2        (Recess taken.)                                            2         MR. SAMSON: All right. And now let me --
    3               (Exhibit No. 20 was marked.)                        3         THE WITNESS: Are we done with this one?
    4        THE VIDEOGRAPHER: We are back on the                       4         MR. SAMSON: Yeah.
    5 record. The time is 5:30 p m.                                     5         THE WITNESS: Oh, okay.
    6 BY MR. SAMSON:                                                    6         THE REPORTER: 21.
    7        Q.    Mr. Morelli, you've got Exhibit 20 in                7                 (Exhibit No. 21 was marked.)
    8 front of you. And I will tell you, for the record,                8         (Witness reviewing document.)
    9 it's a portion, just to cut down on forest loss, of               9   BY MR. SAMSON:
   10 the entire presentation. And I wanted to turn your               10         Q. Are you -- have you read it,
   11 attention to the back page, which is headed, "Team               11   Mr. Morelli?
   12 Membership."                                                     12         A. I have.
   13        A.    Uh-huh.                                             13         Q. This is an email string between
   14        Q.    And this is a list people in Medical                14   yourself and Rod Hughes with some other CCs on it?
   15 Affairs in the first row; correct?                               15         A. Yes.
   16        A.    Yes. Yes.                                           16         Q. And the subject line from Mr. Hughes
   17        Q.    And it then says who does what on                   17   is, "Prescription Pain Killers, colon, Company's
   18 Strategy and Development Team, Exalgo Implementation             18   Attempt Abuse Proof Opioids, ABC News." Correct?
   19 Team, PENNSAID Implementation Team, and then Generic             19         A. Correct.
   20 Products Implementation Team.                                    20         Q. And then Mr. Hughes writes to JoAnna
   21        Who -- it says everyone in PPS is in on the               21   Schooler. Was she in Medical Affairs?
   22 Generic Products Implementation Team. Is that a REMS             22         A. No. She's a communications person.
   23 team, or what? What's being implemented?                         23         Q. (Reading) JoAnna, I am sure you
   24        A.    Yeah, there were --                                 24           have this, but I wanted to highlight
   25        MR. DAVISON: Objection.                                   25           this just in case. It is remarkable

                                                        Page 303                                                       Page 305
    1          THE WITNESS: There were certain generic                  1           how Purdue has positioned their
    2   products that had certain FDA requirements for                  2           product as abuse proof. They did this
    3   certain things that we had to do. And that's --                 3           by showing no data. The Exalgo
    4   that's what that was.                                           4           deterrent abuse features are just as
    5   BY MR. SAMSON:                                                  5           good, if not better, than Oxycontins.
    6          Q. And then PV, what part of Medical                     6           In fact, that tablet also uses Polyox
    7   Affairs was that? I have forgotten if you told me.              7           as the excipient (end of reading).
    8          A. Pharmacovigilance.                                    8          Did I read that correctly?
    9          Q. And that was Danielle?                                9          A. You did.
   10          A. Eddie and Danielle. Danielle is a                    10          Q. Was there Polyox in Exalgo?
   11   physician. Eddie is a pharmacist.                              11          A. I don't recall. But I believe there
   12          Q. But specifically for generics                        12   was.
   13   implementation?                                                13         Q. Okay. And what, as you recall, was
   14          A. Oh. Danielle, yeah.                                  14   the function of Polyox?
   15          Q. And that's, again, just to do with                   15         A. It was an excipient.
   16   the REMS? That was all that you guys had to do                 16         Q. Which means to?
   17   with -- any generic that required REMS from the FDA?           17         A. It was a nonactive ingredient, but
   18          A. So, yes. Elements of safe use, put                   18   part of the formulation.
   19   it that way. Because this is so far back, some of              19         Q. And what -- what did Polyox add to
   20   these -- it was before REMS -- REMS came in in 2007.           20   the drug?
   21   So it was pre -- pre-REMS, but it was still certain            21         A. I don't really know.
   22   safe use elements that we had to do, yeah.                     22         Q. Did it make it more bioavailable?
   23          Q. Okay. But, I mean, 2007 you hadn't                   23         A. I don't know.
   24   even arrived at Mallinckrodt?                                  24         Q. And you think Exalgo may have used it
   25          A. Right. That's when the legislation                   25   as well?

   Golkow Litigation Services                                                                 Page 77 (302 - 305)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further78Confidentiality
                                                       of 99. PageID #: 240370
                                                                           Review
                                                      Page 306                                                       Page 308
    1         A. It may have.                                      1   BY MR. SAMSON:
    2         Q. Did it have any potential abuse                   2         Q. And so were you expressing your
    3   deterrent reason to be in either Oxycontin or in           3   frustration in having to be in competition with a
    4   Exalgo?                                                    4   company who you thought ignored the principles of
    5         A. I don't know.                                     5   pharmaceutical safety and reporting?
    6         MR. DAVISON: Objection to form.                      6         MR. DAVISON: Objection to form.
    7   BY MR. SAMSON:                                             7         THE WITNESS: Not so much, no. I would just
    8         Q. All right. And your comment to what               8   think, rather than compare ourselves to other
    9   Mr. Hughes wrote to JoAnna was:                            9   companies, we just know what's right, and we have to
   10          (Reading) Another reminder of who we               10   lead with what we know is right.
   11          are dealing with and why our industry              11   BY MR. SAMSON:
   12          has the problems it does. We must                  12         Q. And what was the industrywide problem
   13          lead (end of reading).                             13   that you were referencing?
   14         A. Right.                                           14         MR. DAVISON: Objection to form.
   15         Q. "We," Covidien?                                  15         THE WITNESS: Well, it's quite well known
   16         A. Correct.                                         16   that the perception, the public perception of the
   17         Q. "Who we were dealing with" was                   17   pharmaceutical industry, is pretty low, and stunts
   18   Purdue?                                                   18   like this can't possibly be helpful. That's what I
   19         A. The industry in general, quite                   19   was thinking of when I wrote this.
   20   frankly.                                                  20   BY MR. SAMSON:
   21         Q. Okay. And why did you, Art Morelli,              21         Q. And Mr. Hughes wrote back that he
   22   believe that in 2000 -- 2011 the industry, the            22   agreed?
   23   pharmaceutical industry, or more narrowly the opioid      23         A. Right.
   24   pain space -- which one were you targeting?               24         Q. Did you ever sit down and have a
   25         MR. DAVISON: Objection to form.                     25   discussion with Mr. Hughes --

                                                       Page 307                                                       Page 309
    1          THE WITNESS: Well, this email was about the         1          A. I don't recall.
    2   opioid pain space, but I was making a more general         2          Q. -- about this series of events?
    3   statement.                                                 3          A. I had many discussions with
    4          MR. SAMSON: Okay.                                   4   Mr. Hughes, but not -- not specifically about this,
    5          THE WITNESS: Not to exclude opioids, but to         5   that I remember.
    6   include them in that.                                      6          Q. When you decided to leave
    7   BY MR. SAMSON:                                             7   Mallinckrodt, part of it, you said, was not wanting
    8          Q. And explain to me your phrasing of,              8   to remain in St. Louis; correct?
    9   "This is why our industry has problems"?                   9          A. It was. It was a big part. The
   10          A. Well, I don't have the primary                  10   biggest part, actually.
   11   article here, so I really can't comment definitively      11          Q. Okay. You also, though, had -- were
   12   on -- on that.                                            12   just into the -- not the launch, but the development
   13          But the overarching statement is, you don't        13   of Exalgo; correct?
   14   have an abuse deterrent indication. Don't try to          14          A. Oh, no, it was after --
   15   position your product as abuse deterrent.                 15          MR. DAVISON: Objection to form.
   16          Q. Well, and from the Art Morelli who              16          THE WITNESS: -- well after the launch.
   17   has appeared today, don't make that statement without     17   BY MR. SAMSON:
   18   showing data that supports it; correct?                   18          Q. And you put in the REMS?
   19          A. But even if you have --                         19          A. Put in the REMS. The REMS was
   20          MR. DAVISON: Objection to form.                    20   approved and in place. The C.A.R.E.S. Alliance was
   21          THE WITNESS: -- even if you have data,             21   fully developed and launched, because it launched in
   22   that's helpful, but it's not definitive. You have to      22   2010 at the Pain Week meeting. And the team was in
   23   have the indication to promote and position your          23   place, established. And, you know, it's like, I
   24   product as abuse deterrent.                               24   guess, leaving it -- leaving it at your peak kind of
   25   ///                                                       25   concept.

   Golkow Litigation Services                                                             Page 78 (306 - 309)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further79Confidentiality
                                                       of 99. PageID #: 240371
                                                                           Review
                                                            Page 310                                                      Page 312
    1         Q.   How did Exalgo do? Did you keep                      1 Dr. Neuman. I've had many interactions with
    2 track of your little baby after you left?                         2 Dr. Neuman. And I've worked with Dr. Neuman or
    3         MR. DAVISON: Objection to form.                           3 subsequent projects.
    4         THE WITNESS: Very, very lightly, if not at                4        Q.    Okay. What have you worked with him
    5 all, you know. Maybe in a discussion on the phone                 5 on?
    6 with Herb here and there, but that would be -- that               6        A.    The Ohio State Initiative for Cancer.
    7 would be about it. I never saw data, or I never                   7 At Enlyton, the Advanced Cancer Imaging Company. I
    8 really had any insights, you know.                                8 think those are the only two. And both of those are
    9 BY MR. SAMSON:                                                    9 kind of long, long duration kind of engagements.
   10         Q.   Did you get enough information to                   10         Q. Is Mr. Neuman still at Covidien?
   11 determine whether or not it had been a hit drug or a             11         A. Oh, no. He left after I did, but
   12 so-so drug, or a drug that never quite caught on?                12   soon after.
   13         MR. DAVISON: Objection to form.                          13         Q. Did you ever trade stories about your
   14         THE WITNESS: I can't comment on that. I                  14   days at Covidien with Dr. Neuman?
   15 don't know.                                                      15         A. Sorry. That's privileged and
   16 BY MR. SAMSON:                                                   16   confidential.
   17         Q.   Is it still on the market?                          17         Q. That's a new privilege that's not
   18         A.   Genericized, yeah. That I do know.                  18   recognized, but --
   19         Q.   Genericized with the OROs or just                   19         A. We -- we're friends. We're friends.
   20 as --                                                            20   Our wives, our families, we're friends.
   21         A.   The OROs. Generic OROs.                             21         Q. So I am assuming that you did have
   22         Q.   And what did you do immediately after               22   talks with him in which you said -- unless you had no
   23 leaving Mallinckrodt?                                            23   frustrations during the time when you were at
   24         A.   Immediately after Mallinckrodt, I                   24   Covidien -- here's what I couldn't take, or here's
   25 worked with Paragon Rx, the REMS development company,            25   what drove me crazy when I was at Covidien, telling

                                                            Page 311                                                      Page 313
    1 on various REMS projects that they had throughout the             1 it to Dr. Neuman?
    2 industry. Especially, almost inclusively, with                    2          A. Very little --
    3 companies in California.                                          3          MR. DAVISON: Objection to form.
    4         Q. Any of them opioids, those REMS that                   4          THE WITNESS: Dr. Neuman moved to California
    5   you were --                                                     5   from St. Louis. So we became, you know, closer to
    6         A. Yeah.                                                  6   each other on the map. So there was more potential
    7         Q. -- getting together?                                   7   to interact with each other.
    8         A. Yeah, they were.                                       8          He's in the Bay Area. But his wife is a
    9         Q. And were they branded opioids or were                  9   doctor. So we have a lot in common, and we're just
   10   they generics?                                                 10   close friends. And, you know, whenever you work
   11         A. Branded.                                              11   anywhere, there's always frustrations. But that --
   12         Q. Have you ever had discussions of                      12   I'm at a level of experience where I can kind of roll
   13   going back to work for Covidien?                               13   with the punches, so they don't bother me so much.
   14         A. No.                                                   14   BY MR. SAMSON:
   15         Q. Has anyone else, that you had a good                  15          Q. Having mentioned and spoken to you
   16   working relationship, left Covidien and spoken to you          16   today, it is, as you said in an earlier answer, that
   17   about it?                                                      17   you had a very high principle. And one of the things
   18         MR. DAVISON: Objection to form.                          18   that I take away from being able to ask you questions
   19         THE WITNESS: No.                                         19   today, is that your personal approach to safety was,
   20   BY MR. SAMSON:                                                 20   it was an all-or-nothing, bottom-line thing that
   21         Q. You said that you had -- and maybe I                  21   pharmaceutical companies needed to address,
   22   overheard it -- talks with Art [sic] Neuman, that you          22   especially in the opioid space.
   23   would have brought something up if you knew about it.          23          Did I get that right?
   24   Have you had discussions with -- is he Dr. Neuman?             24          A. I tried to do that --
   25         A. I've had many discussions with                        25          MR. DAVISON: Objection to form.

   Golkow Litigation Services                                                                  Page 79 (310 - 313)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further80Confidentiality
                                                       of 99. PageID #: 240372
                                                                           Review
                                                         Page 314                                                   Page 316
    1          THE WITNESS: I tried to do that to the best           1          MS. HERZFELD: Okay. Before we get started,
    2   of my ability, yes.                                          2   I just want to lodge our usual objections as to late
    3   BY MR. SAMSON:                                               3   production of documents in noncompliance with the MDL
    4          Q. And was there ever any frustration                 4   protocol, and the other objections that we have
    5   that Covidien was not as ardent about that as you            5   lodged in the other depositions. I would like to
    6   were?                                                        6   renew them at this time.
    7          MR. DAVISON: Objection to form.                       7          MR. DAVISON: We disagree with your
    8          THE WITNESS: I wouldn't -- I would say, no.           8   characterization regarding our compliance with the
    9   Whenever you're at a company and you're managing             9   MDL protocol. We have complied. But we note your
   10   projects that are big, expensive projects, there can        10   objection.
   11   always be the potential for the feeling that, you           11          MS. HERZFELD: Okay. Great. Now we will
   12   know, well, are they going to continue? That's just         12   move on.
   13   the normal operations of things.                            13          Q. Okay. So you don't have any
   14          But Covidien -- what I was doing was                 14   awareness of the Tennessee litigation; do you, sir?
   15   supported by Herb and the CEO, Tim Wright. I always         15          A. I do not.
   16   felt like I had really good support and belief in the       16          Q. Okay. And you've been to Tennessee
   17   importance of what we were doing. So there were very        17   before; is that correct?
   18   little on the frustration scale, quite frankly.             18          A. I have been to Tennessee.
   19   BY MR. SAMSON:                                              19          Q. And how many times would you say
   20          Q. And what you were doing, during the               20   you've been?
   21   time you were an employee, was all, if not                  21          A. I've been to Tennessee once in my
   22   exclusively, greatly the majority in Exalgo; true?          22   life.
   23          A. It was, yeah.                                     23          Q. Okay. And was that for work?
   24          Q. And the --                                        24          A. No.
   25          A. And the C.A.R.E.S. Alliance.                      25          Q. What was it for?

                                                     Page 315                                                       Page 317
    1          Q. And you can't tell me, haven't been                1         A. My daughter's swim meet at the
    2   able to tell me today, much about what was going on          2   University of Tennessee when she swam at Arizona
    3   in the generic opioid space, even with Mallinckrodt;         3   State.
    4   true?                                                        4         Q. Oh, okay. Very good. You haven't
    5          A. I had very little interaction,                     5   been to Tennessee for work?
    6   awareness, knowledge, with the generic business and          6         A. Pardon me?
    7   the people in the generic business.                          7         Q. You have not been to Tennessee for
    8          MR. SAMSON: Let's go off the record for               8   work?
    9   just a second.                                               9         A. No.
   10          THE VIDEOGRAPHER: We are going off the               10         Q. Okay. When you were talking earlier
   11   record. The time is 5:28 p.m. -- or 5:48 p.m.               11   about hot spots for pill mills, you mentioned
   12          (Recess taken.)                                      12   Florida, obviously, and then Kentucky and
   13          THE VIDEOGRAPHER: We are back on the                 13   West Virginia.
   14   record. The time is 5:51 p.m.                               14         Would you consider both of those states to
   15                 EXAMINATION                                   15   be in Appalachia?
   16   BY MS. HERZFELD:                                            16         MR. DAVISON: Objection to form.
   17          Q. Good afternoon, Mr. Morelli. How are              17         THE WITNESS: I don't know really.
   18   you doing?                                                  18   BY MS. HERZFELD:
   19          A. Fine. How are you?                                19         Q. Okay. I'm --
   20          Q. Great. I am Tricia Herzfeld, and I                20         A. I think they might be, but, you
   21   am an attorney representing the plaintiffs in               21   know --
   22   Tennessee.                                                  22         Q. I will rephrase the question.
   23          Do you know anything about the Tennessee             23         Would you consider to Kentucky and
   24   litigation?                                                 24   West Virginia to both be states contained within
   25          A. No.                                               25   Appalachia?

   Golkow Litigation Services                                                              Page 80 (314 - 317)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further81Confidentiality
                                                       of 99. PageID #: 240373
                                                                           Review
                                                    Page 318                                                            Page 320
    1        A. Yes.                                                1 those videos of the babies after they are born?
    2        Q. Okay. And would you consider                        2         MR. DAVISON: Objection.
    3   Tennessee to be part of the Appalachian region?             3         THE WITNESS: Ghastly.
    4        A. No.                                                 4   BY MR. SAMSON:
    5        Q. Have you heard at all of pill mills                 5         Q. Ghastly?
    6   being a hot spot in Tennessee?                              6         A. Ghastly.
    7        A. I have not. No.                                     7         Q. Do you think they are in pain?
    8        Q. Do you recall having any                            8         MR. DAVISON: Objection to form.
    9   conversations with anyone about a particular opioid         9         THE WITNESS: Don't know. But they are in
   10   abuse problems in Tennessee?                               10   distress certainly.
   11        A. I do not.                                          11   BY MS. HERZFELD:
   12        Q. Do you know what neonatal abstinence               12         Q. You knew that there was an opioid
   13   syndrome is?                                               13   epidemic specifically in Florida; is that correct?
   14        A. I do.                                              14         A. No, it's not exactly correct. I knew
   15        Q. And what is it, to your knowledge?                 15   there were a lot of pill mills. The pill mills that
   16        A. Neonatal abstinence syndrome is a                  16   I was aware of were in Florida. And there was an
   17   condition where a newborn goes through opioid              17   opioid epidemic -- you know, the opioid problem was
   18   withdrawal because they were exposed in utero to the       18   more pervasive than just Florida. Yeah.
   19   mother's consumption of opioids.                           19         MS. HERZFELD: Okay. And I'm going to show
   20        Q. And do you know what region of the                 20   you -- what number are we on for exhibits?
   21   country has the highest number of any as per?              21         THE REPORTER: 22.
   22        A. No. But I bet you're going to tell                 22         MS. HERZFELD: We will this mark as No. 22.
   23   me.                                                        23                 (Exhibit No. 22 was marked.)
   24        Q. I'm asking if you know. Do you know?               24   BY MS. HERZFELD:
   25        A. No, I don't.                                       25         Q. Okay. Mr. Morelli, what I have

                                                        Page 319                                                     Page 321
    1          Q. Have you ever known?                              1   handed you here appears to be an email from a person
    2          A. No.                                               2   named Chris DuFusco.
    3          Q. Is that information you've ever                   3         Do you know who Chris DuFusco is?
    4   endeavored to obtain?                                       4         A. I do.
    5          A. No.                                               5         Q. And who is Chris DuFusco?
    6          Q. Would you be surprised to learn that              6         A. He is an employee at Mallinckrodt in
    7   Tennessee is number two?                                    7   the -- I think in the Business Development, I think
    8          MR. DAVISON: Objection to form.                      8   is what he was in when I was there.
    9          THE WITNESS: I would be neither surprised            9         Q. Okay. In Business Development did he
   10   or disappointed or anything. It is what it is. The         10   handle any of the opioid products?
   11   data is what it is.                                        11         A. No.
   12   BY MS. HERZFELD:                                           12         MS. HERZFELD: Okay. And just for the folks
   13          Q. It probably isn't is what it is,                 13   on the phone and the record, the Bates number on this
   14   though, for those babies?                                  14   is MNK-T1, underscore, 0006317909. It's a one-page
   15          A. No.                                              15   document.
   16          MR. DAVISON: Objection to form.                     16         Q. And what is the date on this email,
   17          THE WITNESS: It doesn't minimize it at all.         17   Mr. Morelli?
   18   It's a terrible thing.                                     18         A. 3/29/10.
   19   BY MS. HERZFELD:                                           19         Q. And this email is sent to Debra
   20          Q. Have you ever seen videos of babies              20   Hasse -- is it Hasse? Hasse?
   21   going through withdrawal of opioids after being born?      21         A. Hasse.
   22          A. I have. I have seen some videos                  22         Q. To you and to David Silver; is that
   23   because of my work at DuPont with Narcan and Narcan        23   right?
   24   neonatal, which is used in that setting. Yeah.             24         A. Right.
   25          Q. And how would you describe watching              25         Q. And who is Debra Hasse?

   Golkow Litigation Services                                                             Page 81 (318 - 321)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further82Confidentiality
                                                       of 99. PageID #: 240374
                                                                           Review
                                                    Page 322                                                         Page 324
    1         A. She was a coworker of Chris DuFusco.             1   oxy abuse program -- or an oxy abuse problem in
    2         Q. Okay. And so she was a Mallinckrodt              2   Tennessee?
    3   employee?                                                 3         MR. DAVISON: Objection to form.
    4         A. Yes.                                             4         THE WITNESS: I do not.
    5         Q. Okay. And David Silver?                          5   BY MS. HERZFELD:
    6         A. He was the -- Debra and Chris                    6         Q. Okay. But according to this email,
    7   reported to David Silver.                                 7   which is 2010, at the very least, then, you had
    8         Q. Okay. And so David Silver was also a             8   received information about the Oxy Express involving
    9   Mallinckrodt employee.                                    9   Florida and Tennessee; is that an accurate statement?
   10         A. He was.                                         10         MR. DAVISON: Objection to form.
   11         Q. Okay. And this email was sent to the            11         THE WITNESS: I received this, yeah, and
   12   three of you on March 29th, 2010; is that correct?       12   maybe other things that I was exposed to along the
   13         A. That's correct.                                 13   way, yeah.
   14         Q. Okay. And do you have any reason to             14   BY MS. HERZFELD:
   15   think that this email wasn't sent to your email          15         Q. Okay. But at the very least, you
   16   address?                                                 16   received this in 2010?
   17         A. No. I'm sure it was.                            17         A. I did. I guess I did, yes.
   18         Q. Okay. And what -- could you read the            18         Q. Okay. And can you think of anything
   19   subject for me there, please.                            19   else you might have been exposed to along the way
   20         A. Speak -- oh, the subject. "A news               20   that would have alerted you to an oxy abuse problem
   21   expose -- OxyContin Florida and Tennessee."              21   in Tennessee?
   22         Q. And then what does the email say?               22         A. Just news releases, perhaps.
   23         A. (Reading) I was speaking to one                 23         MS. HERZFELD: I am going to show you what
   24           of the folks I met from Grunenethal in           24   we will mark as the next exhibit, 23.
   25           Portugal in the training class in                25                (Exhibit No. 23 was marked.)

                                                      Page 323                                                        Page 325
    1           Barcelona last week about our pain                1          MS. HERZFELD: For folks on the phone, this
    2           products, and he mentioned a news                 2   is MNK, hyphen, T1, underscore, 0007200216. And it's
    3           expose about the problems with the                3   a -- one, two -- three-page document.
    4           abuse of Oxycontin in Florida and                 4          Q. Okay. Mr. Morelli, have you had a
    5           Tennessee, and I thought you might                5   moment to look over this email?
    6           find it interesting (end of reading).             6          A. Yes. Generally, yes. Not in detail.
    7         Q. And then do you speak Spanish at all?            7   But yes.
    8         A. I do not.                                        8          Q. Okay. Let's kind of just go through
    9         Q. Okay. And so underneath that it says             9   it for one second. I'm not going to ask you to know
   10   "Titulo," right, "Oxy Express"? Is that what it          10   everything in it.
   11   says?                                                    11          Does this appear to be an email that was
   12         A. "Titulo: Oxy Express - Repeticao."              12   sent from a person named Stephen Littlejohn to you on
   13         Q. Okay. Very good.                                13   February 19th, 2011?
   14         And so do you know why it is that Chris            14          A. Yes.
   15   would have sent an email specifically to you, David      15          Q. Okay. And it also copies JoAnna
   16   and Debra?                                               16   Schooler; is that right?
   17         MR. DAVISON: Objection to form.                    17          A. That's right.
   18         THE WITNESS: No, I don't know why he sent          18          Q. And do you have any reason to believe
   19   it.                                                      19   you didn't receive this email in the ordinary course
   20   BY MS. HERZFELD:                                         20   of business?
   21         Q. Okay. And did you respond to this               21          A. No, I don't.
   22   email?                                                   22          Q. Okay. And so the subject here is,
   23         A. I do not recall.                                23   "Re: WSJ - Fight Over a Fix for Florida Pill Mills."
   24         Q. Do you know if you ever had any                 24          Do you see where it says that?
   25   conversations with anyone where you looked into an       25          A. Yes.

   Golkow Litigation Services                                                            Page 82 (322 - 325)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further83Confidentiality
                                                       of 99. PageID #: 240375
                                                                           Review
                                                    Page 326                                                           Page 328
    1         Q. Okay. And who is Stephen Littlejohn?             1         A. I don't recall doing that, no.
    2         A. Stephen Littlejohn is a -- what is               2         Q. Okay. And do you know if Bobby did?
    3   the VP of the Communications Department.                  3         A. I don't know.
    4         Q. For Mallinckrodt? For Mallinckrodt?              4         Q. Okay. Okay. And then if you will go
    5         A. Mallinckrodt, yeah.                              5   down and actually read the article, get to the second
    6         Q. Okay. And who is JoAnna Schooler?                6   page here. You believe, based on your email response
    7         A. She works in Littlejohn's department.            7   to this, that you did read this article, is that
    8         Q. Okay. So also a Mallinckrodt                     8   right, sir, at the time?
    9   employee?                                                 9         A. I believe I did, yeah.
   10         A. Yes.                                            10         Q. Okay. So I'm just going to kind of
   11         Q. Okay. And so if you look at the                 11   bring you to some of those -- the more pertinent
   12   email that's being forwarded, it looks like it says,     12   points --
   13   "From JoAnna," kind of mid where the page is:            13         A. Okay.
   14           (Reading) FYI, more on the issue in              14         Q. -- that I'm going to ask questions
   15           Florida and the ongoing state funding            15   about.
   16           debate. Will make contact with a                 16         The very first line in the article says,
   17           reporter (end of reading).                       17   "Dateline Miami"; do you see that? On the second
   18         And that's sent to a whole bunch of folks.         18   page.
   19   Do you see that?                                         19         A. Yes.
   20         A. Uh-huh.                                         20         Q. Okay. (Reading) Florida Governor
   21         Q. Is that a "Yes"? Is that a "Yes"?               21            Rick Scott called to cancel a state
   22         A. That's a "Yes," yes.                            22            drug monitoring program starts an
   23         Q. Sorry. I have to get you to say                 23            uproar in Appalachian state, the state
   24   "Yes" because "uh-huh" doesn't work on the               24            that say that they're deluged with
   25   transcripts.                                             25            illegally bought pills from South

                                                      Page 327                                                        Page 329
    1         And then it looks like you reply on -- at           1            Florida pain clinics (end of reading).
    2   8:50 in the morning and say, it looks like, just          2          Do you see where it says that.
    3   shortly -- shortly there later -- and could you read      3          A. Uh-huh. Uh-huh.
    4   your response to JoAnna there.                            4          Q. Is that a "Yes," sir?
    5         A. Yes. (Reading) This article brings               5          A. It is, yes. I see it.
    6           out some excellent points pro and con             6          Q. And so was there a concern from
    7           of PMPs. The problems remain,                     7   Mallinckrodt about the PMP state drug monitoring
    8           however. I see here a way for us to               8   program?
    9           bring in a best practices orientation             9          MR. DAVISON: Objection to form.
   10           rather than a good or bad approach and           10          THE WITNESS: I can't speak for
   11           an idea of changing the dialogue from            11   Mallinckrodt. But I can tell you that I'm very -- I
   12           problem identification and blame to              12   would be very concerned about the cancellation of any
   13           solutions. We need to contact Keith              13   PMP program. I'm very concerned about the lack of
   14           Humphreys, the Stanford PMP researcher           14   utilization of PMPs around the country.
   15           named in the article. Bobby and I can            15          MS. HERZFELD: Okay.
   16           do that. Bobby is someone who works              16          THE WITNESS: And the delay, the various
   17           for me. Do you agree (end of                     17   problems with PMPs, that's one reason they are not
   18           reading)?                                        18   utilized, and they are underfunded, and they have
   19         Q. Okay.                                           19   problems with their data and speed of updating, and
   20         A. And I reiterated, education,                    20   that's a barrier to adoption for physicians. So they
   21   collaboration, innovation, which is a strategy for       21   are potentially a very valuable tool.
   22   the C.A.R.E.S. Alliance.                                 22   BY MS. HERZFELD:
   23         Q. Okay. And so did you ever reach out             23          Q. Okay. And then if you will move down
   24   to the Stanford PMP researcher named in the article,     24   with me a little bit further. It says, "Jason Henry,
   25   Keith Humphreys?                                         25   for the Wall Street Journal." About halfway.

   Golkow Litigation Services                                                             Page 83 (326 - 329)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further84Confidentiality
                                                       of 99. PageID #: 240376
                                                                           Review
                                                  Page 330                                                      Page 332
    1           Do you see there?                              1           Highway Patrol officers in hot spots,
    2           A. No. Where are you? Where are you?           2           like eastern Tennessee routinely stop
    3           Q. That's okay.                                3           van loads of people returning from
    4           A. Oh, I see. The next one.                    4           Florida with fresh stockpiles of
    5           Q. Right there. Okay.                          5           prescription drugs (end of reading).
    6           And then if you kind of keep going down, it    6         Did I read that correctly?
    7   says:                                                  7         A. You did.
    8            (Reading) Pill mills have flourished          8         Q. And does this refresh your
    9            in Florida, especially in Broward             9   recollection at all about whether Tennessee was
   10            County, in recent years. Weak                10   identified as a hot spot?
   11            standards governing who can set them         11         A. Yeah, a -- clearly what they are
   12            up, a lack of oversight by state             12   saying here, it is.
   13            agencies, and the absence of                 13         Q. And had you heard of the Appalachian
   14            prescription monitoring programs have        14   High Intensity Drug Trafficking Area?
   15            contributed to the problems, said            15         A. Never heard of it, no.
   16            Sherry Green, Chief Executive of the         16         Q. And do you know who Frank Rapier is?
   17            of the nonprofit National Alliance For       17         A. I do not.
   18            Model States Drug Laws (end of               18         Q. Have you ever had a conversation with
   19            reading).                                    19   him?
   20            Did I read that correctly?                   20         A. I have not.
   21           A. Yes.                                       21         Q. Okay. But you agree with this
   22           Q. Do you agree with that?                    22   statement that Florida was a hot spot for those drugs
   23           A. I agree with that.                         23   to be brought up into the illegal drug market?
   24           Q. Okay. Now the next one says:               24         MR. DAVISON: Objection to form.
   25            (Reading) According to the Florida           25         THE WITNESS: I do agree.
                                                  Page 331                                                      Page 333
    1            Attorney General's Office, clinics are        1   BY MS. HERZFELD:
    2            often cash-only enterprises, employing        2         Q. Okay. And specifically into the
    3            doctors who write prescriptions for           3   illegal drug market in eastern Tennessee?
    4            painkillers without examining patients        4         A. Yes.
    5            (end of reading).                             5         MR. DAVISON: Objection to form.
    6            Do you see where it says that?                6         THE WITNESS: That's what it says here. I
    7          A. I do.                                        7   have no basis to disagree with it.
    8          Q. And were you aware that was happening        8   BY MS. HERZFELD:
    9   at pill mills?                                         9         Q. Okay. And then in the next line it
   10          A. It happens. Yes, it does.                   10   says:
   11          Q. And would you characterize situations       11           (Reading) In West Virginia, state
   12   where that happens as a pill mill?                    12           Senator Evans Jenkins -- Evan Jenkins
   13          MR. DAVISON: Objection to form.                13           said flights on discount airlines
   14          THE WITNESS: No, not necessarily. They         14           between Huntington, West Virginia and
   15   could be. But it's certainly improper.                15           Fort Lauderdale, Florida have been
   16   BY MS. HERZFELD:                                      16           dubbed the Oxycontin Express (end of
   17          Q. And could contribute to the diversion       17           reading).
   18   of opioids into the illegal drug market?              18         And before I think we -- you had been asked
   19          A. Absolutely yeah.                            19   if you had heard the term Oxycontin Express or Oxy
   20          Q. And the next sentence there says:           20   Express. And I don't remember what you answer was?
   21            (Reading) They have proved to be a           21         A. I hadn't heard of it.
   22            magnet for buyers in the southeast,          22         Q. And had you heard of I-75 being
   23            period. According to Frank Rapier,           23   designated as the Oxy Express?
   24            Director of the Appalachian High             24         MR. DAVISON: Objection to form.
   25            Intensity Drug Trafficking Area,             25   ///

   Golkow Litigation Services                                                        Page 84 (330 - 333)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further85Confidentiality
                                                       of 99. PageID #: 240377
                                                                           Review
                                                   Page 334                                                         Page 336
    1 BY MS. HERZFELD:                                           1          Q. That's okay. So why don't you tell
    2         Q. Or highway?                                     2   me, other than this -- we will come back to this
    3         A. I have not.                                     3   agenda in just a second.
    4         MS. HERZFELD: Okay. You can take this              4          A. Okay.
    5   document and set it aside, please.                       5          Q. But the other times that you've been
    6         THE WITNESS: Are we done with this one?            6   to Nashville. Has that been for business or for
    7         MS. HERZFELD: Yes.                                 7   personal?
    8         THE WITNESS: Oh, okay.                             8          A. Both. Mainly business. And when I
    9         MS. HERZFELD: I'm going to hand you the            9   worked for Cardinal Health, Cardinal Health had a big
   10   next exhibit, which will be marked as Exhibit No. 24.   10   facility in Nashville.
   11                (Exhibit No. 24 was marked.)               11          Q. Okay.
   12         MS. HERZFELD: Okay. For the record, this          12          A. It was a third-party logistics
   13   is MNK-T1, underscore --                                13   distributor company, and I used to go there, you
   14         A. I've got two of them.                          14   know -- you know, a number of times.
   15         MS. HERZFELD: Oh, you've got two. There           15          Q. Okay. And so when you were working
   16   you go. Underscore 0004298470, and it's a two-page      16   for Cardinal Health, and you would come to Nashville
   17   document.                                               17   for that distribution issue or meetings, did any of
   18         THE WITNESS: Uh-huh.                              18   that have to do with the diversion of opioids --
   19   BY MS. HERZFELD:                                        19          A. No.
   20         Q. Okay. Sir --                                   20          Q. -- and prevention of diversion of
   21         A. I'm very familiar with this.                   21   opioids?
   22         Q. Okay. What is it, sir?                         22          A. No.
   23         A. So this is -- this is an agenda for a          23          Q. Okay. Okay. And so other than your
   24   quarterly REMS Safety Board meeting. These occurred     24   time with Cardinal Health and other than personal
   25   quarterly --                                            25   times, other than this meeting that we just talked

                                                   Page 335                                                          Page 337
    1         Q. Okay.                                           1   about, have you been to Nashville for business
    2         A. -- with our panel of experts. We                2   reasons for any other times?
    3   presented data for their review and feedback and         3         A. Not that I can remember, no.
    4   action items that we would take and make into            4         Q. Okay. And so let's go back to this
    5   actionable plans.                                        5   meeting then --
    6         Q. Okay. And if you will look here on              6         A. Okay.
    7   the very first page, the speaker that's assigned from    7         Q. -- that you had here on April 8th and
    8   9:35 a.m. to 9:50 a.m., is that you?                     8   9th, 2011, at the Loews Hotel in Nashville; is that
    9         A. That's me.                                      9   correct?
   10         Q. Okay. And did you indeed speak at              10         A. That's correct.
   11   this?                                                   11         Q. Okay. And do you recall that Loews
   12         A. I did.                                         12   being across the street from Vanderbilt University?
   13         Q. Okay. And does this maybe refresh              13         A. I do.
   14   your recollection as to whether you've been to          14         MR. DAVISON: Objection.
   15   Tennessee for business?                                 15         THE WITNESS: Because I went running on the
   16         A. I forgot about Nashville. I've                 16   campus.
   17   been -- actually, I've been to Nashville many, many     17   BY MS. HERZFELD:
   18   times. I just completely forgot about it.               18         Q. It's pretty, isn't it?
   19         Q. Oh, you have?                                  19         A. Yes. Very beautiful.
   20         A. Yeah.                                          20         Q. Yes, very good. Okay.
   21         Q. You know, most people don't forget             21         Looking at this agenda, I see that it's you
   22   Nashville so easily.                                    22   speaking, and then we have some other folks. So I
   23         A. I know. I'm really sorry, because              23   just want to make sure I understand who they are.
   24   I've been to Nashville maybe ten times, and I just      24         I think there was already a discussion about
   25   blanked out.                                            25   Lynn Webster, so I don't think we need to ask about

   Golkow Litigation Services                                                           Page 85 (334 - 337)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further86Confidentiality
                                                       of 99. PageID #: 240378
                                                                           Review
                                                     Page 338                                                        Page 340
    1   Lynn. That's the same Lynn Webster that was                1 the data.
    2   discussed earlier; is that correct?                        2         Q. Okay. And who were the experts?
    3         A. Correct.                                          3         MR. DAVISON: Objection to form.
    4         Q. Okay. And what Herbert Neuman, who                4         THE WITNESS: It was -- Debra Gordon was
    5   is --                                                      5   one. David Brushwood. I think I went through this
    6         A. He's Chief Medical Officer of                     6   before. Do you want me to tell you who they were
    7   Covidien.                                                  7   or --
    8         Q. Okay.                                             8   BY MS. HERZFELD:
    9         A. My direct supervisor.                             9         Q. Is it the same list you went through
   10         Q. And so he would be a                             10   before?
   11   Covidien/Mallinckrodt employee; is that right?            11         A. It was, yeah.
   12         A. Yes.                                             12         Q. Okay.
   13         Q. Okay. And then Danielle Burroughs.               13         A. And there were others. I can't
   14   Who is Danielle Burroughs?                                14   remember all of them, but there were a few more,
   15         A. Danielle was a pharmacist and worked             15   yeah.
   16   in Pharmacovigilance at Mallinckrodt.                     16         Q. Okay. And do you know if were any
   17         Q. And then Bobby Clark. Who is Bobby               17   Tennessee prescribers that were there?
   18   Clark?                                                    18         A. Oh, no, prescribers were not invited
   19         A. Bobby Clark is an epidemiologist who             19   to the meeting.
   20   was on my Patient and Product Safety Team.                20         Q. Okay. Do you know if there was
   21         Q. Okay. And not a Mallinckrodt                     21   anyone who was from Tennessee or based in Tennessee
   22   employee?                                                 22   that was at the meeting?
   23         A. Yes.                                             23         A. At the time -- I don't know exactly,
   24         Q. Was a Mallinckrodt or was not?                   24   but at the time Steve Passik may have been an
   25         A. He was. He was.                                  25   employee at Vanderbilt. I know at one time he was.

                                                       Page 339                                                      Page 341
    1         Q. Okay. And Julie Milford. Who is                   1 But I don't know if at this particular time he was
    2   Julie Milford?                                             2 working at Vanderbilt.
    3         A. I actually don't know.                            3        MS. HERZFELD: Okay. You can set that
    4         Q. Okay.                                             4 aside.
    5         A. Yeah.                                             5         THE WITNESS: Okay.
    6         Q. How about Jenny Wang, MBA?                        6         MS. HERZFELD: Thank you, sir.
    7         A. Jenny Wang worked for me. She's on                7         I'm going to hand you what we will mark as
    8   the Patient Product Safety Team.                           8   collective Exhibit 25.
    9         Q. So she would have been a Mallinckrodt             9                (Exhibit No. 25 was marked.)
   10   or Covidien employee?                                     10         MS. HERZFELD: For the record, I just handed
   11         A. She's a Mallinckrodt employee.                   11   Mr. Morelli what we have marked as Plaintiffs'
   12         Q. Okay. I think that covers everybody              12   Exhibit 25. The Bates number is MNK-T1, underscore,
   13   that was on the list; does that sound correct?            13   0007901956.
   14         A. It does.                                         14         It looks like I may have copied this email
   15         Q. Okay. And so the people who attended             15   twice. So I don't know if you have got two pages or
   16   this conference, would that have been just people         16   one. But it should be a one-page email with an
   17   that were on your advisory board, or would it have        17   attachment. And the attachment placeholder page is
   18   been open to other physicians or prescribers?             18   MNK-T1, underscore, 0007901957. So it's an email and
   19         A. No. It was -- it was -- the purpose              19   an attachment.
   20   of the meeting was to present data on the use, side       20         Q. Okay. Mr. Morelli, if you will just
   21   effects, reported problems, program success of the        21   take a look at the email for one second for me,
   22   Exalgo REMS and Exalgo to these experts for their --      22   please.
   23   to give them an opportunity to weigh in on the data       23         Okay. You see the email?
   24   and give us their impressions of what was really          24         A. I do.
   25   happening behind the data. So they were interpreting      25         Q. Okay. And this is an email that was

   Golkow Litigation Services                                                             Page 86 (338 - 341)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further87Confidentiality
                                                       of 99. PageID #: 240379
                                                                           Review
                                                       Page 342                                                      Page 344
    1   sent from Regina Ruben to you and it looks like a          1   BY MS. HERZFELD:
    2   whole bunch of other people.                               2          Q. Teleconference, maybe?
    3         A. Right.                                            3          A. It could be. I think it's a
    4         Q. On October 8th, 2009; is that                     4   teleconference, yes. Core team teleconference.
    5   correct?                                                   5   Because we did it verbally, and then he followed up
    6         A. That's correct.                                   6   with the hard copies. Yes, I think that's what it
    7         Q. Okay. And do you have any reason to               7   is.
    8   believe that you didn't receive this email in the          8          Q. Okay. And core team would be which
    9   ordinary course of your business?                          9   team? Is that the Covidien Exalgo REMS?
   10         A. No.                                              10          A. So let me just look at the "To" list.
   11         Q. Okay. So you believe that this email             11          So the "To" line on this cover memo -- oh,
   12   is something that you received?                           12   wait. So this is a laundry list of employees at
   13         A. I do.                                            13   Paragon Rx and employees at Covidien who were
   14         Q. Okay. And so who is Regina Ruben?                14   involved with the Rx FMEA process.
   15         A. Regina Ruben is -- was an employee of            15          Q. Okay. Now, if you will flip with me
   16   Paragon Rx, the coGnsulting firm we used to run           16   to the -- this is the attached -- I will submit to
   17   everybody through the Rx FMEA process in terms of         17   you, this is the attachment we have printed out here,
   18   building safe use tools.                                  18   the PowerPoint.
   19         Q. Okay. And Jeremy Stamer, do you know             19          And let's take a look at the first page, the
   20   who that is?                                              20   title page here. It says, "Exalgo REMS," which I
   21         A. Jeremy Stamer is a Mallinckrodt                  21   think we've talked about a lot already today, "A
   22   employee. He's in the Prescription Data Analytics in      22   Commercial Analytics Perspective."
   23   Mallinckrodt.                                             23          A. Right.
   24         Q. What does Prescription Data Analytics            24          Q. What is a commercial analytics
   25   do?                                                       25   perspective?
                                                      Page 343                                                         Page 345
    1         A. So data comes in through a data                   1          MR. DAVISON: Objection to form.
    2   service, and it's quite voluminous, and people like        2          THE WITNESS: So in the process of operating
    3   Jeremy Stamer and his team would get inside the data       3   the REMS, operationalizing the REMS, we need to
    4   and kind of translate raw data into kind of usable,        4   collect data that tell us who's prescribing the
    5   actionable information, understandable information         5   product, how much product is being prescribed, where
    6   rather than a page full of numbers.                        6   it's being prescribed, all those prescription data
    7         Q. Okay.                                             7   analytics. Because that data has to be presented to
    8         A. Yeah.                                             8   the Exalgo REMS safety board.
    9         Q. Okay. And if you look at this email,              9          MS. HERZFELD: Okay.
   10   it looks like Regina is forwarding something to you       10          THE WITNESS: And that's data we use to try
   11   and a bunch of other folks --                             11   to understand if the product is being used
   12         A. Right.                                           12   appropriately, at least from a data analytics
   13         Q. -- where it says:                                13   perspective. And if there's any hot spots or things
   14           (Reading) Attached is Jeremy Stamer's             14   that look bad, we need to dig into that further.
   15           parameters from this morning's core               15   BY MS. HERZFELD:
   16           team CT. Thanks, Regina (end of                   16          Q. Okay. Because that would be a
   17           reading).                                         17   responsible thing for Mallinckrodt to do?
   18         Did I read that correctly?                          18          A. Right.
   19         A. Yes.                                             19          Q. If you have that data, you want to
   20         Q. And do you know what she's referring             20   dig into it further and find out if your product is
   21   to when she's talking about a core team TC?               21   being abused or misused or diverted; is that right?
   22         MR. DAVISON: Objection to form.                     22          MR. DAVISON: Objection to form.
   23         THE WITNESS: I do not know what TC -- what          23          THE WITNESS: That's exactly right.
   24   the context in which she's using TC. Maybe it's core      24   BY MS. HERZFELD:
   25   team backwards or something. I don't know.                25          Q. The second page. "Market Overview,

   Golkow Litigation Services                                                             Page 87 (342 - 345)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further88Confidentiality
                                                       of 99. PageID #: 240380
                                                                           Review
                                                        Page 346                                                      Page 348
    1   Data and Information Needs, and Implementation              1   be as large as that. But -- and these are the
    2   Strategy." Okay?                                            2   metrics that we use to analyze that target market and
    3         A. Yes.                                               3   to break that target market down into more sub
    4         Q. Flip to the next one. Okay. Then it                4   targets, you might say.
    5   talks about market overview. Do you know what's             5         Q. Okay. And when you say "called on,"
    6   meant by "market overview"?                                 6   is that sometimes also being referred to as being
    7         A. Market overview is how the company                 7   detailed?
    8   has segmented the market and where they are going to        8         A. It is.
    9   send sales reps.                                            9         Q. Okay. And so then this breaks it
   10         Q. Okay.                                             10   down by various deciles. And it looks like there's
   11         A. So part of -- part of -- part of                  11   ten different deciles; is that your understanding?
   12   responsible -- responsible use is targeting the right      12         A. Yeah, that's -- deciles are always in
   13   physicians, not targeting physicians who have no           13   tens, yeah.
   14   reason by their specialty or by their practice to          14         Q. Okay. So if people that are decile
   15   prescribe Exalgo. A sales rep can't be in that             15   ten for the prescriber, those would be the highest
   16   office because there's nothing good can come from          16   prescribers?
   17   that, because they are not seeing chronic pain             17         A. Right.
   18   patients.                                                  18         MR. DAVISON: Objection to form.
   19         Q. Okay.                                             19   BY MS. HERZFELD:
   20         A. At least on the surface.                          20         Q. Okay. Next one:
   21         Q. Okay. So it says, "Market Overview                21            (Reading) Segmenting Physicians by
   22   Prescribers." And then, "Targeting and Scope,              22            Product Use: Identifying physicians
   23   introducing Dr. Mark Murphy." Then "Pharmacies,            23            predisposed to prescribing one
   24   chains, independents, mail order, specialty and            24            product, one product written
   25   hospital."                                                 25            50 percent of the time or more (end of
                                                       Page 347                                                      Page 349
    1         So does that -- generally does that match             1           reading).
    2   with your understanding of what the market was for          2         Did I read that correctly?
    3   Mallinckrodt-branded opioid product?                        3         A. You did.
    4         A. Yes.                                               4         Q. Do you know what that means?
    5         Q. Okay. Next page it talks about                     5         A. Yes. It was -- it was trying to
    6   market overview here and volume segmentation. Did I         6   create an understanding of which of those physicians
    7   read that correctly?                                        7   were essentially using one product or were
    8         A. Yes.                                               8   prescribing multiple products to their patient
    9         Q. Okay. And then it talks about these                9   population.
   10   different product families, which I think you had          10         Q. Okay. And when you --
   11   already discussed earlier, so I won't spend a lot of       11         A. It depends on their habits and their
   12   time on that.                                              12   comfort level.
   13         A. Okay.                                             13         Q. Okay. And so when you're talking
   14         Q. But suffice it to say, you've got                 14   about products, is that opioid products or are you
   15   oxycodone, morphine, fentanyl and Opana. Did I             15   looking at every single prescription?
   16   summarize that correctly?                                  16         A. Oh, no, these are just long-acting
   17         A. Oxycontin, yeah.                                  17   opioids.
   18         Q. Okay.                                             18         Q. Just long acting?
   19         A. Morphine products. Fentanyl products              19         A. Not opioids, long-acting opioids.
   20   and Opana.                                                 20         Q. Long acting. Okay. Switch to the
   21         Q. And then it talks about a prescriber              21   next one.
   22   audience greater than 325,000 active prescribers. Do       22         "Segmentation Survey." So looking at this
   23   you know what that means?                                  23   one, there's among deciles ten to three, the spreader
   24         A. That the -- the potential number of               24   segment is the largest.
   25   prescribers who would be the called-on audience could      25         Do you know what that means?

   Golkow Litigation Services                                                             Page 88 (346 - 349)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further89Confidentiality
                                                       of 99. PageID #: 240381
                                                                           Review
                                                       Page 350                                                          Page 352
    1         MR. DAVISON: Objection to form.                       1   is very important to us.
    2         THE WITNESS: The spreader segment was a               2         MS. HERZFELD: Okay.
    3   descriptor intended to identify -- that went with the       3         THE WITNESS: And it's very important from a
    4   segment that spread their use across product types,         4   safety perspective too.
    5   as you can see there --                                     5   BY MS. HERZFELD:
    6         MS. HERZFELD: Okay.                                   6         Q. Okay. Why?
    7         THE WITNESS: -- as opposed to have dominant           7         A. Okay. So a high prescriber has the
    8   of one or the other.                                        8   potential to do more harm than a low prescriber.
    9   BY MS. HERZFELD:                                            9         Q. Okay.
   10         Q. Okay. I see. So there's spreaders                 10         A. So if I'm designing a safety program,
   11   that you -- that will prescribe multiple opioids           11   I'm going to focus -- first step out the door, I'm
   12   within their practice --                                   12   going to focus on the highest prescribers of Exalgo,
   13         A. Right.                                            13   because they have the potential to harm more patients
   14         Q. -- and then there's other folks that              14   than someone who writes one prescription and doesn't
   15   were called more dominant groups, and they prefer          15   write another prescription for six months.
   16   one?                                                       16         It could take a lot of energy and time and
   17         A. Right.                                            17   money to get that physician that's in West Bemidji,
   18         Q. And so then that would make sense for             18   Minnesota to fill out the EEIF and read the REMS.
   19   that second bullet which then says:                        19   And when we go there, he says, I wrote one
   20           (Reading) Dominant groups: Oxycodone               20   prescription for Exalgo. I'm never writing another.
   21           prescribers are the most loyal, with               21         I'd rather go to Freddie Smith over here in
   22           an average of 70 percent for Oxycontin             22   Indiana, who writes ten prescriptions a week, and put
   23           (end of reading).                                  23   my energy in on him in terms of education.
   24         Is that your --                                      24         Q. Okay.
   25         A. Yes.                                              25         A. So it's -- it's a reflex -- it's a

                                                        Page 351                                                       Page 353
    1         Q. And your understanding is that's                   1   reflex based on what their prescribing activity is.
    2   accurate?                                                   2          Q. Okay.
    3         MR. DAVISON: Objection.                               3          A. Does that make sense?
    4         THE WITNESS: That's accurate.                         4          Q. It does.
    5   BY MS. HERZFELD:                                            5          Moving forward. So then you have the next
    6         Q. Okay. Next page.                                   6   one, which is this very colorful chart here. And
    7            (Reading) Manually tuning the                      7   that's what that's talking about here --
    8            segmentation increases the overall                 8          A. Yes.
    9            coverage of the market without                     9          Q. -- right, the various deciles of
   10            compromising the strategy (end of                 10   prescribers and what they tend to prescribe; is that
   11            reading).                                         11   right?
   12         Do you have any understanding of what that           12          A. It is.
   13   means?                                                     13          MR. DAVISON: Objection to form.
   14         MR. DAVISON: Objection.                              14   BY MS. HERZFELD:
   15         THE WITNESS: I just think it's saying that           15          Q. Okay. And then switching to the next
   16   you have the raw data, and then it's tweaked somehow       16   page, "Sales Force Sizing."
   17   based on other criteria. But I don't recall this at        17          Were you involved at all in determining the
   18   all, quite frankly.                                        18   sizes of the sales force?
   19   BY MS. HERZFELD:                                           19          A. No.
   20         Q. Okay. And when they're talking about              20          Q. Did anybody ever consult with you
   21   coverage of the market, is it coverage of the market       21   about sizes of the sales force?
   22   for sales?                                                 22          A. No.
   23         MR. DAVISON: Objection to form.                      23          Q. Okay. Switching to the next one.
   24         THE WITNESS: Coverage of the market in               24   Then it says, "Profile of a Target: Introducing
   25   terms of the -- the intensity of prescribing, which        25   Dr. Murphy."

   Golkow Litigation Services                                                               Page 89 (350 - 353)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further90Confidentiality
                                                       of 99. PageID #: 240382
                                                                           Review
                                                          Page 354                                                     Page 356
    1         Do you know what a target is in this                    1 correctly before, that means he is at the highest
    2   context?                                                      2 possibility of doing the most harm?
    3         THE VIDEOGRAPHER: Counsel, your paper is                3          MR. DAVISON: Objection to form.
    4   hitting your mic. Do you mind moving it up a bit.             4          THE WITNESS: Correct.
    5         MR. DAVISON: Sorry.                                     5          MS. HERZFELD: Okay. Okay.
    6         THE WITNESS: So this -- this is a profile               6          THE WITNESS: That's how I look at it. The
    7   of a prescriber. It's an illustrative profile of a            7   sales guys look at it as this is the most -- place
    8   prescriber and what that prescriber's prescription            8   where we can get the most prescriptions, because they
    9   activity is.                                                  9   already believe in long-acting opioids, they have the
   10   BY MS. HERZFELD:                                             10   patients for long-acting opioids.
   11         Q. Okay. And when it says "a target,"                  11          I look at it the flipside. I look at it,
   12   does that mean a sales target for Exalgo?                    12   you're right. That's why I have to get this Exalgo
   13         A. A sales target.                                     13   REMS information and the Exalgo C.A.R.E.S. Alliance
   14         Q. Okay. You're ahead of me. I was on                  14   information in there.
   15   this one. So I will switch to this one. Same page.           15   BY MS. HERZFELD:
   16   Now we're on the same page.                                  16          Q. Okay. Okay. And then it says that
   17         At the top it says, "Dr. Mark Murphy," and             17   this -- this doctor's practice location is the
   18   then the prescriber ME, and a number. Do you know            18   North Alabama Pain Services in Decatur, Alabama.
   19   what a prescriber ME is?                                     19          Do you know anything about the North Alabama
   20         A. Medical education number.                           20   Pain Services in Decatur, Alabama?
   21         Q. Okay. Is that a license number?                     21          A. No.
   22         A. It's a designation that physicians                  22          MR. DAVISON: Objection.
   23   have that can be tracked. So it's a way to track             23   BY MS. HERZFELD:
   24   them.                                                        24          Q. Okay. Switching to the next one. Is
   25         Q. Okay. And then here it says, "Market                25   this what you were talking about for specialty, it

                                                       Page 355                                                           Page 357
    1 decile 10"; is that right?                                      1   makes a difference for you?
    2         A. That's right.                                        2         A. Yes.
    3         Q. And that's the highest decile for                    3         Q. Okay. And so what is Dr. Mark
    4   Mallinckrodt rankings; is that right?                         4   Murphy's specialty, according to this chart?
    5         A. That's right.                                        5         A. Anesthesiology.
    6         Q. And so what does that mean?                          6         Q. And is anesthesiology the type of
    7         MR. DAVISON: Objection.                                 7   practice you would expect to see a high prescribing
    8         THE WITNESS: He's in the top -- he's in a               8   of opioids?
    9   group of physicians who collectively prescribe -- let         9         A. If they practice pain management.
   10   me get this right -- ten percent of the -- the               10   Not all anesthesiologists practice pain management.
   11   highest prescribers in the top ten percent of                11   Some practice in the hospital, and they give
   12   prescriptions.                                               12   anesthesia during surgery. They would not be a
   13         So, in other words, there's -- so there's --           13   target.
   14   just make up a number 5,000 prescriptions. How many          14         But an anesthesiology, the other part of
   15   doctors does it take to generate 5,000 prescriptions.        15   anesthesia is they become a pain specialist and treat
   16   Well, the top ten percent, it only takes 32 of them.         16   patients with chronic pain.
   17   The next decile may take 50, and the next, 250. So           17         Q. Okay. Switching to the next one.
   18   the populations get bigger in each decile as you go          18   And it talks about pharmacies. Do you know what this
   19   down.                                                        19   chart -- or what this -- what this slide represents
   20   BY MS. HERZFELD:                                             20   here?
   21         Q. So if I understand your testimony, so               21         MR. DAVISON: Objection.
   22   this Dr. Mark Murphy would be in the group of the            22   BY MS. HERZFELD:
   23   highest prescribers of long-acting opioids?                  23         Q. Let me back up.
   24         A. The highest, yes.                                   24         A. Yeah.
   25         Q. Okay. And so if I understood you                    25         Q. Do you know if Mallinckrodt was also

   Golkow Litigation Services                                                                Page 90 (354 - 357)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further91Confidentiality
                                                       of 99. PageID #: 240383
                                                                           Review
                                                       Page 358                                                             Page 360
    1   looking at where a particular physician's                      1         A. Right. Right.
    2   prescriptions were filled --                                   2         Q. It talks about enrollment. Do you
    3         A. Yes.                                                  3   know what they were talking about here with
    4         Q. -- when making sales determinations?                  4   enrollment?
    5         A. Yes. Yes.                                             5         MR. DAVISON: Objection to form.
    6         Q. Okay. And so in this case it looks                    6         THE WITNESS: I believe it's enrollment in
    7   like, when profiling Dr. Mark Murphy, there's a                7   the REMS, the Exalgo REMS.
    8   discussion about chain pharmacies, independent                 8   BY MS. HERZFELD:
    9   pharmacies, mail order pharmacies, et cetera; is that          9         Q. So is that the filling out the sheet
   10   right?                                                        10   thing you talked about earlier?
   11         MR. DAVISON: Objection to form.                         11         A. The EEIF, yeah.
   12         THE WITNESS: I believe so. I can't be sure              12         Q. Okay. Is there anything more than
   13   whether it's Mark Murphy or whether it's pharmacies           13   the EEIF?
   14   and chains in general. I can't tell from this.                14         A. There's more, but it's -- so we --
   15   BY MS. HERZFELD:                                              15   what can we track? We can track the EEIF because we
   16         Q. Okay. But, to your understanding,                    16   have it. We can track their prescription activity
   17   Mallinckrodt did track where it is that various               17   because we have it.
   18   physicians' prescriptions for Exalgo were being               18         Q. Okay.
   19   filled?                                                       19         A. And then we justify those two against
   20         A. Right. Because if -- yes, they did.                  20   each other. And if we have a prescriber that doesn't
   21   They did.                                                     21   have an EEIF, you send people in there.
   22         Q. Okay. And do you know why they                       22         Q. Okay.
   23   tracked that information?                                     23         A. Yeah.
   24         A. Sure. Because if a physician in                      24         Q. Okay. So then we will just flip all
   25   Decatur, Alabama, and there's -- let's say there's            25   the way here to the end, "The Strategic Approach REMS

                                                           Page 359                                                       Page 361
    1 one main pharmacy in Decatur, Alabama, writes a                  1   Implementation." And then there's this chart on the
    2 script for Exalgo, and the patient takes it to the               2   very last page. Do you see the chart?
    3 Decatur, Alabama pharmacy and they don't have Exalgo,            3         A. Uh-huh.
    4 that patient is extremely unhappy. Because,                      4         Q. It's a very colorful chart?
    5 remember, that patient is in pain.                               5         A. Thank you.
    6         Q. Right.                                                6         Q. So I want to make sure -- did you
    7         A. So that patient is going back to the                  7   create this chart?
    8   doctor with a big complaint.                                   8         A. Oh, God, no.
    9         Q. What about for the patients who                       9         Q. I wanted to just make sure that I
   10   actually aren't in pain, that are just trying to get          10   understand it. So this goes -- we have the
   11   the drugs from the doctors?                                   11   physician, and then it says "Rx."
   12         MR. DAVISON: Objection to form.                         12         The physician writes the prescription to the
   13         THE WITNESS: They can't get the drugs from              13   patient; is that right?
   14   the doctors. They can get a prescription from the             14         A. Yes.
   15   doctors. They can't get the drugs from the doctors.           15         Q. Okay. And then the patient --
   16   BY MS. HERZFELD:                                              16   there's an arrow that goes to the pharmacy with Rx.
   17         Q. They can get the drugs from the                      17   So does that mean fills the prescription?
   18   pharmacies with a prescription written by the doctor;         18         A. Fills the prescription at a pharmacy.
   19   is that correct?                                              19         Q. And then there's an arrow going the
   20         A. That's correct. Our focus was on                     20   other way with the pills?
   21   proper prescribing. That's the faucet that goes open          21         A. The pills go back to the patient.
   22   or closed.                                                    22         Q. Okay. And then it has the
   23         Q. Okay. Then if you switch to the one                  23   manufacturer sends the pills to the pharmacies. Do
   24   that says, "REMS Metrics and Tracks Data." Do you             24   you see that?
   25   see that?                                                     25         A. It leaves out a step there, because

   Golkow Litigation Services                                                                  Page 91 (358 - 361)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further92Confidentiality
                                                       of 99. PageID #: 240384
                                                                           Review
                                                        Page 362                                                    Page 364
    1   it goes to the wholesaler first. But effectively it         1         MR. DAVISON: Objection to form.
    2   goes to the pharmacy.                                       2         THE WITNESS: Absolutely.
    3         Q. Okay. And then on here, between the                3   BY MS. HERZFELD:
    4   pharmacy and the physician, there's a thing called          4         Q. Do you know anything about Dr. Mark
    5   database. What's the database; do you know?                 5   Murphy?
    6         A. The database is a representation of                6         A. No, nothing.
    7   all the data analytics that go on. It's not really a        7         Q. Do you know if Dr. Mark Murphy still
    8   box or a single thing. It's a global kind of thing.         8   has a medical license now in Alabama?
    9         Q. Okay. And so it talks about                        9         A. I have no idea.
   10   eligibility of prescriber and patient?                     10         MR. DAVISON: Objection.
   11         A. Right.                                            11         THE WITNESS: I don't know if he was a real
   12         Q. Do you know what that is?                         12   doctor. It may have been made up just to illustrate
   13         A. That's the EEIF on -- on file for                 13   a point. I really don't know. This is an
   14   that prescriber.                                           14   educational setting, so it may not be real.
   15         Q. Okay.                                             15   BY MS. HERZFELD:
   16         A. And --                                            16         Q. So if Mark Murphy was real, do you
   17         Q. And then going the other way from                 17   know if he ever filled out the REMS --
   18   pharmacy to database, it says, "Enroll pharmacy." Do       18         A. I have no idea.
   19   you know what that is?                                     19         MR. DAVISON: Objection to form.
   20         A. That, I believe, is a pharmacy that               20         MS. HERZFELD: What's the objection?
   21   reports -- reports data. Not all pharmacies do. But        21         MR. DAVISON: You're asking him to
   22   today nearly all do.                                       22   speculate. He just told you he never heard the name
   23         Q. Okay.                                             23   before.
   24         A. Very high.                                        24         MS. HERZFELD: I guess it's a good point.
   25         Q. And then all the way at the bottom                25         Q. What would happen if you asked a
                                                       Page 363                                                         Page 365
    1   there's an arrow going from database to manufacturer,       1   physician to fill out the REMS survey and they
    2   and it says, "Eligibility of Pharmacy." Do you know         2   didn't?
    3   what that is?                                               3          A. What would happen or could happen?
    4         MR. DAVISON: Objection to form.                       4          Q. Yes.
    5         THE WITNESS: That's a way for us to check             5          A. A variety of things.
    6   whether we're sending drugs indirectly, because we're       6          Q. Okay.
    7   sending it through a number of steps, but ultimately        7          A. You know, I can give you a spectrum
    8   its destination is an eligible pharmacy, a real             8   of kind of the responses that we got. But that's --
    9   pharmacy, a legitimate pharmacy.                            9   that's what you're looking for?
   10   BY MS. HERZFELD:                                           10          Q. Sure.
   11         Q. Because you would want to make                    11          A. Some would do it instantly.
   12   sure --                                                    12          Q. Yep.
   13         A. Right.                                            13          A. Some would want to understand why
   14         Q. -- that your drugs aren't getting to              14   they are doing it. Some would say, come back another
   15   an illegitimate pharmacy?                                  15   day, and I'll do it. Some would say, I'm never going
   16         A. Right.                                            16   to do this. Any others like that, you know, in that
   17         Q. And would you want to make sure that              17   neighborhood, yeah.
   18   your opioids aren't getting to doctors who are             18          Q. And so if someone was like, I'm never
   19   prescribing them for inappropriate purposes?               19   going to do it or they came up with a million excuses
   20         A. Exactly.                                          20   to never really turn it in, was that information that
   21         MR. DAVISON: Objection to form.                      21   you would collect?
   22   BY MS. HERZFELD:                                           22          A. Oh, absolutely.
   23         Q. And you want to make sure that your               23          Q. And is that information that you
   24   opioids aren't getting into an illegal drug market         24   would turn over to other folks at Mallinckrodt?
   25   where they are being abused?                               25          A. Perhaps eventually. But we would

   Golkow Litigation Services                                                              Page 92 (362 - 365)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further93Confidentiality
                                                       of 99. PageID #: 240385
                                                                           Review
                                                       Page 366                                                        Page 368
    1   make multiple efforts to reason with the individual          1          A. No, not to detect signs of diversion,
    2   physician. Or to get his staff to help do it often           2   because they wouldn't really have that opportunity
    3   works. You have to be crafty.                                3   except if it's a pill mill. We train them to detect
    4          Q. Do you think it could be suspicious                4   pill mills, which is something you can do visually
    5   if a -- if a physician didn't want to share that             5   from the parking lot.
    6   information?                                                 6          Q. Okay. And who was responsible for
    7          MR. DAVISON: Objection to form.                       7   that training?
    8          THE WITNESS: It could be. It could be                 8          A. Medical Affairs.
    9   the -- that the physician -- it's more than likely           9          Q. So that would have been in your
   10   the physician is suspicious about signing anything          10   purview?
   11   that goes to a pharmaceutical company, you know.            11          A. More -- more the health-care
   12   BY MS. HERZFELD:                                            12   professionals and I would cooperate on it, yeah.
   13          Q. Couldn't it also be that the                      13          Q. Okay. And was there -- was there a
   14   physician doesn't want to share information about           14   program on training them?
   15   their prescribing habits because perhaps they are not       15          A. There was a complete training
   16   legitimate?                                                 16   program, yes, with videos and examples and pictures
   17          MR. DAVISON: Objection to form.                      17   and things, yeah.
   18          THE WITNESS: It could be. But we have                18          Q. Okay. So if I went to look in
   19   their prescribing habits without or without the EEIF.       19   Mallinckrodt's documents, I could find that
   20   We don't need the EEIF to get them. And they                20   somewhere, a packet?
   21   probably know that. But it's amazing, some don't            21          A. I'm sure you could.
   22   know.                                                       22          Q. Do you know what it was called?
   23   BY MS. HERZFELD:                                            23          A. No.
   24          Q. During your time at Mallinckrodt, did             24          Q. Okay. And so contained with that, in
   25   you ever identify any prescribers that you suspected        25   the training of the salespeople to spot pill mills,
                                                         Page 367                                                    Page 369
    1   were prescribing for illegitimate purposes?                  1   we will call it that, if you're more comfortable with
    2          A. I didn't. But we had multiple                      2   that, do you know who specifically did the training
    3   instances of such kind of activity that we, you know,        3   on that?
    4   flagged certain prescribers based on their                   4         A. I think we -- I did a lot of the rep
    5   prescription activity, and sent in health-care               5   training on REMS and C.A.R.E.S. Alliance. So it's
    6   professionals to try to investigate not only their           6   more than likely I did some of it. But there was
    7   prescribing activity, but adverse event occurrences,         7   follow-up from others in Medical Affairs.
    8   where that -- the physician was -- you know, the             8         Q. Okay. And do you know who created
    9   physician relevant to the patient that has a severe          9   that program, where it came from?
   10   adverse event.                                              10         A. The training?
   11          Q. Okay. And who would have been                     11         Q. Yes, sir.
   12   responsible for that at Mallinckrodt?                       12         A. We did. We did, yeah.
   13          A. For going into the doctor's office?               13         Q. And do you know who Karen Harper is?
   14          Q. Yes, sir.                                         14         A. I know the name. I don't know her
   15          A. Usually Eddie Darton, who is a                    15   personally.
   16   physician, or one of our Pharm.Ds, depending upon the       16         Q. Did you consult with anyone on the
   17   severity and the location.                                  17   generic side of Mallinckrodt in developing those
   18          Q. Okay. So I'm going to kind of then                18   signs to look for?
   19   shift just a little bit, because I want to make sure        19         A. No, we did not.
   20   that I understand it.                                       20         Q. Where did you get the information
   21          If I understood your testimony earlier, you          21   that you trained folks on, on how to spot pill mills?
   22   were talking about training of salespeople to detect        22         A. Just from data, literature, personal
   23   signs of diversion.                                         23   experience, recommendations of experts. It's a
   24          A. Uh-huh.                                           24   compilation of things, yeah.
   25          Q. Do I remember that correctly?                     25         Q. And would those salespeople be

   Golkow Litigation Services                                                              Page 93 (366 - 369)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further94Confidentiality
                                                       of 99. PageID #: 240386
                                                                           Review
                                                       Page 370                                                      Page 372
    1 trained just when they started or were there periodic        1   enforcement, do you know if that occurred?
    2 trainings?                                                   2          A. I do not know.
    3        A.    Both. It's heavy when they start,               3          Q. Do you recall any events of anybody
    4 and then there's follow-up. Training never stops in          4   reporting suspected pill mills or signs of diversion
    5 pharmaceuticals because things change.                       5   in Tennessee during your time at Covidien?
    6           Q. Okay. And what was your sales force             6          A. I do not, no.
    7   instructed to do if they thought they had spotted          7          Q. Did Mallinckrodt have a "Do Not Call"
    8   signs that there was a pill mill?                          8   list?
    9           A. Don't go in there. Don't have                   9          A. They did.
   10   anything to do with them. And report it to us.            10          Q. Okay. And do you know if any
   11           Q. Okay. And what types of things were            11   physicians from Tennessee were on that list?
   12   they trained to look for?                                 12          A. I do not know that.
   13           MR. DAVISON: Objection to form.                   13          Q. Okay. Do you know how many
   14           THE WITNESS: A doctor's office next door or       14   physicians, approximately, were on that list?
   15   contiguously constructed with a pharmacy. Long lines      15          A. Without being named specifically,
   16   of patients outside the door of the physician's           16   there was a huge "Do Not Call" segment of the
   17   office. Patients spending five minutes or less in         17   prescribing -- potential prescribing population
   18   the physician's office, coming out and going next         18   because they didn't meet the standards that we set
   19   door to the pharmacy, filling a prescription and          19   for their specialty or their patient population. So
   20   getting -- getting in their car, driving away. A          20   there was no justification for having a sales rep in
   21   large number of out-of-state license plates --            21   there.
   22           THE VIDEOGRAPHER: Is your phone buzzing?          22          Q. Okay. So mostly you -- you folks
   23           THE WITNESS: I'm sorry. I thought I turned        23   spent your time on the physicians that were
   24   it off.                                                   24   prescribing the highest level of long-acting opioids?
   25           Long lines of out-of-state license plates on      25          MR. DAVISON: Objection to form.
                                                     Page 371                                                          Page 373
    1   cars. Those types of things.                               1          THE WITNESS: And -- not just that. And had
    2   BY MS. HERZFELD:                                           2   the right training.
    3         Q. Okay. And so when you said they                   3          So you're starting out with a select group
    4   should report it, who would they report it to?             4   that's kind of automatic risk mitigation, because
    5         A. Generally to their management first.              5   these are pain experts as opposed to some doctor who
    6   That would get kicked up line and eventually would         6   hasn't had the training, who is just a high
    7   end up at us, Medical Affairs.                             7   prescriber. That's a danger. That's a danger sign.
    8         Q. Okay. And what -- what type of                    8   BY MS. HERZFELD:
    9   actions would be taken at Medical Affairs, if there        9          Q. So high prescribers of long-acting
   10   was such a report?                                        10   opioids who had a specialty like pain management?
   11         A. First is avoidance, so that we                   11          A. Anesthesia, pain management,
   12   wouldn't have anything to do with it. Make sure that      12   et cetera, yeah.
   13   we weren't selling product into those pharmacies, we      13          Q. And that's where most of the focus
   14   weren't interacting with those physicians.                14   was for sales?
   15         And I'm not sure how often it bubbled up to         15          A. Right.
   16   reporting them to the medical Board. But I know at        16          MS. HERZFELD: Okay. I think I understand
   17   other companies that I consulted with on this same        17   that now. I've just got a little bit more for you.
   18   kind of issue that had opioids, we reported them to       18   My battery is going to run out.
   19   the Medical Board. I can't remember if that happened      19          We will mark this next one as Plaintiffs'
   20   at Covidien or not.                                       20   Exhibit 26.
   21         Q. And what about reports to the DEA                21                 (Exhibit No. 26 was marked.)
   22   while you were at Covidien, do you know if those          22   BY MS. HERZFELD:
   23   occurred?                                                 23          Q. I only have just a couple questions
   24         A. I don't -- I don't know.                         24   more, so it might be easier if I just ask you the
   25         Q. What about reports to Tennessee law              25   questions first.

   Golkow Litigation Services                                                             Page 94 (370 - 373)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further95Confidentiality
                                                       of 99. PageID #: 240387
                                                                           Review
                                                       Page 374                                                   Page 376
    1          A. Okay.                                            1           Tennessee, Virginia, and West
    2          Q. We will get you out of here a little             2           Virginia. At least 20 people were
    3   faster.                                                    3           indicted on distribution charges. The
    4          A. Okay.                                            4           ring had allegedly operated for three
    5          Q. For the record, Exhibit 26 is Bates              5           years and used at least four or five
    6   No. MNK-T1, underscore, 0006314936, which is the           6           clinic doctors per day -- per day to
    7   attachment that is -4937.                                  7           obtain the drugs. Members of the ring
    8          Okay. If you will take a look at the first          8           shipped thousands of pills every day
    9   page, which is the email, for me, sir.                     9           by vehicle or overnight delivery
   10          A. Yes, I have it.                                 10           services and allegedly made at least
   11          Q. Okay. And this appears to be an                 11           $5 million over three years (end of
   12   email that is sent from Preston Walker on -- to a         12           reading).
   13   bunch of folks, and then copies Bobby Clark and you;      13         Q. And the citation for that is the
   14   is that correct?                                          14   National Drug Treatment Assessment --
   15          A. That's correct.                                 15         A. Right.
   16          Q. Okay. And it's dated 2-14-2011; is              16         Q. -- is that correct?
   17   that correct?                                             17         A. That is correct.
   18          A. That's correct.                                 18         Q. Do you know who the National Drug
   19          Q. Okay. And do you have any reason                19   Treatment Assessment is?
   20   to -- do you believe that you received this email in      20         A. It's --
   21   the regular course of your business?                      21         Q. Or what it is?
   22          A. I do.                                           22         A. Not exactly. But it's a national
   23          Q. Okay. So it says here, "PPF." I                 23   kind of initiative to address this problem.
   24   think you said what that meant earlier?                   24         Q. Okay. You consider it to be a
   25          A. Patient Product Safety Team.                    25   reliable source?
                                                     Page 375                                                       Page 377
    1         Q. Okay. (Reading) Bobby and I were                  1         A. I don't know. I can't comment on
    2           asked to put together an upcoming                  2   that. But I'm assuming it would be.
    3           advanced sales training. Please                    3         Q. Do you have any reason to doubt what
    4           review the attached presentation and               4   you just read --
    5           return comments to me by COB on                    5         A. Oh, no. No, I have no reason to
    6           Tuesday, 2-15-11. Thanks, Preston                  6   doubt it.
    7           (end of reading).                                  7         Q. So in this case, the information that
    8         Did I read that correctly?                           8   you just read talks about federal law enforcement
    9         A. You did.                                          9   arresting people for engaging in a conspiracy to sell
   10         Q. Now, let's just flip through this                10   190,000 oxycodone tablets; is that correct?
   11   thing here.                                               11         MR. DAVISON: Objection to form.
   12         Okay. If you will look at slide No. 9, at           12         THE WITNESS: That's correct.
   13   page No. 9. Did you create this document, sir?            13   BY MS. HERZFELD:
   14         A. I did not. I reviewed it. I                      14         Q. Okay. And it says that those were
   15   participated in creating it, but I didn't actually        15   coming from South Florida pain clinics to abusers in
   16   physically create it.                                     16   Kentucky, North Carolina, and Tennessee; is that
   17         Q. Okay. If you will read for me what               17   right?
   18   it says on slide 9 here.                                  18         A. That's correct.
   19         A. (Reading) federal law enforcement                19         Q. And Virginia and West Virginia, just
   20           authorities in November 2009                      20   to be complete?
   21           dismantled the Florida drug                       21         A. Yes.
   22           trafficking ring that had sent more               22         Q. Does that indicate to you that
   23           than 100,000 oxycodone tablets from               23   oxycodone were going from South Florida pain clinics
   24           South Florida pain clinics to abusers             24   into the illegal drug market in Tennessee?
   25           in Kentucky and North Carolina,                   25         A. Absolutely.

   Golkow Litigation Services                                                            Page 95 (374 - 377)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further96Confidentiality
                                                       of 99. PageID #: 240388
                                                                           Review
                                                     Page 378                                                          Page 380
    1         Q. Okay. And it says:                                1   And so if it looks like you need to stop, just let me
    2           (Reading) At least 20 people were                  2   know. Okay?
    3           indicted. The ring operated for three              3          THE VIDEOGRAPHER: Okay.
    4           years and used at least four or five               4          MS. HERZFELD: Okay. Exhibit 27. No. 27 --
    5           pain clinic doctors per day to obtain              5   it's actually 27 and 28. So let's mark them at the
    6           the drugs (end of reading).                        6   same time, if that's okay, because they kind of go
    7         Is that right?                                       7   together. We will just do 27 first.
    8         A. Yes.                                              8                 (Exhibit No. 27 was marked.)
    9         Q. Okay. And then it was talking --                  9          MS. HERZFELD: I have handed you what we
   10   before it was talking about pain clinics; is that         10   have marked as Exhibit 27, which is an email Bates
   11   right?                                                    11   No. MNK-T1, underscore, 0007094004, and it is a
   12         A. Yes.                                             12   three-page email, a three-page email chain.
   13         Q. So in this situation you had people,             13          Q. Sir, is this an email that was sent
   14   doctors, who were pain management doctors at pain         14   to you from Kevin Lenaburg on June 8th, 2011?
   15   clinics; is that right?                                   15          A. Yes.
   16         MR. DAVISON: Objection to form.                     16          Q. Okay. And did you receive this email
   17         THE WITNESS: As I understand it, these              17   in the ordinary course of your business?
   18   were -- this is -- this is basically the pill mill        18          A. I assume I did, yes.
   19   practice.                                                 19          Q. Okay. And so my question about this
   20   BY MS. HERZFELD:                                          20   is actually pretty -- pretty easy. If you will just
   21         Q. Okay. So I guess my question is, if              21   set this down for a second, and then we can talk
   22   you're talking about targeting folks for sales that       22   about it in a minute.
   23   are high prescribers of long-acting opioids who are       23          Do you know the book called "Defeat Chronic
   24   also an appropriate -- an appropriate specialty, like     24   Pain Now!"?
   25   pain management, that could be a pill mill, they          25          A. I do.

                                                       Page 379                                                        Page 381
    1   could be operating a pill mill or it could be              1         Q. Have you ever read the book?
    2   legitimate; is that right?                                 2         A. I've read parts of it. I have
    3         A. Absolutely.                                       3   perused it. I haven't read it word for word.
    4         MR. DAVISON: Objection.                              4         Q. Okay. And did the C.A.R.E.S.
    5   BY MS. HERZFELD:                                           5   Alliance provide copies of "Defeat Chronic Pain Now!"
    6         Q. Okay. And when you're targeting                   6   to prescribing physicians?
    7   them, do you know if they are a pill mill or a             7         A. We did, amongst other books, yes.
    8   legitimate operation?                                      8         Q. Okay. What other books did you
    9         A. Not -- not initially.                             9   prescribe -- did you provide?
   10         MR. DAVISON: Objection.                             10         A. Dr. Fischman's book on "Risk
   11         THE WITNESS: We need to do more due                 11   Management." I think those are the two main ones
   12   diligence to find that out, to verify that where they     12   that we did, yeah.
   13   are going is legitimate. And the reps are trained         13         Q. Okay. And other than prescribing
   14   for telltale signs, that as I talked about before.        14   physicians, did "Defeat Chronic Pain Now!" go to
   15   BY MS. HERZFELD:                                          15   other folks as well?
   16         Q. Okay. And what would happen if a rep             16         A. "Defeat Chronic Pain Now!" was a book
   17   saw those signs and didn't report it?                     17   that we gave to physicians to give to their patients.
   18         MR. DAVISON: Objection to form.                     18         Q. Okay. And I should have asked you
   19         THE WITNESS: And didn't report it. And              19   before. This is just an aside, and I'm sorry to kind
   20   then it was discovered later; is that what you mean?      20   of go off a little bit.
   21         MS. HERZFELD: Yes.                                  21         When we were talking about detailing of
   22         THE WITNESS: They'd be in a lot of trouble.         22   physicians, to your knowledge, did Mallinckrodt sales
   23         MS. HERZFELD: Okay. You can set this one            23   folks also detail pharmacies?
   24   aside.                                                    24         A. I don't know, really.
   25         I have got one more, one more real quick.           25         Q. Okay. Did you ever hear about,

   Golkow Litigation Services                                                             Page 96 (378 - 381)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further97Confidentiality
                                                       of 99. PageID #: 240389
                                                                           Review
                                                      Page 382                                                      Page 384
    1   perhaps, Mallinckrodt detailing pharmacies to make        1   actually exists?
    2   sure that they had Exalgo on their shelves in case a      2          MR. DAVISON: Objection.
    3   physician wrote a prescription?                           3          THE WITNESS: I do not.
    4         A. I believe that --                                4   BY MS. HERZFELD:
    5         MR. DAVISON: Objection to form.                     5          Q. Okay. Did the FDA approve the label
    6         THE WITNESS: I believe that happened, yeah.         6   for -- did the FDA approved label for Exalgo mention
    7         MS. HERZFELD: Okay.                                 7   anything about pseudoaddiction, to your knowledge?
    8         THE WITNESS: Initially, that's kind of up           8          A. My -- my belief is they did not.
    9   front at the launch. But once it's done, you don't        9          Q. Okay. And do you know if "Defeat
   10   have to go back anymore.                                 10   Chronic Pain Now!" is available online?
   11   BY MS. HERZFELD:                                         11          A. I don't know.
   12         Q. And did you have responsibility for             12          MS. GAFFNEY: I don't think I have anymore
   13   training sales folks to detail pharmacies?               13   questions. Thank you very much, sir.
   14         A. I did not, no.                                  14          THE WITNESS: You're welcome.
   15         Q. Do you know who would have?                     15          MR. DAVISON: Go off the record.
   16         A. The Sales Training Department. Yeah.            16          THE VIDEOGRAPHER: We are going off the
   17         Q. Okay. So we don't need to look at               17   record. The time is 6:58 p m.
   18   this email, if you know that you already provided        18          (Recess taken.)
   19   "Defeat Chronic Pain Now!".                              19          THE VIDEOGRAPHER: We are back on the
   20         A. Okay.                                           20   record. The time is 7:02 p m.
   21         Q. Looking at "Defeat Chronic Pain                 21                  EXAMINATION
   22   Now!", it -- have you gone back and read "Defeat         22   BY MR. DAVISON:
   23   Chronic Pain Now!" since you left Mallinckrodt?          23          Q. Mr. Morelli, thank you for your time
   24         A. No.                                             24   so far. I just have a couple of questions for you.
   25         MR. DAVISON: Objection to form.                    25          A. Okay.

                                                    Page 383                                                         Page 385
    1   BY MS. HERZFELD:                                          1         Q. What was your role on the Suspicious
    2         Q. Okay. Do you know if any of the                  2   Order Monitoring Team?
    3   claims in "Defeat Chronic Pain Now!" have been            3         A. My role was to inform them of what
    4   disproven?                                                4   the Patient and Product Safety Team was doing in
    5         A. I do not know that.                              5   terms of the REMS -- Exalgo REMS and the C.A.R.E.S.
    6         Q. They talk about pseudoaddiction in               6   Alliance, to make them aware of what they were doing.
    7   "Defeat Chronic Pain Now!"; do you recall that?           7         Q. Did you have any involvement with
    8         A. I do recall that. Because                        8   suspicious order monitoring of generic opioids?
    9   pseudoaddiction is an issue.                              9         A. I did not.
   10         Q. And what do you mean, it's an issue?            10         Q. Did you have any knowledge or
   11         A. I mean it's a concern that people               11   understanding of how the suspicious order monitoring
   12   have, how to deal with people presenting with            12   program for generic opioids worked at Mallinckrodt?
   13   pseudoaddiction.                                         13         A. Not really.
   14         Q. And do you believe pseudoaddiction to           14         Q. What was the goal of the sales force
   15   be a legitimate scientific --                            15   at Mallinckrodt?
   16         A. I'm not the one to judge that. But              16         A. To visit with prescribing physicians
   17   enough physicians tell me it's an issue -- or told me    17   and their target audience and inform them of the
   18   at the time. I don't talk about it now. But told me      18   risks and benefits of their promoted products.
   19   at the time it's something that they have to deal        19         Q. During your time at Mallinckrodt, did
   20   with.                                                    20   you have any role in charge-backs?
   21         Q. Do you know if that's true?                     21         A. I did not.
   22         A. I really don't know if it's true.               22         Q. And do you have any understanding of
   23         MR. DAVISON: Objection.                            23   how charge-backs worked at Mallinckrodt?
   24   BY MS. HERZFELD:                                         24         A. I do not.
   25         Q. Do you know if pseudoaddiction                  25         MR. DAVISON: Thanks. Nothing further.

   Golkow Litigation Services                                                            Page 97 (382 - 385)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further98Confidentiality
                                                       of 99. PageID #: 240390
                                                                           Review
                                                    Page 386                                                                Page 388
    1   ///                                                       1     Please be advised I have read the foregoing
    2   ///                                                       2 deposition, and I state there are:
    3               FURTHER EXAMINATION                           3 (Check one) __________NO CORRECTIONS
    4   BY MR. SAMSON:                                            4          __________CORRECTIONS PER ATTACHED
    5         Q. You just were asked a question about             5
    6   the sales force's task at Mallinckrodt. Do you            6
    7   recall that?                                              7       __________________________________
    8         A. Just now?                                        8        ARTHUR F. MORELLI
    9         Q. Yes.                                             9
   10         A. Yeah.                                           10
   11         Q. And that they were to mix with                  11
   12   doctors and give them risks and benefits; correct?       12
   13         A. Correct.                                        13
   14         Q. Did you have any role in following up           14
   15   to see if the sales force stuck to that assigned task    15
   16   or expanded their discussions with doctors?              16
   17         A. No. But others did.                             17
   18         Q. Who?                                            18
   19         A. The sales organization. The Legal               19
   20   Department. Medical Affairs, other than me, and          20
   21   et cetera.                                               21
   22         MR. SAMSON: Okay. Nothing further.                 22
   23         MR. DAVISON: Thank you. I have nothing             23
   24   further.                                                 24
   25         THE WITNESS: Thank you.                            25

                                                      Page 387                                                              Page 389
    1        THE VIDEOGRAPHER: This concludes the video           1         DEPONENT'S CHANGES OR CORRECTIONS
    2   deposition of Art Morelli. We are going off the           2 Note: If you are adding to your testimony, print the
    3   record at 7:04 p m.                                       3 exact words you want to add. If you are deleting from
    4        (The deposition was concluded at 7:04 p.m.)          4 your testimony, print the exact words you want to
    5               --o0o--                                       5 delete. Specify with "Add" or "Delete" and sign this
    6                                                             6 form.
    7                                                             7 DEPOSITION OF: ARTHUR F. MORELLI
    8                                                             8 CASE: IN RE NATIONAL PRESCRIPTION OPIATE LITIGATION
    9                                                             9 DATE OF DEPOSITION: JANUARY 17, 2019
   10                                                            10 PAGE       LINE     CHANGE/ADD/REASON/DELETE
   11                                                            11 ______     ______ __________________________________
   12                                                            12 ______     ______ __________________________________
   13                                                            13 ______     ______ __________________________________
   14                                                            14 ______     ______ __________________________________
   15                                                            15 ______     ______ __________________________________
   16                                                            16 ______     ______ __________________________________
   17                                                            17 ______     ______ __________________________________
   18                                                            18 ______     ______ __________________________________
   19                                                            19 ______     ______ __________________________________
   20                                                            20 ______     ______ __________________________________
   21                                                            21 ______     ______ __________________________________
   22                                                            22 ______     ______ __________________________________
   23                                                            23 ______     ______ __________________________________
   24                                                            24 DEPONENT'S SIGNATURE _______________________________
   25                                                            25 DATE_________________________


   Golkow Litigation Services                                                                Page 98 (386 - 389)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-4 Filed:
                               Subject   to 07/24/19
                                             Further99Confidentiality
                                                       of 99. PageID #: 240391
                                                                           Review
                                                    Page 390
    1              CERTIFICATE OF REPORTER
    2        I, SANDRA BUNCH VANDER POL, a Certified
    3   Shorthand Reporter, hereby certify that the witness in
    4   the foregoing deposition was by me duly sworn to tell
    5   the truth, the whole truth and nothing but the truth
    6   in the within-entitled cause;
    7        That said deposition was taken down in shorthand
    8   by me, a disinterested person, at the time and place
    9   therein stated, and that the testimony of the said
   10   witness was thereafter reduced to typewriting, by
   11   computer, under my direction and supervision;
   12        That before completion of the deposition, review
   13   of the transcript was requested. If requested, any
   14   changes made by the deponent (and provided to the
   15   reporter) during the period allowed are appended
   16   hereto.
   17        I further certify that I am not of counsel or
   18   attorney for either or any of the parties to the said
   19   deposition, nor in any way interested in the event of
   20   this cause, and that I am not related to any of the
   21   parties thereto.
   22   DATED: JANUARY 21, 2019
   23                 ________________________________
                      SANDRA BUNCH VANDER POL, CSR 3032
   24
   25




   Golkow Litigation Services                                    Page 99 (390 - 390)
